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 2
                             UNITED STATES DISTRICT COURT
 3                           EASTERN DISTRICT OF NEW YORK

 4          - - - - - - - - - - - - - X

 5         UNITED STATES OF AMERICA,         : 10-CR-00147(SLT)
                                             :
 6                                           :
                                             :
 7                  -against-                : United States Courthouse
                                             : Brooklyn, New York
 8                                           :
                                             :
 9                                           : Thursday, June 21, 2012
           FRANCIS GUERRA,                   : 9:30 a.m.
10                                           :
                      Defendant.             :
11                                           :

12          - - - - - - - - - - - - - X

13                   TRANSCRIPT OF CRIMINAL CAUSE FOR JURY TRIAL
                        BEFORE THE HONORABLE SANDRA L. TOWNES
14                          UNITED STATES DISTRICT JUDGE

15                                 A P P E A R A N C E S:

16         For the Government: LORETTA E. LYNCH, ESQ.
                                  United States Attorney
17                                Eastern District of New York
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18                                  Brooklyn, New York 11201
                               BY: NICOLE M. ARGENTIERI, ESQ.
19                                  RACHEL NASH, ESQ.
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20                                  Assistant United States Attorneys

21         For the Defendant:       LAW OFFICE OF GERALD J. MCMAHON
                                       67 Wall Street
22                                     New York, New York 10005
                                    BY:GERALD J. MCMAHON, ESQ.
23

24
                                Victoria A. Torres Butler, CRR
25                                 Official Court Reporter



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                                                   Page 117
           Carmichael - direct - Lifshitz   1568
 1 Q




                                                              11        THE WITNESS: My name is Reynold Charles Maragni,
                                                              12 R-E-Y-N-O-L-D, C-H-A-R-L-E-S, M-A-R-A-G-N-I.
                                                              13        THE COURT: Thank you.
                                                              14        MR. LIFSHITZ: May I inquire, Your Honor?
                                                              15        THE COURT: Yes. Yes.
                                                              16 REYNOLD MARAGNI ,
                                                              17    called as a witness, having been first duly sworn,
                                                              18    was examined and testified as follows:
                                                              19 DIRECT EXAMINATION
                                                              20 BY MR. LIFSHITZ:
                                                              21 Q Good afternoon, sir.
                                                              22 A Good afternoon.
                                                              23 Q What, if any, affiliation have you had in your life with
                                                              24 organized crime?
                                                              25 A I've been affiliated with the Colombo crime family from
                                                                         CMH OCR RMR CRR FCRR

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                                                                Page 121                                                                      Page 123
                  Maragni - direct - Lifshitz     1572                                    Maragni - direct - Lifshitz       1574
 1 the '70s.                                                                1 A I received a general discharge for less than honorable
 2 Q    Until when?                                                         2 reasons.
 3 A    Until March 2011.                                                   3 Q Why was it for less than honorable reasons?
 4 Q    What positions, if any, have you held in the Colombo                4 A Because I went AWOL.
 5 family?                                                                  5 Q What does it mean to go AWOL?
 6 A    I've been an associate, a soldier and a captain.                    6 A I was absent without leave.
 7 Q    Why did your affiliation end in March of 2011?                      7 Q Why did you go AWOL?
 8 A    I decided to cooperate with the government.                         8 A When I got home from Viet Nam, I got orders to go to
 9 Q    How old are you?                                                    9 Fort Hood, Texas to play war games and I refused to do it.
10 A    I'm 60.                                                            10 Q Why you did you refuse?
11 Q    Where were you born?                                               11 A I was a combat veteran and I refused to play war games.
12 A    Brooklyn, New York.                                                12 Q When you came home from Viet Nam, what crimes, if any,
13 Q    Where did you grow up?                                             13 did you commit?
14 A    Bensonhurst.                                                       14 A Well, we were trunking again. We still did some
15 Q    In Brooklyn?                                                       15 trunking, record boosting, again, social clubs and illegal
16 A    Yes.                                                               16 gambling.
17 Q    How far did you go in school?                                      17        (Continued on next page.)
18 A    I dropped out of school my senior year and then I                  18
19 obtained a GED approximately two years after I dropped out.             19
20 Q    What did you do after you dropped out?                             20
21 A    I enlisted in the Army.                                            21
22 Q    Did you do anything else before you enlisted in the Army?          22
23 A    When I dropped out of school, we made a bunch of friends.          23
24 We used to trunk cars, steal, operate illegal card games, deal          24
25 in illegal card games. That's how I made a living.                      25
             CMH      OCR      RMR      CRR     FCRR                                  CMH OCR RMR CRR FCRR
                                                                Page 122                                                                      Page 124
               Maragni - direct - Lifshitz       1573                                     Maragni - direct - Lifshitz        1575
 1 Q Did you use the phrase "trunking"?                                     1 BY MR. LIFSHITZ:
 2 A Yes.                                                                   2
 3 Q What does that mean?                                                   3 Q    What is record boasting?
 4 A Trunking is you burglarize the trunk of a car and steal                4 A    Record boasting is a crew of people that go out and
 5 any items of value that are in there including the tire.                 5 shoplift record albums, ten albums, twenty albums at a time.
 6 Q When did you enlist in the Army?                                       6 Q    You mentioned social clubs. What is a social club?
 7 A November 1970.                                                         7 A    A social club is basically a storefront that's opened up
 8 Q How old were you?                                                      8 in a neighborhood that you are very familiar with, and it's a
 9 A Eighteen.                                                              9 place for your friends and people that are trusted in your
10 Q Why did you enlist?                                                   10 neighborhood to come and spend time, play cards, shoot pool,
11 A I was due to be drafted in February of that coming year               11 play the vending machines. Sometimes there's slot machines to
12 so I enlisted three months earlier.                                     12 play.
13 Q Were you deployed in any wars?                                        13 Q    Did you operate a social club when you returned from
14 A Yes, I was.                                                           14 Vietnam?
15 Q Which war or wars?                                                    15 A    Yes, I did.
16 A Viet Nam.                                                             16 Q    Did you earn money from the social club?
17 Q For how long?                                                         17 A    Yes, I did.
18 A I was there approximately nine and a half months.                     18 Q    How was that money generated?
19 Q Beginning and ending when, approximately?                             19 A    The money was generated from card games, it was generated
20 A Beginning I believe it was March, ending in December.                 20 from vending machines, where you're entitled to fifty percent,
21 Q Of what year?                                                         21 you and the owner split fifty percent of the take. At the
22 A 1971.                                                                 22 time, it was slot machines, you are entitled to fifty percent
23 Q When were you discharged from the Army?                               23 of all revenue that goes through the machine.
24 A 1976.                                                                 24 Q    Did that revenue include revenue from illegal gambling?
25 Q What category of discharge did you receive?                           25 A    Yes.
            CMH OCR RMR CRR FCRR                                                   ANTHONY M. MANCUSO, CSR OFFICIAL COURT REPORTER

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                                                                   Page 125                                                                      Page 127
                  Maragni - direct - Lifshitz       1576                                     Maragni - direct - Lifshitz         1578
 1 Q      You testified you were associated with the Colombo                   1 Q    Why was it important to do that?
 2 Family. When did you first become associated with that                      2 A   It's important, so your guy knows what you're doing. And
 3 family?                                                                     3 like I says before, he knows what you're doing, and he could
 4 A      It was in the '70s.                                                  4 advise you in what to do and what not to do. Also, it's
 5 Q      Who were, if anyone, were you specifically associated                5 important to let him know what you're doing, to show that
 6 with at first?                                                              6 you're not trying to hide any income that he might have
 7 A      Jerry Langella.                                                      7 coming.
 8 Q      Does he have a nickname?                                             8 Q    Are you responsible in organized crime to give a portion
 9 A      Yes.                                                                 9 of your income to the person you're around?
10 Q      What is that?                                                       10 A   You're committed to do so. It would be up to the person
11 A      Jerry Lang.                                                         11 that you are around if he would accept it or not.
12 Q      How did you first meet him?                                         12 Q    While you were around Jerry Lang, did he tell you
13 A      I met him when I was on a visit. My uncle was in the                13 information about the Colombo Family?
14 West Street Federal Detention Center, and I went to visit my               14 A   Yes.
15 uncle, and Jerry Lang was sitting in the chair next to him.                15 Q    Was it important to you that he do that?
16 He also had a visit that day, so I was introduced to him that              16 A   Yes.
17 day.                                                                       17 Q    Why was that important to you?
18 Q      Are you familiar with the phrase to be around somebody              18 A   Well, you need to know who your friends are. You need to
19 in, the context of organized crime?                                        19 know the structure. You need to know who to trust. You need
20 A      Yes.                                                                20 to know who you're dealing with.
21 Q      What does it mean to be around someone?                             21 Q    While you were around Jerry Lang, did you learn any rules
22 A      When you are around someone, you're around someone that's           22 about organized crime?
23 a made member. He is your mentor. Any crimes that you are                  23 A   Yes, I did.
24 going to commit, anything that has anything to do with the                 24 Q    What rules did you learn?
25 street, you would run by him first. He would advise you if                 25 A   Well, in our family, the rules were, you couldn't take or
          ANTHONY M. MANCUSO, CSR OFFICIAL COURT REPORTER                             ANTHONY M. MANCUSO, CSR OFFICIAL COURT REPORTER

                                                                   Page 126                                                                      Page 128
                  Maragni - direct - Lifshitz       1577                                     Maragni - direct - Lifshitz         1579
 1 you should do something or not, if you're infringing on                     1 sell narcotics. You couldn't deal with any counterfeit money.
 2 somebody else's business or illegal income or legal income.                 2 You couldn't deal in securities or bearer bonds.
 3 He would check things out for you before you would go out and               3 Q    Are there any rules in organized crime relating to
 4 make a living.                                                              4 people's wives?
 5 Q      So, what benefit, if any, did you receive from being                 5 A   Oh, yes. You couldn't bother with anybody's wife or
 6 around someone?                                                             6 daughter or sister.
 7 A      Well, you have protection from other members in organized            7 Q    What penalties, if any, existed for violating the rules
 8 crime. It gives you street credence. Also, like I said, if                  8 you just described?
 9 you had plans to do something, you would run it by your friend              9 A   Well, it would depend. I mean, it could be as little as
10 or your guy, and he would give you an okay or a not-okay to do             10 a reprimand, or as serious as getting killed.
11 it.                                                                        11 Q    While you were around Jerry Lang, what positions, if any,
12 Q      Were you around Jerry Lang in the '70s?                             12 did he hold in the Colombo Family?
13 A      Yes, I was.                                                         13 A   He held captain, underboss and acting boss.
14 Q      When were you first around him?                                     14 Q    I'm showing the witness what's in evidence as
15 A      Approximately 1974, '75.                                            15 Government's Exhibit 152-B.
16 Q      And until when were you around Jerry Lang?                          16        THE COURT: It's in evidence.
17 A      1983.                                                               17        MR. LIFSHITZ: Is the Elmo on?
18 Q      While you were around Jerry Lang, what crimes, if any,              18        THE COURT: Okay. It's on.
19 did you commit?                                                            19 Q    Who is this? Can you see a picture on your monitor?
20 A      Assaults, extortion, operation of illegal gambling.                 20 A   No.
21 Q      While you were around Jerry Lang, did you discuss your              21        THE COURT: Can the jury see it?
22 criminal activity with him?                                                22        And you are showing Exhibit --
23 A      Yes.                                                                23        MR. LIFSHITZ: 152-B.
24 Q      Was it important to do that?                                        24 A   That's Allie Boy Persico.
25 A      Yes, it was.                                                        25 Q    Do you know his real name?
          ANTHONY M. MANCUSO, CSR OFFICIAL COURT REPORTER                             ANTHONY M. MANCUSO, CSR OFFICIAL COURT REPORTER

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                                                                  Page 129                                                                       Page 131
               Maragni - direct - Lifshitz         1580                                      Maragni - direct - Lifshitz         1582
 1 A    Alphonse Persico.                                                     1 if any, did you commit with Alphonse Persico?
 2 Q    Do you know any other name for him besides Allie Boy and              2 A    We shylocked together.
 3 Alphonse Persico?                                                          3 Q    What does it mean to shylock?
 4 A    Little Allie and Young Allie.                                         4 A    Give out loans for a high interest rate of return.
 5 Q    Do you know him personally?                                           5 Q    Can you briefly explain how shylocking works?
 6 A    Yes, I do.                                                            6 A    You loan a fellow $100, you charge him five points, which
 7 Q    Around when did you first meet him?                                   7 is $5 interest a week, and that interest is paid every week
 8 A    Around 1969.                                                          8 until the whole $100 principal is paid.
 9 Q    How old were you then?                                                9 Q    So, it's a point, a percentage; one point is one percent?
10 A    I was seventeen.                                                     10 A    Yes.
11 Q    How old was he?                                                      11 Q    Just to be clear: When a customer of a shylock pays
12 A    He was fifteen.                                                      12 points, does that count toward the principal?
13 Q    Can you tell us briefly how you first met him?                       13 A    No.
14 A    I met him through mutual friends that grew up in our                 14 Q    What, if anything, is done to assure repayment of a
15 neighborhood together. He had just moved into the                         15 shylocking loan?
16 neighborhood on Eleventh Avenue and 85th Street, and people               16 A    Whatever is necessary.
17 that I knew him and said that we would get along, and                     17 Q    What does that mean?
18 introduced us.                                                            18 A    Whatever means necessary to collect your money, including
19 Q    Was this before or after you went to Vietnam?                        19 violence.
20 A    This was before.                                                     20 Q    What, if any, arrangement did you have with Alphonse
21 Q    After you returned from Vietnam, did you reunite with                21 Persico regarding shylocking in the mid-1970s?
22 him?                                                                      22 A    Allie bought the money for a point, he gave the money to
23 A    Yes. I met him in 1972.                                              23 me, I put it out on the street, I collected the interest on it
24 Q    What happened then?                                                  24 and split the money that we took in.
25 A    There was a situation with -- between his cousin Carmine             25 Q    Did you ever make threats of violence to insure that you
        ANTHONY M. MANCUSO, CSR OFFICIAL COURT REPORTER                              ANTHONY M. MANCUSO, CSR OFFICIAL COURT REPORTER

                                                                  Page 130                                                                       Page 132
               Maragni - direct - Lifshitz         1581                                      Maragni - direct - Lifshitz         1583
 1 and my cousin Ricky. And my cousin was quite a few years                   1 and Alphonse Persico would be repaid?
 2 younger than his cousin, and it was going to turn violent.                 2 A    Yes.
 3 So, I interceded, and I told his cousin, If you want to have               3 Q    Now, between the mid-1970s and 1983, did you meet any
 4 trouble with somebody, why don't you have trouble with me?                 4 members of Alphonse Persico's family?
 5 I'm more your age and more your standing. And his cousin                   5 A    Yes, I did.
 6 Allie Boy came to see me, and we straightened out the problem.             6 Q    Who did you meet?
 7 Q    How old were you at the time of this dispute?                         7 A    I met his uncle Allie. I met his uncle Teddy. I met his
 8 A    I was twenty.                                                         8 father, his mother, his brother Michael, his brother Larry,
 9 Q    How old was Alphonse Persico?                                         9 his sister Barbara, his sister Susan. I met his whole
10 A    Eighteen.                                                            10 family.
11 Q    After that incident, what, if any, relationship did you              11 Q    What was his father's name?
12 have with Alphonse Persico?                                               12 A    Carmine.
13 A    We were friendly.                                                    13 Q    What was the names of the brothers you mentioned?
14 Q    During your friendship with him, did you know him to be              14 A    Larry and Michael.
15 involved with organized crime?                                            15 Q    I'm showing the witness what's in evidence as
16 A    Yes.                                                                 16 Government's Exhibit 155. Do you recognize this person?
17 Q    With any particular family?                                          17 A    Yes.
18 A    Yes.                                                                 18 Q    Who is it?
19 Q    Which family was that?                                               19 A    That's Michael Persico.
20 A    Colombo Family.                                                      20 Q    During your friendship with Alphonse Persico, did you
21 Q    During the course of your friendship with him, what                  21 also meet his wife?
22 positions, if any, did he hold in the Colombo Family?                     22 A    Yes.
23 A    He was an associate, he was a soldier, and he was an                 23 Q    What was her name?
24 acting boss.                                                              24 A    Tori.
25 Q    Directing your attention to the mid-1970s, what crimes,              25 Q    Is Tori short for anything?
        ANTHONY M. MANCUSO, CSR OFFICIAL COURT REPORTER                              ANTHONY M. MANCUSO, CSR OFFICIAL COURT REPORTER

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                Maragni - direct - Lifshitz       1584                                        Maragni - direct - Lifshitz        1586
 1 A    Yes. It's short for Teresa.                                            1 A    I moved to Florida.
 2 Q    Did you eventually meet their children, Alphonse                       2 Q    What part of Florida?
 3 Persico's children?                                                         3 A    Orlando.
 4 A    Yes.                                                                   4 Q    Why did you move there?
 5 Q    What were their chidren's names?                                       5 A    Well, I got separated from my wife, and my family was
 6 A    Allison and Victoria.                                                  6 down there. My mother and my brothers were down there. So,
 7 Q    In the mid- to late 1970s, how often did you see Alphonse              7 I moved to Orlando.
 8 Persico?                                                                    8 Q    When, if ever, did you begin committing crimes in
 9 A    Basically every day.                                                   9 Florida?
10 Q    Where did you spend time with him during that period?                 10 A    1984.
11 A    Well, we hung out together. We rode around in the car                 11 Q    What crimes did you commit at first?
12 together. We played ball together. We went to dinner. We                   12 A    Credit card fraud.
13 went to nightclubs. We were close friends.                                 13 Q    Can you briefly describe the frauds you were committing?
14 Q    Other than you, who were some of his other close friends              14 A    I would buy fraudulent credit cards, stolen credit cards,
15 during that period?                                                        15 and use them in Disney World and Epcot to purchase three day
16 A    Chucky Russo and Jo Jo.                                               16 passes, and sell those passes to travel agents in the area.
17 Q    When is your birthday, by the way?                                    17 Q    How long did that fraud last?
18 A    February 6.                                                           18 A    Approximately a year.
19 Q    What year were you born?                                              19 Q    How much money did you earn from that fraud?
20 A    1952.                                                                 20 A    Over $100,000.
21 Q    Do you know Alphonse Persico's birthday?                              21 Q    Why did the fraud end after a year?
22 A    Yes.                                                                  22 A    We were arrested.
23 Q    What is it?                                                           23 Q    What were you are charged with when you were arrested?
24 A    February 8, 1954.                                                     24 A    Credit card fraud.
25 Q    When, if ever, did you celebrate your birthdays together?             25 Q    Was that a federal or state charge?
        ANTHONY M. MANCUSO, CSR OFFICIAL COURT REPORTER                               ANTHONY M. MANCUSO, CSR OFFICIAL COURT REPORTER

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                Maragni - direct - Lifshitz       1585                                        Maragni - direct - Lifshitz        1587
 1 A    We celebrated them in the '70s together. The first time                1 A    Federal.
 2 was at his mother's house, and a couple of years after that,                2 Q    Around when were you arrested?
 3 and then again in -- later on in the '90s.                                  3 A    1985.
 4 Q    Did you ever live with Alphonse Persico?                               4 Q    And how did you resolve that case?
 5 A    Yes, I did.                                                            5 A    I pled guilty.
 6 Q    When was that?                                                         6 Q    Were you sentenced?
 7 A    That was in the '70s.                                                  7 A    Yes.
 8 Q    For about how long?                                                    8 Q    How much time in prison were you sentenced to?
 9 A    About nine, ten months.                                                9 A    Five years.
10 Q    What happened after nine or ten months?                               10 Q    When were you released?
11 A    Well, his girlfriend Tori at the time came back. She had              11 A    I was released in July 1987.
12 left for California. She came back. She was living with him,               12 Q    So, how long did you spend in prison in total?
13 and the apartment got a little crowded, and we always had                  13 A    I was in jail twenty months.
14 money in the house, and money turned up missing, and I could               14 Q    What's your understanding of why you were released after
15 tell by Allie's demeanor that he was thinking that I took the              15 only twenty months?
16 money.                                                                     16 A    Back in the early '80s, in the mid-'80s, now it is
17 Q    Did you take it?                                                      17 called old, old law, you did a third or two-thirds of your
18 A    No, I didn't.                                                         18 sentence. It was my first offense, so the parole board
19 Q    How, if at all, did your relationship change as a result              19 paroled me after one-third of my time.
20 of that incident?                                                          20 Q    And after you were released, what was your status?
21 A    Well, it got cold. It got cold between us for a long                  21 A    I was on parole until the finish of the five years.
22 time.                                                                      22 Q    When you were released, where did you live?
23 Q    Did you eventually move away from Brooklyn?                           23 A    I lived in the Orlando area, Altamont Springs.
24 A    Yes. I moved away from Brooklyn in 1983.                              24 Q    When, if ever, did you move away from the Orlando area?
25 Q    Where did you move to?                                                25 A    1989, I moved to south Florida.
        ANTHONY M. MANCUSO, CSR OFFICIAL COURT REPORTER                               ANTHONY M. MANCUSO, CSR OFFICIAL COURT REPORTER

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                Maragni - direct - Lifshitz       1588                                        Maragni - direct - Lifshitz         1590
 1 Q    What town did you move to?                                              1 time. I went to jail -- Allie Boy in '83 was living in
 2 A    Pompano Beach.                                                          2 New York. I went to jail in '85. I got out in '87. Allie
 3 Q    Did you get a job when you moved to south Florida?                      3 Boy was in jail.
 4 A    Yes.                                                                    4 Q    Go ahead. Sorry.
 5 Q    Doing what?                                                             5 A   So. There was a time from '83 to like '95 that we
 6 A    I was in the motorcycle business.                                       6 didn't have any contact with each other.
 7 Q    Did you work at someone else's store at first?                          7 Q    Because one or the other of you was in jail?
 8 A    Yes.                                                                    8 A   One of us was locked up.
 9 Q    What did you do after you worked at that store?                         9 Q    Did you have any relationship during that period?
10 A    I opened up my own store.                                              10 A   No.
11 Q    Until when did you work in the motorcycle business?                    11 Q    Now, what happened in 1996 between the two of you?
12 A    Until 1999.                                                            12 A   What happened is this. Well, we got together in Florida.
13 Q    After you moved to Pompano Beach in 1989, when, if ever,               13 Q    How did that happen?
14 did you begin committing crimes again?                                      14 A   I was having dinner in a restaurant in -- actually, this
15 A    1993 or 1994.                                                          15 restaurant that was part of a nightclub, and he walked in.
16 Q    What crimes or crimes did you commit at that time?                     16 Q    Okay. You may have said this earlier, but beginning in
17 A    Money laundering.                                                      17 1996, where did Allie Boy Persico live?
18 Q    What does money laundering mean?                                       18 A   He lived in New York and Florida.
19 A    Money launder means, you take illegal money and turn it                19 Q    Where in Florida?
20 into clean money, so it can be used for a legitimate business,              20 A   Lighthouse Point.
21 or give the appearance of the money being legitimate.                       21 Q    Beginning in 1996, how often did you see Alphonse
22 Q    What was the source of the illegal money that you were                 22 Persico?
23 laundering?                                                                 23 A   About once a month.
24 A    It was a fellow that was a stockbroker and had control of              24 Q    After you saw him again in 1996, where did you spend time
25 his clients' accounts. He was stealing the money from them,                 25 with him?
        ANTHONY M. MANCUSO, CSR OFFICIAL COURT REPORTER                                ANTHONY M. MANCUSO, CSR OFFICIAL COURT REPORTER

                                                                    Page 138                                                                      Page 140
                Maragni - direct - Lifshitz       1589                                        Maragni - direct - Lifshitz         1591
 1 writing a check to me. I was depositing that money in my                     1 A   Well, we spent time in Florida. We spent time on his
 2 corporate account, and giving him back a check from my                       2 boat. We went out to dinner together. We rode motorcycles
 3 corporate account, minus ten percent of the money he gave me.                3 together. I saw him at my motorcycle shop. I had a cafe
 4 Q    How much money did you earn from this money laundering                  4 attached to my motorcycle shop. I saw him there. We were
 5 scheme?                                                                      5 friends. We hung out.
 6 A    About 150 thou.                                                         6 Q    Beginning in 1996, did you also see each other in
 7 Q    Were you ever arrested or prosecuted for that?                          7 New York?
 8 A    No.                                                                     8 A   Yes.
 9 Q    While you lived in central Florida from 1983 to 1989, did               9 Q    Where would you see him in New York?
10 you associate with anyone in the Colombo Family?                            10 A   When I would go to New York, I would go up to Eleventh
11 A    No.                                                                    11 Avenue and see him. He was working at the time in his
12 Q    After you moved to Pompano Beach, did you associate with               12 brother's limousine place.
13 any members or associates of the Colombo Family?                            13 Q    What is that placed called?
14 A    Yes, I did.                                                            14 A   Romantique.
15 Q    Who were some of the members and associates of the                     15 Q    Which brother, when you say his brother?
16 Colombo Family you associated with at that time?                            16 A   His brother Michael.
17 A    It was Anthony Black, Tom Farese, Allie Boy Persico,                   17 Q    In the late 1990s -- mid- to late 1990s, who, if anyone
18 Bobby Pate, Bobby Catalano, Vinny Aloi.                                     18 else, did you see when you went to Romantique?
19 Q    Where was Allie Boy Persico living at that time?                       19 A   I saw whatever guys were in the neighborhood that used to
20 A    Allie Boy Persico in 1995, '96 had a house in Lighthouse               20 stop by outside if they seen anybody they knew. I used to see
21 Point, Florida, and he was also living in New York. He was                  21 Smiley quite a bit there. I saw Michael there. I saw Carl
22 splitting his time.                                                         22 Panarella there. I saw Danny Persico. Sal Fusco. I saw BF a
23 Q    I meant to ask about the period in the mid- to late                    23 couple of times out there.
24 '80s, '83 to '89?                                                           24 Q    You mentioned someone named Smiley. What's his real
25 A     '83 to '89, well, one of us was incarcerated in that                  25 name?
        ANTHONY M. MANCUSO, CSR OFFICIAL COURT REPORTER                                ANTHONY M. MANCUSO, CSR OFFICIAL COURT REPORTER

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                                                                   Page 141                                                                       Page 143
                 Maragni - direct - Lifshitz      1592                                        Maragni - direct - Lifshitz           1594
 1 A    Michael Sessa.                                                         1         MR. LIFSHITZ: Your Honor, may I approach?
 2 Q    You mentioned someone named BF. What is his real name?                 2         THE COURT: Yes.
 3 A    Francis Guerra.                                                        3 Q     I'm showing the witness exhibits marked for
 4 Q    Do you see him here in this room?                                      4 identification as 230-A through D.
 5 A    Right.                                                                 5         THE COURT: A through D?
 6 Q    Can you please point him out and identify him by his                   6         MR. LIFSHITZ: Yes, your Honor.
 7 clothing?                                                                   7 Q     Do you recognize these items?
 8 A    He's wearing a suit. He's sitting between two older                    8 A     Yes, I do.
 9 gentlemen.                                                                  9 Q     What are they?
10        Sorry.                                                              10 A     They are pictures of Allie Boy and me, and these are
11 Q    Two gentlemen who are older than him?                                 11 pictures taken at my brother's house on New Year's Eve.
12 A    Exactly. He's the goodlooking one.                                    12 Q     In what year?
13        MR. LIFSHITZ: Your Honor, I believe the witness                     13 A     I believe it was 1998.
14 indicated the defendant, for the record.                                   14 Q     Are these fair and accurate depictions and the settings
15        MR. McMAHON: We will so stipulate, Judge.                           15 they depict?
16        THE COURT: Yes.                                                     16 A     Yes.
17 Q    In the mid- to late 1990s, did you know Alphonse                      17         MR. LIFSHITZ: Your Honor, we would offer these two
18 Persico's other friends?                                                   18 into evidence, 230-A, B, C and D.
19 A    Yes.                                                                  19         MR. McMAHON: May I see them, your Honor?
20 Q    Who were his closest friends in that period?                          20         THE COURT: Yes.
21 A    In the 1990s, he was very close with me, my brother PJ,               21         (Pause.)
22 he was close to BF. I don't know all who his closest friends               22         MR. McMAHON: No objection, your Honor.
23 were up in New York.                                                       23         THE COURT: I'll receive Government's Exhibits
24 Q    I'll show the witness what's in evidence as Government's              24 230-A, B, C and D.
25 Exhibit 174. Do you recognize this guy?                                    25         (So marked.)
        ANTHONY M. MANCUSO, CSR OFFICIAL COURT REPORTER                                ANTHONY M. MANCUSO, CSR OFFICIAL COURT REPORTER

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                 Maragni - direct - Lifshitz      1593                                        Maragni - direct - Lifshitz           1595
 1 A    That's Smiley.                                                         1         MR. LIFSHITZ: May I publish them, your Honor?
 2 Q    Michael Sessa?                                                         2         THE COURT: Yes.
 3 A    Yes.                                                                   3 Q     I'll show you them one by one. If you can tell us who is
 4 Q    How did you meet him?                                                  4 in each picture. This is 230-A. Left to right?
 5 A    I met him in the '90s with Allie Boy. I was introduced                 5 Q     Left to right is Allie's wife Tori, Allie Boy, myself,
 6 to him.                                                                     6 Lyle Howzer and his wife Rachel.
 7        MR. McMAHON: Is that 174?                                            7         THE COURT: What is the name of the male to the
 8        MR. LIFSHITZ: Yes.                                                   8 right, far right?
 9 Q    Around when did you first meet Michael Sessa?                          9         MR. LIFSHITZ: In the picture, your Honor?
10 A    That would be around 1996.                                            10         THE COURT: Yes. Blue shirt.
11 Q    Who else, if anyone, have you seen him with, seen Michael             11         THE WITNESS: Lyle Howzer. Lyle Howzer.
12 Sessa with?                                                                12 Q     Who were the Howzers?
13 A    I seen him with Allie Boy. I seen him with Michael. I                 13 A     They were friends. They were friends with my brother PJ.
14 seen him with Angelo. I seen him talking to Teddy Boy. I                   14 Q     230-B. Who does this picture depict?
15 mean, he's a friend.                                                       15 A     Allie Boy and myself.
16 Q    You mentioned someone named Angelo. Is that Angelo?                   16 Q     This is 230-C.
17 A    Angelo Spata is Allie Boy's brother-in-law.                           17 A     Allie Boy and me.
18 Q    You mentioned Teddy Boy. Who is that?                                 18 Q     I'm sorry?
19 A    Teddy Persico, Jr.                                                    19 A     Allie Boy and myself.
20 Q    Based on your personal observations, what did you observe             20 Q     Finally, 230-D, who are these people?
21 Alphonse Persico's relationship to be with Michael Sessa?                  21 A     That's Tori, Allie's wife, Allie Boy in the middle, and
22 A    They were very close.                                                 22 me.
23 Q    What did you personally observe Alphonse Persico's                    23 Q     Throughout the course of your life, about how many times
24 relationship to be with his brother Michael?                               24 were you with Allie Boy and Tori Persico?
25 A    Loves his brother Michael. Very close.                                25 A     I couldn't accurately answer how many times.
        ANTHONY M. MANCUSO, CSR OFFICIAL COURT REPORTER                                ANTHONY M. MANCUSO, CSR OFFICIAL COURT REPORTER

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                                                      Page 145                                                          Page 147
             Maragni - direct - Lifshitz   1596                                                           1598
 1 Q More than ten?                                                         R. Maragni   - Direct/Mr. Lifshitz
 2 A Absolutely.                                               1        (In open court.)
 3 Q More than 100?                                            2 BY  MR.   LIFSHITZ: (Continued)
                                                               3 Q Mr. Maragni, around when, from what you could observe,
 4 A I would say more than ten and less than a thousand. I
                                                               4 were Alphonse and Tori Persico a couple?
 5 would have no way of knowing. It was many, many times.
                                                               5 A From when?
 6 Q And from when to when? From about what year to what year
                                                               6 Q That's right.
 7 was it that you would see them together?
                                                               7 A 1970s. 1976.
 8 A Well, I met Tori before she was married to Allie. I was   8 Q Were they still a couple when you left New York in the
 9 introduced to her by Allie in the '90s. I believe it was    9 '80s?
10 '90 -- I'm sorry. In the '70s. I believe it was '75 or     10 A Yes, they were.
11 '76 when I met her. I don't know exactly. I don't remember 11 Q And when you were you reunited with Alphonse Persico in
12 exactly what date it was.                                  12 the mid-'90s, were they together then?
13 Q When was the last time you saw them together?            13 A No, they weren't. They were divorced.
14 A 1999, before Allie went to prison.                       14 Q Did they get back together after that?
15 Q Based on your personal observations, how would you       15 A Yes, they did.
16 describe their relationship?                               16 Q Around when?
17 A They loved each other, but it was very futile.
                                                              17 A Had to be around 1997.
                                                              18 Q Now, turning back to the 1970s, when, if ever, do you
18 Q It was very what?
                                                              19 recall any conflict between them?
19 A It was very futile. They fought a lot.
                                                              20 A There was conflict every other day. I mean some kind of
20 Q They fought a lot?
                                                              21 argument or another, but it got serious. They broke up. And
21 A They loved each other. A crazy relationship.
                                                              22 she, she moved away to California.
22 Q I think you mentioned when you first met Tori. In your   23 Q And what, if anything, happened then next?
23 understanding, when were they first together as a couple?  24 A We got on a plane and we went looking for her.
24 A Well, they were together as a couple when he introduced  25 Q Who's we?
25 her to me.                                                                 Victoria A. Torres Butler, CRR
        ANTHONY M. MANCUSO, CSR OFFICIAL COURT REPORTER                         Official Court Reporter
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             Maragni - direct - Lifshitz   1597                                                             1599
 1      MR. McMAHON: Your Honor, may we have a sidebar?                       R. Maragni - Direct/Mr. Lifshitz
 2      THE COURT: Yes.                                           1 A Allie Boy and myself.
 3      (Sidebar.)                                                2 Q When you went looking for her, did you know an address
 4
                                                                  3 where she could be found?
                                                                  4 A No, but we had a friend in California, actually,
                                                                  5 Allie Boy had a friend in California that was operating a
                                                                  6 private after-hours club on Sunset Boulevard and anybody that
                                                                  7 was anybody would go to that club. So, he went there and
                                                                  8 talked to his friend and gave his friend a photo of Tori and
                                                                  9 told him to keep his eyes out for her, if he seen her to get
                                                                 10 in touch with him, let him know, try to find out where she
                                                                 11 lives, where she is, so he could go there and talk with her.
                                                                 12 Q Were you two able to find Tori during that trip?
                                                                 13 A No.
                                                                 14        MR. LIFSHITZ: Your Honor, I'd like to show the
                                                                 15 witness what's in evidence as Government's Exhibit 224-A for
                                                                 16 the record, part of it is covered with a sticker.
                                                                 17        THE COURT: All right.
                                                                 18        (The above-referred to Exhibit was published to the
                                                                 19 jury.)
                                                                 20 Q Do you recognize the person who is not covered in that
                                                                 21 picture?
                                                                 22 A That looks like Ally's daughter, Victoria.
                                                                 23 Q After you and Ally Persico got back in contact in the
                                                                 24 mid-'90s, when, if ever, did you begin to commit crimes
                                                                 25 together?
                                                                                Victoria A. Torres Butler, CRR
                                                                                   Official Court Reporter

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                                           1600                                                                    1602
             R. Maragni - Direct/Mr. Lifshitz                                         R. Maragni - Direct/Mr. Lifshitz
 1 A Around 1997.                                                        1 associates were committing?
 2 Q What crime or crimes did you begin committing together?             2 A Yes.
 3 A Well, I was basically a go-between, between Allie Boy and           3 Q And during that period, did Alphonse Persico tell you
 4 the people down in Florida. And whatever was going on,                4 information about the Colombo family?
 5 whatever book-making businesses were going on, whatever Lotto         5 A Yes.
 6 rooms, fraud were going on, they would pass along the money to        6 Q What kind of things did he tell you?
 7 me and I would bring the money to Allie Boy.                          7 A Well, we always spoke about what would happen if he was
 8        Plus, any appointments that anybody needed to have             8 ever taken off the street, who I would trust, who was who. I
 9 with him, they would make through me, for him.                        9 needed to know who was who, so I would know who to trust. It
10 Q What was his position, if any, at that time?                       10 wasn't too many years pass that the war was over and there was
11 A He was acting boss.                                                11 still a bunch of people, what we referred to as the term
12 Q In the Colombo family?                                             12 didn't come home, they were still out on the other side for
13 A Yes.                                                               13 whatever reason and I needed to know what was going on so I
14 Q About how many Colombo family associates were you dealing          14 would know who to trust and who to deal with.
15 with in Florida as a go-between?                                     15 Q You mentioned a war. What war were you referring to?
16 A Between 12 and 18.                                                 16 A That was the Colombo war.
17 Q How long were you a go-between, between the Florida                17 Q And approximately when did that take place?
18 associates and Alphonse Persico?                                     18 A That took place from, I believe, it was '90 to '93.
19 A Until 1999.                                                        19 Q Was it important during the period you've been
20 Q What happened in 1999?                                             20 discussing, '96 to '99, that you told Allie Boy about your
21 A Ally Boy went to prison.                                           21 crimes?
22 Q And during that period, 1996 to 1999, were you committing          22 A Of course.
23 any crimes?                                                          23 Q Was it important to you that he gave you information
24 A Yes, I was.                                                        24 about the Colombo family?
25 Q What crimes were you committing?                                   25 A Yes.
                Victoria A. Torres Butler, CRR                                          Victoria A. Torres Butler, CRR
                  Official Court Reporter                                                 Official Court Reporter
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                                           1601                                                          1603
               R. Maragni - Direct/Mr. Lifshitz                             R. Maragni - Direct/Mr. Lifshitz
 1 A I was shylocking.                                          1 Q At this point, 1996 to 1999, were you an inducted member
 2 Q Did you give Alphonse Persico money in this period?        2 of the Colombo family?
 3 A Yes, I did.                                                3 A No, I wasn't.
 4 Q Money from what?                                           4 Q After Allie Boy went to prison in 1999, did you continue
 5 A Money from crimes that the associates were committing.     5 to serve as a go-between, between associates in Florida and
 6 Q The associates in Florida?                                 6 anyone in New York?
 7 A Yes.                                                       7 A Yes.
 8 Q Did you profit from those crimes yourself?                 8 Q Who were the people in New York, the person in New York?
 9 A Yes, I did.                                                9 A It was Sal Fusco, Senior, and Jackie DeRoss.
10 Q And briefly, what were some of those crimes?              10 Q What were their positions?
11 A There was book-making, there was extortion, there was     11 A Underboss and street boss.
12 driver's license fraud, phone room fraud.                   12 Q And after Alphonse Persico went to prison in 1999, who,
13        THE COURT: Phone room?                               13 if anyone, in his family, the Persico family, did you talk to
14        THE WITNESS: Phone room fraud.                       14 next?
15 Q What is a phone room?                                     15 A His brother Mike.
16 A Phone room is a room that's set up to say you're going to 16 Q Approximately when?
17 sell a certain product and you call customers, it's a       17 A 1999.
18 telemarketing room. You call customers, they purchase       18 Q Where?
19 whatever item that you're pitching on the phone and         19 A In Pompano Beach.
20 eventually, they never receive the item. The money's taken  20 Q How did that come about?
21 and cashed and the corporation is closed down and moved on. 21 A Michael was visiting friends in Florida and he called me
22 Q During this period, 1996 to 1999, did you discuss your    22 up, asked me if he could have a cup of coffee with me so I
23 own crimes with Alphonse Persico?                           23 agreed to meet him.
24 A Yes.                                                      24 Q What happened -- go ahead. I'm sorry. What happened
25 Q And did you advise him of crimes the other Florida        25 next?
                Victoria A. Torres Butler, CRR                                Victoria A. Torres Butler, CRR
                  Official Court Reporter                                       Official Court Reporter

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                                           1604                                                                        1606
              R. Maragni - Direct/Mr. Lifshitz                                            R. Maragni - Direct/Mr. Lifshitz
 1 A He met me down in the cafe, down at the beach in Pompano                 1 A 2003.
 2 Beach and we went for a walk and we talked.                                2 Q Where did you go?
 3 Q What did he say to you? What did you say to him?                         3 A Pompano Beach, my house.
 4 A He asked me how I was doing, I said I'm doing okay. He                   4 Q While you were on supervised release, in that case, did
 5 said what are you doing, and I told him. I said I'm                        5 you associate with people in the Colombo family?
 6 shylocking.                                                                6 A Yes, I did.
 7 Q What, if anything, else did you say to each other?                       7 Q Did you commit crimes while you were on supervised
 8 A He said does anybody know about it? I said yeah, your                    8 release?
 9 brother knows about it. He's known about it all along. He                  9 A Yes.
10 says did you give anything to anybody? I said no, I don't                 10 Q What crime or crimes?
11 give anything to anybody. I started this business a long time             11 A I was shylocking.
12 ago with my own money, your brother never asked a dime from me            12 Q When did your supervised release end?
13 and I said if anybody wants a piece of my business, I'll put              13 A I believe it was late 2005, early 2006.
14 up their money like I put up mine and I'll put it on the                  14 Q And from then, until 2011, did you continue to commit
15 street for them.                                                          15 crimes?
16 Q After Alphonse Persico was incarcerated in 1999, when, if               16 A Yes.
17 ever, were you next arrested?                                             17 Q How often?
18 A I was rested in June of 2000.                                           18 A Every week.
19 Q What were you charged with?                                             19 Q What are some of the crimes you committed in that period?
20 A Racketeering conspiracy.                                                20 A Shylocking, money laundering, extortion, illegal
21 Q In connection with the Colombo family?                                  21 cigarettes, receiving stolen property, selling stolen
22 A Yes.                                                                    22 property.
23 Q Were you charged with underlying crimes relating to that                23 Q Did you conspire to distribute drugs?
24 racketeering conspiracy?                                                  24 A Yes, yes.
25 A Yes, I was.                                                             25 Q Did you commit fraud?
                Victoria A. Torres Butler, CRR                                              Victoria A. Torres Butler, CRR
                  Official Court Reporter                                                     Official Court Reporter
                                                                  Page 154                                                          Page 156
                                           1605                                                                       1607
               R. Maragni - Direct/Mr. Lifshitz                                          R. Maragni - Direct/Mr. Lifshitz
 1 Q What were some of the underlying crimes?                                 1 A Yes, I did.
 2 A It was extortion, book-making, driver's license fraud,                   2 Q Please briefly describe the fraud you committed?
 3 wire fraud. I don't remember all the underlying crimes.                    3 A I told -- one of the frauds was, I told somebody I had a
 4 Q What was the driver's license fraud?                                     4 connection with the governor of Florida that I can have
 5 A It was in connection that one of our guys had in the                     5 someone's sentence reduced for 75,000.
 6 driver's license bureau. He would pay the person $800, give                6 Q And did the person you told that to give you money?
 7 them the name you wanted to use and they would put the name in             7 A Yes, he gave me 25,000.
 8 the computer, take your particular picture and it would be for             8 Q Was he a friend of yours?
 9 all intents and purposes a legal Florida driver's license.                 9 A Yes, I knew him.
10 Q How did that racketeering conspiracy case get resolved?                 10 Q But what you told him was a lie?
11 A I pled guilty.                                                          11 A Yes.
12 Q To what crime?                                                          12 Q You testified that you were at some point a soldier in
13 A I pled guilty to one count of RICO conspiracy.                          13 the Colombo family; is that correct?
14 Q With all the other underlying acts?                                     14 A Yes.
15 A They condensed -- I pled guilty to all the underlying                   15 Q When were your inducted into the family?
16 acts, but I was convicted of one count of RICO conspiracy.                16 A March 2008.
17 That was the plea agreement.                                              17 Q Was there a ceremony?
18 Q Were you sentenced?                                                     18 A Yes, there was.
19 A Yes, I was.                                                             19 Q Where did that take place?
20 Q To how much time?                                                       20 A Bronx, New York.
21 A I was sentenced to two years and three years supervised                 21 Q Who were some of the people who were present at the
22 release.                                                                  22 ceremony?
23 Q So the two years refers to prison, prison time?                         23 A Richie Fusco, Benji Castellazzo, Dennis DeLucia, and
24 A Yes.                                                                    24 myself.
25 Q When were you released from prison?                                     25 Q Did you learn the positions those other people held in
                Victoria A. Torres Butler, CRR                                             Victoria A. Torres Butler, CRR
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                                          1608                                                                         1610
             R. Maragni - Direct/Mr. Lifshitz                                             R. Maragni - Direct/Mr. Lifshitz
 1 the Colombo family during the ceremony?                                    1 A Well, I didn't think it was a good idea to go before a
 2 A Yes.                                                                     2 Federal Judge knowing that the FBI would no 15 minutes after I
 3 Q How did you learn that?                                                  3 got made that I was a made member of a crime family just
 4 A Richie Fusco told me.                                                    4 before sentencing.
 5 Q What were their positions?                                               5 Q So, turning back to 2008, after you were inducted into
 6 A At the time Richie Fusco was the acting underboss,                       6 the Colombo family, did you hold any other positions other
 7 Benji Castellazzo was a Captain and Dennis DeLucia was a                   7 than soldier?
 8 Captain.                                                                   8 A Yes.
 9        MR. LIFSHITZ: I'd like to show the witness                          9 Q What position or positions?
10 Government's Exhibit 109, which is in evidence, Your Honor.               10 A Captain.
11        THE COURT: Yes.                                                    11 Q When did you become a Captain?
12        (The above-referred to Exhibit was published to the                12 A August of 2008.
13 jury.)                                                                    13 Q Who promoted you?
14 Q Do you recognize this person?                                           14 A Benji Castellazzo.
15 A That's Benji.                                                           15 Q And what was his position at the time?
16 Q Benji Castellazzo?                                                      16 A Underboss.
17 A Yes.                                                                    17 Q What is the primary purpose of the Colombo family?
18 Q Was he known by any other names or nicknames?                           18 A To earn money.
19 A Benjamin.                                                               19 Q Can you briefly describe the structure of the Colombo
20 Q Directing your attention back to the year 2000. With                    20 family?
21 whom, if anyone, did you discuss getting inducted into the                21 A There's a boss, an underboss, and a consigliere. That's
22 Colombo family in the year 2000?                                          22 called the administration.
23 A Sally Fusco, Senior.                                                    23        Then you have Captains under them, and soldiers
24 Q What was his position at the time?                                      24 under the Captains, and associates under the soldiers.
25 A He was a street boss.                                                   25 Q How many organized crime families are there in
               Victoria A. Torres Butler, CRR                                               Victoria A. Torres Butler, CRR
                 Official Court Reporter                                                      Official Court Reporter
                                                                  Page 158                                                          Page 160
                                          1609                                                                          1611
             R. Maragni - Direct/Mr. Lifshitz                                             R. Maragni - Direct/Mr. Lifshitz
 1 Q What, if anything, did he say to you about the subject of                1 New York City?
 2 getting inducted?                                                          2 A There's five.
 3 A In May of -- April of 2000, he came to me and told me                    3 Q What are the names of those families?
 4 that I was proposed to be inducted into the crime family and               4 A Colombo, Bonanno, Lucchese, Gambino, and Genovese.
 5 that it would take between six and eight weeks after my name               5 Q How were the other families structured?
 6 went on the list to get approved.                                          6 A The same.
 7 Q And what happened next in your life?                                     7 Q Same as the Colombo family?
 8 A Subsequently, between my name going out on the list, I                   8 A Yes.
 9 got arrested. And Sal Fusco died.                                          9 Q What's the role of a Captain in an organized crime
10 Q You mentioned the list a moment ago. What do you mean by                10 family?
11 list?                                                                     11 A It's a direct crew of soldiers and associates.
12 A Your name gets put on a list when you're proposed for                   12 Q Were there any other names for a Captain in an organized
13 induction and it gets passed along to all the Captains in your            13 crime family?
14 crime family to see if there's any outstanding trouble or any             14 A Yes.
15 beefs that anybody might have with you or any knocks against              15 Q What are some of those names?
16 you. Then it goes out to the captains of the other four crime             16 A Called a Skipper, Caporegime.
17 families.                                                                 17 Q Who, if anyone, does the Captain report to?
18 Q Now, when you were arrested, as you just mentioned, were                18 A He reports to the administration.
19 you incarcerated or were you out on bail?                                 19 Q Are you familiar with the term acting in the context of
20 A I was out on bail.                                                      20 organized crime?
21 Q After you were arrested, what happened next with respect                21 A Yes.
22 to your possible induction?                                               22 Q What does it mean?
23 A Well, they wanted to go ahead and induct me into the                    23 A If anyone in the administration, the boss or the
24 family before I went to prison, but I passed on it.                       24 underboss, is in jail or they're going to be away from their
25 Q Why did you pass on it?                                                 25 position for a long period of time, they could put someone to
               Victoria A. Torres Butler, CRR                                               Victoria A. Torres Butler, CRR
                  Official Court Reporter                                                     Official Court Reporter

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                                           1612                                                                1614
              R. Maragni - Direct/Mr. Lifshitz                                    R. Maragni - Direct/Mr. Lifshitz
 1 act in their place and make decisions for them.                    1 March 2008, when, if ever, did you next attend an induction
 2        Also, Captains. Also, if a Captain is in jail or            2 ceremony?
 3 he's going to be out of his respective area for a long period      3 A February 2009.
 4 of time, he'll designate someone to act for him as an acting       4 Q Were any other people there who were already inducted
 5 Captain.                                                           5 members of the Colombo family?
 6 Q So, what positions can have a person acting in them?             6 A Yes, there were.
 7 A Boss, underboss, and Captain.                                    7 Q Who were they?
 8 Q You testified that the position under a Captain is a             8 A Ralph DiLeo, Richie Fusco, Benji Castellazzo, Dennis
 9 soldier. Are there any other names for that position?              9 DeLucia, Joseph Carna, Teddy Persico, and myself.
10 A Yes. They could be called a friend, a wiseguy, a head           10 Q Who, if anyone, was inducted at that ceremony?
11 guy, a button guy, a goodfella, amigo nostro.                     11 A Anthony Russo, Joe Savarese, John Maggio, Danny Capaldo,
12        THE COURT: What was that last?                             12 Manny Favuzza, and Mike Ferrara.
13        THE WITNESS: Amigo nostro.                                 13        MR. LIFSHITZ: Showing the witness what's in
14        THE COURT: Thank you.                                      14 evidence as Government's Exhibit 167.
15 Q Is that Italian?                                                15        (The above-referred to Exhibit was published to the
16 A Yes, it is.                                                     16 jury.)
17 Q Are you familiar with the term to be straightened out?          17 Q Who is this?
18 A Yes, I am.                                                      18 A Anthony Russo.
19 Q What does that mean?                                            19 Q What process, if any, exists in the New York organized
20 A It means to be inducted into a crime family.                    20 crime families for inducting new members?
21 Q Is a soldier an inducted member of a crime family?              21 A What process?
22 A Yes, he is.                                                     22 Q Yes, for proposing and inducting new members.
23 Q What is the role of a soldier?                                  23 A Well, when someone is to be proposed, it would be his
24 A Role of a soldier is to earn money and to direct his            24 Captain. Or a Captain would do the proposing. And you would
25 associates and report to his Captain.                             25 go to the other Captains and the administration and you would
                Victoria A. Torres Butler, CRR                                      Victoria A. Torres Butler, CRR
                  Official Court Reporter                                             Official Court Reporter

                                                          Page 162                                                                Page 164
                                          1613                                                                 1615
             R. Maragni - Direct/Mr. Lifshitz                                     R. Maragni - Direct/Mr. Lifshitz
 1 Q What is the position below a soldier?                            1 say, I want to propose this person, this candidate for
 2 A Associate.                                                       2 membership.
 3 Q What's the role of an associate?                                 3 Q And does this process involve the list you referred to
 4 A Role of an associate is basically to do what he's told,          4 earlier?
 5 whether it be acts of violence or go out and earn money,           5 A Yes. After it's agreed upon by all the Captains and the
 6 whatever his guy tells him to do, he's to do.                      6 administration that this person is a good candidate, it's then
 7 Q What requirements, if any, must someone fulfill to become        7 that the person's name goes on a list to be passed around to
 8 an inducted member of an organized crime family?                   8 make sure that there's no outstanding problems with anyone
 9 A First of all, you have to be male. You have to be                9 else in any other crime families that might come and stop this
10 Italian. You either get your recognition by acts of violence      10 candidate from being inducted.
11 or being a big money earner or a very, very trusted friend or     11 Q Prior to the induction ceremony you attended in
12 associate.                                                        12 February 2009, did you see a list like the one you just
13 Q Are you familiar with the term sit-down in the context of       13 described?
14 organized crime?                                                  14 A Yes.
15 A Yes.                                                            15 Q And who, if anyone, showed you the list?
16 Q What does the phrase sit-down mean?                             16 A I was showed the list by Benji Castellazzo.
17 A Sit-down means when there's a dispute that needs to be          17 Q What, if anything, did you and Benji Castellazzo discuss
18 straightened out, two main members will get together and sit      18 when he showed you the list?
19 down and hash out whatever the problem is and come to a           19 A Well, I read the list with Anthony's name and Joey's name
20 reasonable decision.                                              20 and everybody that was on there and my first question is to
21 Q So, do soldiers attend a sit-down?                              21 him I says, I says, well where's BF's name.
22 A Yes.                                                            22 Q What, if anything, did he say back?
23 Q Captains attend sit-downs?                                      23 A Benji told me, he says "BF" passed on it.
24 A Yes, they will.                                                 24 Q After the February 2009 induction ceremony, when, if
25 Q After you were inducted into the Colombo family in              25 ever, did you discuss the subject of induction with the
               Victoria A. Torres Butler, CRR                                       Victoria A. Torres Butler, CRR
                 Official Court Reporter                                              Official Court Reporter

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                                                        Page 165                                                           Page 167
                                           1616                                    Maragni - direct - Lifshitz        1618
              R. Maragni - Direct/Mr. Lifshitz                      1 BY MR. LIFSHITZ: (Continuing)
 1 defendant, Frank Guerra?                                         2 Q When you saw the list, what, if anything, did you and
 2 A Well, it had to be around March or April of the same           3 Richie Fusco say to each other?
 3 year, of 2009. I had a social club on Bath Avenue in Brooklyn    4 A Well, Richie asked me if I had a problem with anybody
 4 and Anthony and Frank stopped by to say hello to me and
                                                                    5 that was on the list and I told him, I said I don't have a
 5 Anthony got out of the van and went into the club, said hello
                                                                    6 problem with anybody. I don't know who Philly is, I said, but
 6 to my uncle. I was standing outside talking to B.
                                                                    7 everybody else on here is good with me.
 7         THE COURT: Who were you talking to?
 8         THE WITNESS: "BF."                                       8 Q When, if ever, did you next discuss the subject of
 9 Q You mentioned Anthony and Frank, just to be clear?             9 induction with the defendant?
10 A Anthony Russo and Frank Guerra.                               10 A I think it was in October.
11 Q Okay. What happened next?                                     11 Q Of what year?
12 A I was talking to "BF" because Anthony went inside and I       12 A Of 2010.
13 told him, I says, all your friends got straightened out. This   13 Q Where were you when you had this discussion?
14 guy, I know you had to be feeling left out of this thing, I     14 A I was outside my club on Staten Island.
15 said you passed on it. I mean, it was up to you, you passed     15 Q What street was your club on?
16 on it. You could have got it the same as them. But I think      16 A Ocean, Ocean Avenue.
17 at the time --                                                  17 Q And what, if anything, did you say to the defendant?
18         MR. McMAHON: Objection to what he thinks.
                                                                   18 What, if anything, did he say back?
19         THE COURT: Sustained.
                                                                   19 A I told Frankie that I saw his name on a list. I says:
20 Q What did you observe and what, if anything, did the
                                                                   20 You know, you're getting ready to have a birthday, we're going
21 defendant say to you?
22 A I told Frank I says you're feeling funny that all your        21 to be brothers and, you know, it would be good to have you.
23 friends got straightened out. You feel like you've been sort    22 It's been a long time coming. You deserve it. I'm happy for
24 of left behind. He shook his head yeah, gave me that little     23 you.
25 smile that he does. I said well, next time this thing comes     24 Q How did he respond?
                Victoria A. Torres Butler, CRR                     25 A He smiled and shook his head.
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                                                        Page 166                                                           Page 168
                                           1617                              Maragni - direct - Lifshitz        1619
              R. Maragni - Direct/Mr. Lifshitz                 1 Q You testified earlier that there's a rule against selling
 1 around and you're on there, don't pass on it.               2 drugs in the Colombo family, is that right?
 2 Q After that conversation, what, if ever, did you next see  3 A Yes.
 3 a list of people proposed for induction into the Colombo    4 Q When, if ever, did you consider breaking that rule?
 4 family?
                                                               5 A Well, I had a discussion with Ralph DeLeo who was the
 5 A September of the same year.
                                                               6 acting boss at the time and Ralph had a plan to buy marijuana
 6 Q September of, sorry what year?
                                                               7 in Canada and have it brought into the United States.
 7 A September, I'm sorry, it was September of 2010.
 8 Q And what year was the discussion we discussed a moment 8 Q When did you discuss that plan with him?
 9 ago?                                                        9 A That was in 2009.
10 A That was 2009.                                           10 Q What position did he hold at the time?
11 Q Okay. So, in September 2010, who, if anyone, showed you  11 A He was acting boss.
12 the list?                                                  12 Q And what position did you hold at the time?
13 A I was shown the list by Richie Fusco.                    13 A I was a captain.
14 Q Who was he at that time?                                 14 Q What concerns, if any, did you have about breaking the
15 A He was the consigliere.                                  15 rule?
16 Q Who was on the list?                                     16 A Well, I had concerns because it was Junior's rule that he
17 A Joey Petillo, Fat Larry, Big Richie, Philly, and "BF."   17 didn't want anybody selling or using drugs. So I told Ralph,
18
                                                              18 I said, before I go forward, I want to get an okay.
19         (Continued on following page.)
                                                              19 Q Who was junior?
20
                                                              20 A Junior Persico is the boss of our family.
21
22                                                            21 Q What's his real name?
23                                                            22 A Carmine Persico.
24                                                            23 Q Who are his sons?
25                                                            24 A His sons are Allie, Michael and Larry.
                Victoria A. Torres Butler, CRR                25 Q What, if anything, did you believe can happen if you
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                                                        Page 169                                                                      Page 171
                Maragni - direct - Lifshitz       1620                             Maragni - direct - Lifshitz         1622
 1 broke the rule without permission from Carmine?                   1        He told me: Maybe I should make a decision. I
 2 A Well, you could be put on a shelf, you could be, you            2 says: You can't, you can't make this decision. It's nobody's
 3 could be killed.                                                  3 decision. I'm not listening to a decision from nobody but
 4 Q What do you mean by put on a shelf?                             4 your father. So I said: That's the end of it.
 5 A Put on a shelf means basically you get put into exile.          5 Q    Did you have any further discussions about this topic
 6 You're stripped of your rank. You're no longer recognized as      6 with Michael Persico?
 7 a made member. You're not entitled to any representation.         7 A    No.
 8 All your earnings on the street are taken from you and like I     8 Q    When did you first meet the defendant Frank Guerra?
 9 says, you're basically in exile. You stay to yourself. You        9 A    I believe it was 1996.
10 have no dealings on the street with anybody.                     10 Q    How did you meet him?
11 Q What, if anything, did you do to address your concern?         11 A    I met, I met Frank in Key West, Florida with Allie Boy.
12 A Well, I wanted to get a message to Junior and let him          12 They were, they were in Key West going down there to get their
13 know, you know, what we were planning to do and if it was all    13 dive, scuba dive certification.
14 right with him or not all right with him.                        14 Q    Did you ever see the defendant in New York?
15 Q And how did you go about trying to get him that message?       15 A    Yes. I used to see Frank in Brooklyn when I went up
16 A Well, I wanted to see, I wanted to see Michael and tell        16 there to visit, visit my family. I stopped by 11th Avenue to
17 Michael I wanted to get a message to his father.                 17 see Allie Boy. Frankie was in the neighborhood. Whenever he
18 Q Michael Persico?                                               18 saw me, he would drive by and stop and say hello.
19 A Yes.                                                           19 Q    You mentioned 11th Avenue. Where on 11th Avenue are you
20 Q And before you tried to do that, what, if anything, had        20 talking about?
21 you done to begin facilitating the drug importation scheme of    21 A    Right outside the Romantique, Perks Coffee place.
22 Ralph DeLeo?                                                     22 Q    Between 1996 and when you were arrested in 2000, about
23 A Ralph DeLeo took a trip to Canada, to Montreal, and            23 how many times did you see the defendant?
24 there's a fellow I'm very friendly with up there and I had       24 A    Maybe six times.
25 Ralph meet him. We did an introduction and he was someone        25 Q    Aside from 11th Avenue in Brooklyn and Key West, where,
         CMH OCR RDR RMR CRR FCRR                                            CMH     OCR       RDR       RMR     CRR    FCRR

                                                        Page 170                                                                      Page 172
                 Maragni - direct - Lifshitz      1621                               Maragni - direct - Lifshitz       1623
 1 that could have put Ralph in touch of who he needed to be in      1 if anywhere else, did you see them?
 2 touch with to buy this marijuana.                                 2 A That's where I saw Frankie. I saw him in Florida one
 3 Q Did you, in fact, meet with Michael Persico to address          3 time and then I saw him on 11th Avenue, Brooklyn. Once he
 4 your concerns?                                                    4 drove me to the airport.
 5 A Yes, I did.                                                     5 Q Was that in New York or Florida?
 6 Q In what year?                                                   6 A That was in New York.
 7 A That was in 2009.                                               7 Q Around when?
 8 Q When you met him, what, if anything, did you say to each        8 A 1997.
 9 other?                                                            9 Q How did it come about that he drove you to the airport?
10 A Well, I told Michael what Ralph's intentions were. I           10 A I needed a lift to the airport and Allie Boy said, I'll
11 said: Listen, this is what we laid out what we wanted to do,     11 have BF drive you.
12 what we're interested in doing, but I'm not going to go          12 Q What, if anything, did you and Allie Boy say to each
13 forward with this unless I get an okay from your father. I       13 other next?
14 said: I know what his rule is against this so I want to make     14 A I said: What do you got to bother the guy for? I said:
15 myself very clear of what we're planning to do here and I want   15 First of all, Frankie's got a bad hand. I said: Why does he
16 to get an okay from your dad so I need to get a message to       16 have to drive me?
17 him.                                                             17        He said: No, Frankie is the best wheel guy you'll
18         I said: Now, I know your father. The minute that         18 ever meet.
19 he hears what we're planning to do, he's going to blow his top   19 Q Had you heard the term "wheel guy" before?
20 in the visiting room and he's probably going to get pissed off   20 A Yes.
21 and call me some kind of a name.                                 21 Q In what context?
22         Michael started laughing. What if my father says         22 A Wheel guy is a getaway -- a driver, a good driver.
23 no? I said: If your father says no, that's no, that's it,        23 Q Let me direct your attention to 2010. About how many
24 that's the end of the story. I don't want anything to do with    24 times, if at all, did you see the defendant in that year?
25 it.                                                              25 A Between Brooklyn and Staten Island, maybe five, six
         CMH OCR RDR RMR CRR FCRR                                            CMH OCR RDR RMR CRR FCRR

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                                                                Page 173                                                                       Page 175
                Maragni - direct - Lifshitz         1624                                   Maragni - direct - Lifshitz         1626
 1 times, seven times.                                                      1 from?
 2 Q   And where would you see him in that time?                            2 A   It came from L&B Pizza.
 3 A   I would see him outside my club, either on Bath Avenue               3 Q    Did he explain what, if any, relationship he had with L&B
 4 and then when I moved the club to Staten Island, I would see             4 Pizza?
 5 him there.                                                               5 A   They were his in-laws.
 6 Q   Bath Avenue, is that in Brooklyn?                                    6 Q    His in-laws? What do you mean?
 7 A   Yes.                                                                 7 A   Frankie's in-laws owned L&B Pizza.
 8 Q   Was the defendant with anyone when he came to your clubs             8 Q    Had you been to L&B Pizza?
 9 in 2010?                                                                 9 A   Many times.
10 A   Yes.                                                                10 Q    Where is it?
11 Q   Who was he with?                                                    11 A   It's off Avenue U and 86th Street in Brooklyn.
12 A   Anthony Russo.                                                      12 Q    During this conversation, did the defendant say that he
13 Q   Every time?                                                         13 wanted to do anything as a response to how he felt about this?
14 A   Yes, they used to work together.                                    14 A   Well, he wanted to confront Gene Lombardo about it and
15 Q   Are you familiar with a place called The Square?                    15 tell him that, you know, he was, he was angry, his family was
16 A   Yes, I am.                                                          16 stolen from him. He felt that Gene stole from his family.
17 Q   Have you been there yourself?                                       17 Q    Did anyone else become involved in this conversation?
18 A   /UPL, yes, I have.                                                  18 A   Well, Anthony Russo walked over and Frankie Notch walked
19 Q   Do you know the owner?                                              19 out of my club and walked over to us while I was finishing up
20 A   Yes.                                                                20 the conversation.
21 Q   Who is he?                                                          21 Q    What's Frankie notch's real name?
22 A   Gene Lombardo.                                                      22 A   Frank Iannaci.
23 Q   And who is Gene Lombardo, if anyone, within organized               23         MR. LIFSHITZ: I'm showing the witness Government
24 crime?                                                                  24 Exhibit 132 in evidence.
25 A   He's an associate of the Bonanno family.                            25         (Exhibit published to the jury.)
        CMH       OCR      RDR     RMR        CRR    FCRR                          CMH       OCR      RDR     RMR        CRR    FCRR

                                                                Page 174                                                                       Page 176
                Maragni - direct - Lifshitz      1625                                     Maragni - direct - Lifshitz       1627
 1 Q What is The Square?                                                    1 Q Who is this?
 2 A It's a pizzeria.                                                       2 A That's Frankie Iannaci. Frankie Notch.
 3 Q Where is it?                                                           3        THE COURT: What was that, 132 in evidence?
 4 A It's off Highland Boulevard in Staten Island.                          4        MR. LIFSHITZ: Yes, Your Honor.
 5 Q In 2010, with whom, if anyone, did you discuss The                     5        THE COURT: Thank you.
 6 Square?                                                                  6 Q What role, if any, did Frankie Notch have in the Colombo
 7 A I discussed The Square with BF one day.                                7 family in 2010?
 8 Q How did it first come up? How did the subject of The                   8 A He was an associate.
 9 Square first come up between the two of you?                             9 Q Was he around anyone?
10 A The subject came up because BF was annoyed that Gene                  10 A He was around me.
11 Lombardo's sons were working for his in-laws and stole the,             11 Q How did he become involved in the conversation you're
12 his in-laws' family recipe.                                             12 describing?
13 Q Where were you when you had this conversation?                        13 A Well, BF wanted to go see Gene Lombardo. I said: I told
14 A I was outside my club in Staten Island.                               14 BF well go see him, talk to him, see what he's got to say and,
15 Q Was anyone else involved in the conversation?                         15 you know, try to work something out, try to work this thing
16 A Anthony Russo was standing nearby but he wasn't really                16 out.
17 involved in the conversation. It was just Frankie and myself            17        So they were going to get in a van and they were
18 talking about it.                                                       18 going to go and see Gene and --
19 Q What, if anything, did the defendant say about, about his             19 Q Who's "they"?
20 in-laws in that conversation?                                           20 A Anthony Russo and Frankie, BF.
21 A He felt that Gene Lombardo stole from his in-laws.                    21 Q Go ahead.
22 Q Did he explain what that meant?                                       22 A But I knew Gene Lombardo had two partners also and I
23 A Yes, he says that they stole the recipe for the sauce for             23 didn't want a confrontation to break out and there was Gene
24 the pizza and, and I'm not sure, but I think an employee also.          24 Lombardo and his two partners and there was BF and Anthony
25 Q Did he explain where the recipe that was stolen came                  25 Russo and BF has got that bad hand, so I didn't think that,
         CMH OCR RDR RMR CRR FCRR                                                   CMH OCR RDR RMR CRR FCRR

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                                                                    Page 177                                                                      Page 179
               Maragni - direct - Lifshitz         1628                                       Maragni - direct - Lifshitz       1630
 1 you know, he would be able to fight, physically fistfight with               1 Q What did you discuss in your initial meetings with the
 2 these people if anything broke out. So Frankie said: I'll                    2 government?
 3 take a ride with them. So Frank got in the van with them and                 3 A I discussed my crimes.
 4 took a ride to The Square.                                                   4 Q After you began meeting with the government, did you
 5 Q    When is the next time did you see the defendant, Anthony                5 later sign an agreement?
 6 Russo and Frankie Notch?                                                     6 A Yes, I did.
 7 A   About a half hour later.                                                 7        MR. LIFSHITZ: May I approach, Your Honor?
 8 Q    Where?                                                                  8        THE COURT: Yes.
 9 A   The same place. They dropped Frankie Notch off.                          9        MR. LIFSHITZ: I'll show the witness 3500RM-4C.
10 Q    Did you talk to them?                                                  10        THE COURT: 3500RM-4C?
11 A   Yes, I did.                                                             11        MR. LIFSHITZ: Yes.
12 Q    What, if anything, did you say to them?                                12 Q Take a look at this and tell us if you recognize it?
13 A   Well, I said how did you make out? And Frankie Notch                    13        (Pause.)
14 says: Well, Gene Lombardo got mouthy like he always does so I               14 A Yes.
15 gave him a smack. I told BF, I says what happened?                          15 Q What is it?
16        He says: Well, after Frankie, you know, after that                   16 A This is the first agreement that I signed.
17 whole situation got settled down, that Gene agreed to work                  17 Q When did you sign it?
18 something out.                                                              18 A March 29, 2011.
19        They were going to work something out. They were                     19 Q What did you agree to do in this agreement?
20 going to get together and work something out.                               20 A I agreed to be debriefed. I also agreed to furnish the
21 Q    Directing your attention to January of 2011, what, if                  21 FBI and the government all documents and material that might
22 anything, happened to you?                                                  22 be relevant to the investigation. I agreed to not reveal my
23 A   I was arrested.                                                         23 cooperation and to wear a recording device.
24 Q    What were you charged with?                                            24 Q What, if anything, did the government agree to do in your
25 A   RICO conspiracy, racketeering conspiracy.                               25 understanding?
        CMH      OCR      RDR     RMR        CRR    FCRR                                CMH OCR RDR RMR CRR FCRR
                                                                    Page 178                                                                      Page 180
              Maragni - direct - Lifshitz     1629                                              Maragni - direct - Lifshitz         1631
 1 Q After you were arrested, were you incarcerated?                            1 A   The government agreed to recommend that I be let out on
 2 A Yes, I was.                                                                2 bail.
 3 Q While you were incarcerated, did you commit any crimes?                    3 Q       Did the government, in fact, then recommend that you be
 4 A Yes.                                                                       4 released on bail?
 5 Q What did you do?                                                           5 A   Yes, they did.
 6 A I was a shylock.                                                           6 Q       Were you released on bail?
 7 Q How were you able to do at that while you were                             7 A   Yes.
 8 incarcerated?                                                                8 Q       What were the terms of your bail?
 9 A My partner was taking care of my shylock business on the                   9 A   I would be on under house arrest, I would wear a
10 street.                                                                     10 monitoring bracelet and I would secure a security company to
11 Q Was he collecting money on your behalf?                                   11 sit outside my house because I was deemed a danger to the
12 A Yes, he was.                                                              12 community. I was to pay for the security company with my own
13 Q At your direction?                                                        13 money.
14 A Uh-huh, yes.                                                              14 Q       After you were released, did you make recordings?
15 Q While you were incarcerated, did you make a decision                      15 A   Yes, I did.
16 about how to proceed with your case?                                        16 Q       And, generally speaking, who were the people you
17 A Yes, I did.                                                               17 recorded?
18 Q What did you decide to do?                                                18 A   Various members of organized crime.
19 A I decided to cooperate.                                                   19 Q       Over what period of time?
20 Q When did you decide to do that?                                           20 A   From April 2011 until December 2011.
21 A In March 2011.                                                            21 Q       After each recording you made, did you talk to an FBI
22 Q Did you then meet with the government?                                    22 agent?
23 A Yes, I did.                                                               23 A   Yes.
24 Q And when you first did that, were you still incarcerated?                 24 Q       And what was the purpose of talking to the FBI agent?
25 A Yes, I was.                                                               25 A   Well, they talked to me to debrief the day's session and
        CMH OCR RDR RMR CRR FCRR                                                          CMH     OCR      RDR     RMR        CRR    FCRR

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                                                         Page 181                                                           Page 183
                 Maragni - direct - Lifshitz       1632                          Maragni - direct - Lifshitz       1634
 1 clarify what the, what the recordings were about.               1 A No.
 2 Q Did you always tell the agency you met with everything        2 Q What was the wire fraud?
 3 that happened during your meetings?                             3 A The wire fraud was $25,000 that was sent via the U.S.
 4 A No.                                                           4 mail to someone to pay me.
 5 Q What did you leave out?                                       5 Q To pay you for what?
 6 A I left out conversations I had with my partner regarding      6 A To pay me towards having their nephew's sentence reduced
 7 shylock money. I left out when I received money from my         7 and have it arranged. It was basically a scam that I was
 8 shylock business. I didn't tell the agents that I got money     8 going to bribe the Governor of Florida and get the person's
 9 and there were certain instances were I knew that the           9 sentence reduced in Florida.
10 recording device was on, I was having conversations with my 10 Q Is that different or the same from the fraud scheme you
11 partner. I would write him notes saying not to mention         11 described earlier where you lied to your friends?
12 people's names or say certain things out loud. I didn't want   12 A That's the same thing.
13 his, I didn't want his voice or his opinions recorded.         13 Q When you pled guilty, did you appear before a judge?
14 Q Whose names did you tell him to leave out?                   14 A Yes.
15 A I told him to leave out my wife and my brother.              15 Q Which judge?
16 Q And what other information, if any, did you tell him not     16 A Judge Matsumoto.
17 to say out loud?                                               17 Q Is Judge Matsumoto a federal judge?
18 A I told him not to mention anything about the shylock         18 A Yes, she is.
19 business, don't mention anything about the shylock business at 19 Q And is her courtroom here in this courthouse?
20 all, anything about money.                                     20 A Yes.
21 Q Why did you withhold all the information you just            21 Q When you pled guilty, did you plead guilty pursuant to a
22 described from the FBI agents you were meeting with?           22 plea agreement?
23 A Well, I didn't want my family discussed, I wanted to         23 A Yes.
24 protect my family, and I didn't want my money discussed        24 Q After you pled guilty pursuant to a plea agreement, did
25 because I wanted to keep my money. I didn't want it            25 you later enter another agreement?
         CMH OCR RDR RMR CRR FCRR                                         CMH OCR RDR RMR CRR FCRR

                                                         Page 182                                                           Page 184
                Maragni - direct - Lifshitz        1633                           Maragni - direct - Lifshitz      1635
 1 confiscated.                                                      1 A Yes.
 2 Q Have you resolved the charges that you were arrested in         2 Q Is that a cooperation agreement?
 3 January 2011?                                                     3 A Yes.
 4 A Yes, I have.                                                    4        MR. McMAHON: Judge, object to leading.
 5 Q What did you do?                                                5        THE COURT: Yes, sustained.
 6 A I pled guilty.                                                  6        MR. LIFSHITZ: May I approach, Your Honor?
 7 Q To what charges?                                                7        THE COURT: Yes, you may.
 8 A I pled guilty to all the underlying charges.                    8        MR. LIFSHITZ: I'll show the witness 3500RM-5A.
 9 Q Did you plead guilty to the racketeering conspiracy as          9        THE COURT: 3500RM-5A.
10 well?                                                            10 Q Do you recognize this document?
11 A Yes, I did.                                                    11 A Yes.
12 Q And did you say what family you were engaged in the            12 Q What is it?
13 racketeering conspiracy with when you pled guilty?               13 A It's a cooperation agreement.
14 A Yes, I did.                                                    14 Q Did you --
15 Q What family?                                                   15        THE COURT: Excuse me. What is 3500RM-4C?
16 A The Colombo family.                                            16        MR. LIFSHITZ: That was an earlier agreement. It
17 Q You mentioned underlying crimes that you pled guilty to.       17 was not the cooperation agreement.
18 What crimes did you allocute to or plead guilty to?              18        THE COURT: All right.
19 A I pled guilty to extortion, to shylocking, receiving           19 Q Did you sign this agreement?
20 stolen property, wire fraud. I think there's like four or        20 A Yes, I did.
21 five different crimes. I'm not sure of all of them.              21 Q On what date?
22 Q Did you plead guilty to assault or assaults?                   22 A February 9, 2012.
23 A Yes, I pled guilty to assault also.                            23 Q When you signed that agreement, did you plead guilty to
24 Q You mentioned wire fraud. Is that a fraud you've already       24 additional crimes?
25 testified about here today?                                      25 A Yes.
          CMH OCR RDR RMR CRR FCRR                                          CMH OCR RDR RMR CRR FCRR

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    Case 1:11-cr-00030-KAM-RER Document 1270-2 Filed 01/28/14 Page 19 of 57 PageID #:
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                                                        Page 185                                                                      Page 187
               Maragni - direct - Lifshitz    1636                                  Maragni - direct - Lifshitz      1638
 1 Q What crime or crimes did you plead guilty to when you          1 letter, is the judge obligated to lower your sentence?
 2 signed this agreement?                                           2 A No.
 3 A I pled guilty to shylocking and money laundering in            3 Q Is the judge obligated to sentence you below the
 4 Florida and the marijuana charge in Massachusetts.               4 mandatory minimum?
 5 Q What did you do that made you guilty of a marijuana            5 A No.
 6 charge?                                                          6 Q Who determines what your sentence will be?
 7 A I provided the introduction between a buyer for the            7 A Judge Matsumoto.
 8 seller.                                                          8 Q What happens if you don't do what you agree to do in this
 9 Q Who was the buyer?                                             9 agreement?
10 A Ralph DeLeo.                                                  10 A I won't get a letter.
11 Q Is that the importation scheme you testified about            11 Q Is lying to the government a breach of your agreement?
12 earlier?                                                        12 A Yes, it is.
13 A Yes.                                                          13 Q Sitting here today, do you know what your sentence will
14 Q Before what judge did you plead to this agreement, the        14 be?
15 cooperation agreement?                                          15 A No.
16 A Judge Matsumoto.                                              16 Q As part of your cooperation, did you record any
17 Q Were the potential penalties explained to you?                17 conversations with the defendant?
18 A Yes, they were.                                               18 A Yes.
19 Q And in your understanding, what is the maximum jail time      19 Q Did you record any conversations with Frankie Notch?
20 you face under this agreement?                                  20 A Yes.
21 A Forty years.                                                  21         MR. LIFSHITZ: May I approach, Your Honor?
22 Q And what is the minimum jail time you face?                   22         THE COURT: Yes, you may.
23 A Five years.                                                   23 Q I'll show the witness a compact disc that's marked
24 Q What is the maximum fine, if any?                             24 Government Exhibit 4000 series.
25 A $500,000.                                                     25         Do you recognize this exhibit?
         CMH OCR RDR RMR CRR FCRR                                           CMH OCR RDR RMR CRR FCRR
                                                        Page 186                                                                      Page 188
                Maragni - direct - Lifshitz       1637                             Maragni - direct - Lifshitz         1639
 1 Q Did you agree to any forfeiture provisions in this             1 A    Yes.
 2 agreement?                                                       2 Q    How are you able to recognize it?
 3 A I agreed to forfeit $500,000.                                  3 A    It's my initials and it's dated.
 4 Q Have you, in fact, forfeited any of that money yet?            4 Q    Have you listened to contents of this CD?
 5 A No.                                                            5 A    Yes.
 6 Q As part of your cooperation agreement, did you make any        6 Q    Was what does it contain?
 7 promises to the government?                                      7 A    It contains a conversation that I had with BF and also a
 8 A I didn't make any promises. I entered into an agreement        8 conversation that I had with Frankie Notch.
 9 with the government to tell the truth and to testify             9 Q    Are the recordings on this CD fair and accurate excerpts
10 truthfully.                                                     10 of conversations you had with each of those people?
11 Q And as part of entering into this cooperation agreement,      11 A    Yes.
12 did you admit to crimes you had never been charged with?        12        MR. LIFSHITZ: Your Honor, the government would move
13 A Yes.                                                          13 to admit the disc marked Government Exhibit 4000 series.
14 Q If you agree to do this agreement, what do you hope to        14        MR. McMAHON: No objection, Judge.
15 get in return?                                                  15        THE COURT: Judge, I'll receive -- tell me how I
16 A I hope to get a 5K letter written by the government.          16 refer to this, 4000 series?
17 Q What is a 5K letter?                                          17        MR. LIFSHITZ: Yes. It contains files that are
18 A It's a letter informing the judge to the extent of my         18 designated Exhibit 4000 and 4001, but the disc itself is
19 cooperation plus all the crimes I've never been charged with    19 labeled 4000 series.
20 and this letter will act as a, maybe a guideline or a           20        THE COURT: All right. Received.
21 reference and the judge, it will enable the judge to go below   21        (So marked.)
22 my minimum sentence if she so fits to do.                       22        MR. LIFSHITZ: I'm showing the witness what has been
23 Q Is getting that letter important to you?                      23 marked for identification as Government Exhibit 4000T, as in
24 A Yes, it is.                                                   24 transcript, and 4001T.
25 Q If you get that letter, if the government writes that         25 Q    Do you recognize Exhibits 4000T and 4001T?
         CMH OCR RDR RMR CRR FCRR                                           CMH      OCR      RDR       RMR      CRR    FCRR

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                Maragni - direct - Lifshitz          1640                                      Maragni - direct - Lifshitz      1642
 1 A    Yes.                                                                    1         (Audio plays.)
 2 Q    How are you able to recognize those exhibits?                           2         (Audio stops.)
 3 A    I initialed, I read them and initialed it and dated it.                 3         MR. LIFSHITZ: Your Honor, for the record, we
 4 Q    Did you read them as you listened to the recordings --                  4 mistakenly played 4001.
 5 A    Yes, I did.                                                             5         Can you please play 4000.
 6 Q    -- on the CD marked 4000 series?                                        6         (Audio plays.)
 7 A    Yes.                                                                    7         (Audio stops.)
 8 Q    Turning to 4000T, is it a fair and accurate transcript of               8         MR. LIFSHITZ: For the record, Mr. Maragni, whose
 9 the recording of you and the defendant that's on the CD marked               9 voices were on that recording.
10 4000 series?                                                                10 A    That was myself and Frank Guerra.
11 A    Yes.                                                                   11         MR. LIFSHITZ: If everyone could turn to 4001-T, the
12 Q    And is the transcript marked 4000T a fair and accurate                 12 other transcript we just distributed. I would ask to play
13 transcript --                                                               13 4001.
14 A    Yes.                                                                   14         (Audio plays.)
15 Q    Let me finish, please.                                                 15         (Audio stops.)
16        -- of the conversation between you and Frankie Notch                 16         MR. LIFSHITZ: No further questions, Judge.
17 that's on the 4000 series?                                                  17         THE COURT: All right.
18 A    Yes.                                                                   18         Would counsel come up to the sidebar.
19        MR. LIFSHITZ: Your Honor, at this time, the                          19         MR. McMAHON: Yes.
20 government would ask to distribute copies of these transcripts              20         (Sidebar.)
21 as aids to the jury and to play the two recordings on 4000                  21         THE COURT: What are we doing?
22 series.
23        THE COURT: Yes.
24        MR. McMAHON: Judge, I don't think he's offered them
25 in evidence yet.
         CMH       OCR     RDR      RMR       CRR     FCRR

                                                                    Page 190
              Maragni - direct - Lifshitz        1641
 1        THE COURT: Yes, I received -- maybe I didn't.
 2        MR. LIFSHITZ: I offered the disc into evidence.
 3 The transcripts are an aid to the jury.
 4        MR. McMAHON: Never mind, Judge. That's fine.
 5        THE COURT: All right.
 6        MR. LIFSHITZ: I would suggest that the jurors wear
 7 their headphones and refer to the transcript that's labeled
 8 4000T. If everyone's is ready, I'll play Government
 9 Exhibit 4000.
10        (Continued on next page.)
11
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25
         CMH OCR RDR RMR CRR FCRR

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                                                                             1

                                                                     1646
 1      UNITED STATES DISTRICT COURT
 2      EASTERN DISTRICT OF NEW YORK
 3    - - - - - - - - - - - - - - X
 4    UNITED STATES OF AMERICA, :
                                           10-CR-147
 5
                 -against-                 United States Courthouse
 6
                                    :      Brooklyn, New York
 7
      FRANCIS GUERRA,
 8
                   Defendant.
 9                                  :      June 25, 2012
                                           9:30 o'clock a.m.
10    - - - - - - - - - - - - - - X
11      TRANSCRIPT OF TRIAL
        BEFORE THE HONORABLE SANDRA L. TOWNES
12      UNITED STATES DISTRICT JUDGE, and a jury
13      ATTORNEYS FOR GOVERNMENT:
        LORETTA E. LYNCH
14      UNITED STATES ATTORNEY
        BY: NICOLE ARGENTIERI
15           ALLON LIFSHITZ
             RACHEL NASH
16      Assistant United States Attorney
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18      ATTORNEY FOR DEFENDANT:
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19      MATHEW J. MARI, ESQ
20
21     Court Reporter:
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24
           Proceedings recorded by mechanical stenography,
25    transcript produced by CAT.
                            MARSHA DIAMOND, CSR
                          OFFICIAL COURT REPORTER


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                                      Page 1




                                                                                           .
                                                4         Good morning. The record will reflect that the
                                                5 jurors are present and the defendant, counsel, Mr. Miragni is
                                                6 still on the stand and still under oath.
                                                7         MR. LIFSHITZ: May I inquire, Your Honor?
                                                8         THE COURT: Yes. Yes.
                                                9 DIRECT EXAMINATION CONTINUED
                                               10 BY MR. LIFSHITZ:
                                               11 Q Good morning, sir.
                                               12         Mr. Miragni, after you were arrested 2011 can you
                                               13 remind us around when you were released after that arrest?
                                               14 A I believe it was April 8th.
                                               15 Q 2011?
                                               16 A Yes.
                                               17 Q Can you remind us what were the conditions of your
                                               18 release, if any?
                                               19 A The conditions of my release. I was under house arrest,
                                               20 I had to wear a monitoring device and I had to secure a
                                               21 security company to sit outside my house.
                                               22 Q After you were released, how soon did you begin making
                                               23 recordings immediately?
                                               24 A Immediately.
                                               25 Q And on Friday do you recall we played two recordings for
                                                                 MARSHA DIAMOND, CSR, RPR
                                                                 OFFICIAL COURT REPORTER
                                                                                                         Page 4
                                                            Miragni - direct/ Lifshitz       1649
                                                1 you?
                                                2 A Yes.
                                                3        MR. LIFSHITZ: Your Honor, may I approach and show
                                                4 the witness 4000-T, one of the transcripts that we used on
                                                5 Friday?
                                                6        THE COURT: Yes.
                                                7        MR. LIFSHITZ: Thank you.
                                                8        I will remind the jurors that this appears as the
                                                9 second to last transcript in their binders.
                                               10 Q Please take a minute to read that to yourself
                                               11 Mr. Miragni?
                                               12 A (Witness perusing)
                                               13 Q Have you had a chance to reread Exhibit 4000-T,
                                               14 Mr. Miragni?
                                               15 A Yes.
                                               16 Q Just to reorient everyone, can you remind us who
                                               17 participated in this conversation?
                                               18 A It was me and Frank Guerra.
                                               19 Q Can you remind us the date of this conversation?
                                               20 A April 18, 2011.
                                               21        MR. LIFSHITZ: I will place it on the Elmo as well so
                                               22 people can follow along how they want. Is this appearing on
                                               23 people's screens? Good.
                                               24 Q Now, looking at the top, the very first line when Guerra
                                               25 asks:
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                                                         Page 5                                                              Page 7
             Miragni - direct/ Lifshitz           1650                       Miragni - direct/ Lifshitz        1652
 1       Did he get hit with unintelligible that guy Gene.      1 A It's not on tape as far as anything that happened at that
 2       What was your understanding of what Guerra was         2 day at the pizzeria.
 3 asking?                                                      3 Q Do you recall testifying on Thursday about a conversation
 4 A My understanding was did Anthony Russo get charged.        4 you had with the defendant in which you told him you saw his
 5       MR. McMAHON: I object to this interpretation.          5 name on the list?
 6       MR. LIFSHITZ: Just his understanding.                  6 A Yes.
 7       THE COURT: Yes, I'll allow it. You can cross on it.    7 Q Can you remind us what you said to him?
 8 Q What was your understanding of what that question meant? 8 A I told him, I says that I seen your name on a list, you
 9 A That if Anthony Rousso got charged with Gene Lombardo. 9 have a birthday coming, you'll be the same as the rest of your
10 Q What incident are you referring to?                       10 friends.
11 A The extortion.                                            11 Q What does the word "birthday" mean in you're -- in that
12 Q Relating to the pizza places?                             12 context?
13 A Relating to the pizza place.                              13 A Birthday means you're gonna get inducted into the crime
14 Q Directing your attention to the lines ten through 12      14 family.
15 where you said:                                             15 Q How, if it all, did the defendant respond when you said
16       Well, I don't know if that's one of the charges of    16 that?
17 the extortion with Benjie, but it very well might be by the 17 A He nodded his head and smiled.
18 time Anthony is done.                                       18 Q He nodded his head up and down?
19       When you referred to Benjie, who did you mean?        19 A Yes, nodded his head and smiled.
20 A Benjie Castellazzo.                                       20 Q Do you recall testifying that earlier in 2010 you saw the
21 Q Who was he at the time?                                   21 list that you just mentioned you discussed with the defendant?
22 A The underboss.                                            22 A Yes.
23 Q Of the Colombo Family?                                    23 Q Can you please remind the jury who was on that list.
24 A Yes.                                                      24 A Joe Pattella ^ and big Richie, Fat Larry, Philly, and
25 Q When you referred to Anthony, who were you referring to? 25 Frank Guerra.
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                OFFICIAL COURT REPORTER                                          OFFICIAL COURT REPORTER
                                                         Page 6                                                              Page 8
             Miragni - direct/ Lifshitz           1651                          Miragni - cross/ McMahon            1653
 1 A Anthony Rousso.                                               1 Q You just mentioned a big Richie, who's big Richie?
 2 Q At the time of this conversation what, if anything, had       2 A That's what he goes by -- I'm sorry. Not big Richie, big
 3 you learned about Anthony Russo?                                3 Jerry. I'm sorry.
 4 A We heard Anthony Russo was cooperating.                       4 Q
 5 Q Directing your attention now to line 19 where Guerra          5        MR. LIFSHITZ: May I have one moment, Your Honor?
 6 says: That was a personal fucking -- what did you understand    6        THE COURT: Yes.
 7 the word "that" to refer to?                                    7        MR. LIFSHITZ: No further questions at this time.
 8 A The situation between he and Gene Lombardo.                   8        THE COURT: Did you say silly?
 9 Q Relating to the pizza places?                                 9        THE WITNESS: No. Philly.
10 A Yes.                                                         10        THE COURT: Philly. Thank you.
11 Q At the time of that incident involving Gene Lombardo,        11 CROSS-EXAMINATION
12 what was Anthony's Russo's position in the Colombo Family?     12 BY MR. McMAHON:
13 A He was an acting captain.                                    13 Q Mr. Miragni, January 20th, 2011 has been referred to as
14 Q And what was Frankie Notch, what was Frankie Notch's         14 Mafia take-down day; is that correct, sir?
15 position?                                                      15 A That's what they called it, yes.
16 A Frankie Notch was an associate.                              16 Q I believe that the FBI, the Attorney General, announced
17 Q Who, if anyone, was he around at that time?                  17 the arrest of 127 people that they claimed were in the Mafia?
18 A He was around me.                                            18 A Yes.
19 Q And directing your attention toward the bottom to line 24    19 Q And of those 127 there were 39 that the FBI and the
20 to 25 where it says: Unintelligible it's not on tape so, no,   20 prosecutors said were in the Colombo Family?
21 nothing ever hap-- you know.                                   21 A Yes, I believe that's correct.
22        What was your understanding of what the word "it"       22 Q And you were arrested that day?
23 referred to in that sentence?                                  23 A Yes, I was.
24 A I'm not sure.                                                24 Q And Anthony Russo was arrested that day?
25 Q "It's not on tape"?                                          25 A Yes he was.
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                                                         Page 9                                                          Page 11
              Miragni - cross/ McMahon                1654                     Miragni - cross/ McMahon                  1656
 1 Q Frank, Guerra was not arrested that day?                   1 little bit with the jury, you pled guilty to distributing or
 2 A No, he wasn't.                                             2 conspiring to distribute more than 100 kilos of marijuana; is
 3 Q Now, you have had a lengthy and some would say in the      3 that correct?
 4 crime world a distinguished career in comitting crimes?      4 A Yes.
 5 A That's correct. I guess you could say that, yes.           5 Q And what else -- what other drug activities have you been
 6 Q And I think you described starting at a very early age?    6 involved in?
 7 A Yes.                                                       7 A That's it that I recall.
 8 Q And amongst the crimes that you have committed are         8 Q That's it that you can recall?
 9 assaults?                                                    9 A Yes.
10 A Yes.                                                      10 Q Well, are you saying there was no other drug criminality
11 Q Extortion?                                                11 or you just don't remember any other drug criminality?
12 A Yes.                                                      12 A I don't think there was any other drug criminality.
13 Q Loansharking?                                             13 Q But you are not sure?
14 A Yes.                                                      14 A I'm sure but with conspiracies and so on and so forth
15 Q Drugs?                                                    15 point and conversations, I haven't engaged in any other drug
16 A Yes.                                                      16 conspiracies that I know of -- that I'm aware of.
17 Q Frauds?                                                   17 Q That you can remember?
18 A Yes.                                                      18 A Yes.
19 Q All right. And with regard to some of the assaults, I     19 Q So they caught you on the 100 kilo transaction, so you're
20 don't want to go into the details of all of them, you have  20 admitting to that, but as to other drug things that they don't
21 been known to put a baseball bat to somebody's head?        21 know about, you're not admitting to that; is that correct,
22 A Yes.                                                      22 sir?
23 Q And I assume that that was not one of those foam baseball 23 A I'm not admitting to it because I don't believe that I
24 bats that kids get at baseball games?                       24 did it.
25 A No, it wasn't.                                            25 Q And on the drugs -- the 100 kilos that was -- of
                MARSHA DIAMOND, CSR, RPR                                          MARSHA DIAMOND, CSR, RPR
                OFFICIAL COURT REPORTER                                           OFFICIAL COURT REPORTER
                                                        Page 10                                                          Page 12
             Miragni - cross/ McMahon              1655                          Miragni - cross/ McMahon                1657
 1 Q And I assume it wasn't a whipple ball?                        1 marijuana, that was to be imported from Canada?
 2 A No, it was not.                                               2 A Yes.
 3 Q Was it wood or aluminum?                                      3 Q With your contacts up there in Canada?
 4 A It was wood.                                                  4 A Yes.
 5 Q A Louisville Slugger, so to speak?                            5 Q And loansharking. How long have you been doing
 6 A I don't know the brand.                                       6 loansharking?
 7 Q You hit somebody on the side of the head with that            7 A Since 1996.
 8 baseball bat?                                                   8 Q Okay. Are you sure it wasn't earlier?
 9 A Yes.                                                          9 A It my have been.
10 Q And did their brains go flying out?                          10 Q And I think you also talked about frauds. You have in
11 A No.                                                          11 your lifetime, sir, committed a lot of frauds; is that
12 Q Did they get a message?                                      12 correct, sir?
13 A Yes.                                                         13 A Yes.
14       THE COURT: Did they?                                     14 Q And fraud means that you are lying, cheating and
15 Q Get a message that Reynold Miragni meant business?           15 deceiving people; is that correct, sir?
16 A Yes.                                                         16 A Yes.
17 Q How many times did you hit him with the baseball bat?        17 Q And you have been known to virtually lie every single day
18 A Once.                                                        18 of your life; is that correct?
19 Q Now, how many assaults would you say you committed in        19 A I wouldn't say every single day of my life.
20 your criminal career?                                          20 Q But close?
21 A I don't -- I couldn't put a number on them. I don't know.    21 A Well, when you say "close"?
22 Q Something like your conversation with the Tori Persico,      22 Q Well, you were even juggling a wife and a girlfriend at
23 more than ten and less than a thousand?                        23 the same time, weren't you?
24 A I'd say that.                                                24 A Yes.
25 Q And how about your drug dealing, let's talk about that a     25 Q So you were on supervised release and you're lying to the
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              Miragni - cross/ McMahon             1658                                  Miragni - cross/ McMahon             1660
 1 probation officer; is that correct, sir?                                 1 A Umm-humm.
 2 A When was I lying to the probation officer?                             2 Q McLaughlin?
 3 Q When you were on supervised release you were aware, I                  3 A Yes.
 4 assume, that you weren't supposed to go out and commit crimes?           4 Q Your very good friend Tommy McLaughlin?
 5 A Yes.                                                                   5 A My friend Tommy McLaughlin.
 6 Q And when you go in an report to the probation officer and              6 Q You spent a lot time with Tommy, didn't you?
 7 you have a discussion and he asks have you been good, have you           7 A He spent a lot of time with me. He came down to Florida
 8 been straight, have you not been committing crimes, I assumed            8 to see me.
 9 you said no, of course not, I have not been doing any crimes?            9 Q I guess you were friendly enough so that you spent time
10 A You are correct.                                                      10 together in New York and Florida; is that correct, sir?
11 Q And you lied each and every time you said that?                       11 A We were friendly, yes.
12 A Yes.                                                                  12 Q And is that how you treat your friends, you cheat them?
13 Q And you lied to your best -- one of your best friends                 13 A Well, if you recall I gave him back the 25,000.
14 when you cheated him out of $25,000?                                    14 Q After you got caught?
15 A That's correct. He wasn't one of my best friend but                   15 A After I got caught when?
16 that's correct.                                                         16 Q When did you give him back the 25,000?
17 Q Was he a friend?                                                      17 A Two days later.
18 A Yeah, he was a friend.                                                18 Q Why? Did you have a sudden change of heart?
19 Q One of the kind of friends you cheated out of $25,000?                19 A He says he needed the money back.
20 A Yes, he was the same friend that was recording me doing               20 Q So basically he borrowed the money back?
21 it.                                                                     21 A No, he didn't borrow the money back. He said he needed
22 Q But you didn't know it at the time?                                   22 the money back, I gave him back his 25,000.
23 A No. He didn't know that I was cheating him either.                    23 Q And in that interim two days, did you hear anything about
24 Q At the time you cheated him you thought he was a friend               24 him wearing a wire?
25 of yours?                                                               25 A No.
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                 OFFICIAL COURT REPORTER                                                   OFFICIAL COURT REPORTER
                                                               Page 14                                                            Page 16
              Miragni - cross/ McMahon                 1659                  Miragni - cross/ McMahon                 1661
 1 A Yes.                                                        1 Q Now, you also had some fraud going on with drivers
 2 Q You thought that you were cheating your friend out of       2 licenses?
 3 $25,000?                                                      3 A Yes.
 4 A Exactly.                                                    4 Q That was in Florida also?
 5 Q And you made up this whopping story about you had a         5 A Yes.
 6 connection in the governor of Florida's office and you could  6 Q And you were telling people -- or actually you could
 7 get a sentence reduction; is that correct, sir?               7 deliver phony drivers licenses; isn't that correct, sir?
 8 A I could get his nephew's sentence reduced, yes?             8 A I told people that they could obtain a phony driver's
 9 Q You told him the fee was 75,000 and you got a $25,000       9 license. The connection wasn't mine.
10 down payment?                                                10 Q But you knew where to steer them to?
11 A Yes. Actually I believe it was 80,000 and I got a          11 A Yes, I did.
12 $25,000 dollar down payment.                                 12 Q And for which you were duly compensated; is that correct,
13 Q Which you put in your pocket?                              13 sir?
14 A Yes.                                                       14 A Actually I didn't get any licenses for anybody.
15 Q Did you have a contact in the governor's office?           15 Q You didn't?
16 A No, I don't.                                               16 A No.
17 Q How many people did you sucker in on this kind of a scam? 17 Q You didn't get any money?
18 A Just one.                                                  18 A No.
19 Q Just the one?                                              19 Q But you admitted this quasi-criminality to the
20 A Yes.                                                       20 government?
21 Q Or just the one that you told the government about?        21 A Yes, I did because I obtained a phony license for myself.
22 A Just one.                                                  22 Q Oh, did you get that on the cuff?
23 Q Who is that?                                               23 A No. It cost me $800.
24 A That was Tom.                                              24 Q Oh. Did you tell the government who the connection was?
25 Q Your friend Tommy?                                         25 A The connection was arrested. It was part of my
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                                                        Page 17                                                            Page 19
              Miragni - cross/ McMahon               1662                      Miragni - cross/ McMahon              1664
 1 indictment in 2000.                                            1 with any law enforcement about providing assistance to them?
 2 Q Did you cooperate in 2000?                                   2 A Yes.
 3 A I didn't cooperate on the case.                              3 Q But not the last?
 4 Q Well, I didn't ask you that. Did you cooperate in 2000?      4 A No.
 5 A I helped. I cooperated to the point where they wanted me     5 Q Now, among the other frauds that you participated in or
 6 to inquire on police corruption. They were asking me if I      6 initiated were phony Walt Disney tickets?
 7 could find out if there was any corrupt police or agents in    7 A They weren't phony tickets, no.
 8 the South Florida area. I told them I'd look into it.          8 Q What were they?
 9 Q When you say "they" you mean law enforcement; is that        9 A They were purchased with phony credit cards.
10 correct?                                                      10 Q Real tickets but funny money?
11 A That's correct.                                             11 A Exactly.
12 Q So you have this sort of a long-standing odd relationship   12 Q So you were cheating on Walt Disney; is that correct,
13 with law enforcement, sometimes you're a rat, sometimes you're13 sir?
14 a criminal, sometimes you're both; is that correct, sir?      14 A Actually I was cheating the credit card company.
15        MR. LIFSHITZ: Objection.                               15 Q How much did you make on that scam?
16        THE COURT: Yes, Sustained.                             16 A About 100,000.
17 Q Sometimes you help them out, sometimes you break the law17 Q Now, I think you said that -- I think your testimony was
18 and sometimes you do both at the same time; is that correct,  18 that you have committed crimes -- and this was on your direct
19 sir?                                                          19 -- every week since 2006 until you were arrested January 2011;
20        MR. LIFSHITZ: Objection.                               20 is that correct, sir?
21        THE COURT: No, I'll say allow the witness to           21 A Yes.
22 answer.                                                       22 Q Are you aware, sir, that there are in the neighborhood of
23 A No, that's not the case.                                    23 250 to 300 weeks in that time period?
24 Q Were you committing crimes -- did you actually give them 24 A Yes, I am.
25 any information about police corruption?                      25 Q So just for that five or six year period, you committed
                MARSHA DIAMOND, CSR, RPR                                          MARSHA DIAMOND, CSR, RPR
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                                                        Page 18                                                            Page 20
              Miragni - cross/ McMahon               1663                      Miragni - cross/ McMahon                 1665
 1 A There was --                                                  1 anywhere from 250 to 300 crimes; is that correct, sir?
 2 Q Yes or no, sir?                                               2 A Yes.
 3 A No.                                                           3 Q And total number of crimes that you have pled guilty to
 4 Q And over what period of time did you ever discussions         4 is what?
 5 with the Florida law enforcement about that subject?            5 A I don't know offhand.
 6 A That was in 2000.                                             6 Q As you sit here now, you are awaiting sentence and you
 7 Q Over what period of time were you having conversations        7 don't know how many crimes you pled guilty to?
 8 with them about it?                                             8 A I believe it is eight. I don't know exactly how many.
 9 A Maybe three months.                                           9 Q It could be five?
10 Q Three months. And did you wear a wire?                       10 A It could be five, it could be ten, it could be six. I
11 A No.                                                          11 don't know exactly how many.
12 Q Did you do any meeting?                                      12 Q So your memory is not very good on the number of crimes
13 A No.                                                          13 that you pled guilty to, but it is good about other things; is
14 Q Did you have regular meetings with the law enforcement       14 that correct, sir?
15 people and be debriefed?                                       15 A I'm just unclear to how many crimes I've pled guilty to.
16 A No.                                                          16 Q They are contained in an information or indictment, are
17 Q How many times did you meet with them?                       17 they not?
18 A I met with them before I was released on bail, umm, once.    18 A Yes.
19 Q Was that part of the reason why you got out on bail?         19 Q You have seen those documents?
20 A No.                                                          20 A Yes.
21 Q Was it a coincidence that you met with them, offered to      21 Q You don't remember?
22 provide assistance and you got bail?                           22 A I don't remember how many crimes, no, I don't.
23 A I didn't meet and offer to provide anything. They came to    23 Q That doesn't counsel, that 250 to 300, that doesn't count
24 meet me and wanted to speak to me about it.                    24 the crimes you committed before 2006?
25 Q Is that the first time, sir, that you had ever talked        25 A Yes.
                 MARSHA DIAMOND, CSR, RPR                                          MARSHA DIAMOND, CSR, RPR
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              Miragni - cross/ McMahon              1666                        Miragni - cross/ McMahon              1668
 1 Q So we could be talking about anywhere from 1500 to 2,000 1             THE COURT: Yes.
 2 crimes that Reynold Miragni has himself committed in his        2 Q Now, have you been asked to file tax returns or amend the
 3 criminal career; is that correct, sir?                          3 tax returns reflecting your income from criminal conduct?
 4 A I believe it's the crime; it's just an ongoing                4 A No.
 5 conspiracy.                                                     5 Q And you certainly don't intend to file any amended tax
 6 Q Well, each time that you make a collection on a               6 returns, do you?
 7 loanshark, threatening to beat his head in with a baseball      7 A I'm not sure what I'm going to have to do or what I'm
 8 bat, each one of those is a crime, are you aware of that, sir?  8 going to have to provide.
 9 A Yes, I am.                                                    9 Q And because you think being the cooperating witness gives
10 Q So I'll go back to my question. Maybe 1500 to 2000           10 you, like,immunity, you don't have to pay any taxes; is that
11 crimes in your career would be a fair estimate; is that        11 true, sir?
12 correct, sir?                                                  12 A That is not true.
13 A That's correct.                                              13 Q Isn't that what you just said, you are not sure what you
14 Q How much money would you say that Reynold Miragni has 14 have to do?
15 made over the course of committing 1500 to 2000 crimes?        15 A I'm not sure how I have to proceed. I will consult my
16 A I have no idea.                                              16 attorney and he will tell me how to proceed.
17 Q Would ten million dollars be a nice number, a rough          17 Q As between February when you signed the agreement and
18 estimate?                                                      18 June 25th no such consultations have taken place?
19 A I think it would be a little too rough.                      19 A That's correct.
20 Q A little too high perhaps or too low?                        20 Q And the government has not been after you to file amended
21 A I think it would be too high.                                21 tax returns?
22 Q And I think that your agreement with the government says 22 A I have not heard anything from my attorney yet, no.
23 that you are supposed to give them 500,000?                    23 Q But you have been meeting with the prosecutors and
24 A Yes.                                                         24 agents, have you not?
25 Q And how much have you given them so far?                     25 A Yes.
                 MARSHA DIAMOND, CSR, RPR                                         MARSHA DIAMOND, CSR, RPR
                 OFFICIAL COURT REPORTER                                          OFFICIAL COURT REPORTER
                                                       Page 22                                                           Page 24
              Miragni - cross/ McMahon             1667                       Miragni - cross/ McMahon                1669
 1 A Nothing.                                                     1 Q And have any of them in those many, many meetings asked
 2 Q When did you make this agreement?                            2 you about amended tax returns?
 3 A I made the agreement in February.                            3 A No.
 4 Q This year?                                                   4 Q I think, if I am not mistaken, you said that you started
 5 A Yes.                                                         5 loansharking in the 1970s with Allie Persico; is that correct,
 6 Q And you've been negotiating the terms of that agreement      6 sir?
 7 for some time, have you not, sir?                              7 A Yes.
 8 A Yes.                                                         8 Q So it's not the 90s, it's not the 80s. You've been
 9 Q So you have not given them any dollars of the 500,000        9 loansharking since the 70s; is that correct, sir?
10 that you promised to pay that's like an I owe you, sir?       10 A Well, I loan-sharked for one year in the 70s.
11 A Yes.                                                        11 Q And what's the most amount of money, sir, that you ever
12 Q Did you make any commitment to pay restitution to the       12 had out on the street at one time?
13 people that you've injured in your crimes?                    13 A About 150,000.
14 A No.                                                         14 Q Now, about 150,000 at three points, that means that you
15 Q The guy with the baseball bat?                              15 would get $4,500 per week just in the vig; is that correct?
16 A No.                                                         16 A Just --
17 Q No agreement to do that?                                    17       THE COURT: For what?
18 A No.                                                         18       MR. McMAHON: Vig.
19 Q So did the government tell you they are just interested     19 Q You know what the vig is?
20 in getting money for themselves and not the victims?          20 A You're talking to me?
21        MR. LIFSHITZ: Objection, Your Honor.                   21 Q Yes.
22        THE COURT: Yes. Sustained. Judges determine            22 A Yes, I know what vig is.
23 restitution.                                                  23 Q What is the vig?
24        MR. McMAHON: Judges determine who gets the             24 A The vig is the interest.
25 restitution?                                                  25 Q Okay. So on $150,000 out on the street, you are getting
                MARSHA DIAMOND, CSR, RPR                                         MARSHA DIAMOND, CSR, RPR
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              Miragni - cross/ McMahon                1670                     Miragni - cross/ McMahon               1672
 1 4,500 interest which does not, of course, reduce the debt?     1 Q Now, there came a point in time in connection with your
 2 A That's correct.                                              2 January 2011 arrest that you decided to cooperate; is that
 3 Q And if we talk about the 4,500, and my math is not great,    3 correct, sir?
 4 so 52 weeks a year, so we are talking like 250 to 300,000 a    4 A Yes.
 5 year just on the loanshark money; is that correct, sir?        5 Q By the way, let me go back.
 6 A That's correct. If it is 150,000 that is out there           6        You got arrested in 2005 in Florida also; is that
 7 constantly, yes, that would be correct.                        7 right?
 8 Q And then you if you times that times the 20 or so years      8 A No.
 9 that you have been loansharking, or maybe even 30, you can     9 Q 2000, rather, correct?
10 easily see how you could have accumulated ten million dollars 10 A 2000, yes.
11 just in loanshark money?                                      11 Q And this -- your first arrest was '95 was it?
12 A Yes, if there was $150,000 out constantly at one time,      12 A My first arrest was in '85.
13 yes.                                                          13 Q Eighty-five.
14 Q By your testimony, I am going by your testimony. So,        14        So on the '85 arrest you got a sentence of five
15 sir, so that would be ten million dollars that you might have 15 years which you did a third; is that right, sir?
16 stashed away in a safe deposit box or multiple safe deposit   16 A That's correct.
17 boxes; is that correct, sir?                                  17 Q In 2000 you get arrested again for racketeering?
18 A That wouldn't be correct, no.                               18 A Yes.
19 Q You don't have a safety deposit box?                        19 Q And did you cooperate in connection with that arrest,
20 A No, I don't.                                                20 sir?
21 Q Did anyone from the government ask you if you have a safe 21 A No, I didn't.
22 deposit box?                                                  22 Q Would you tell the jury how it was that you got a
23 A Yes.                                                        23 sentence of two years on that arrest?
24 Q They asked you?                                             24        MR. LIFSHITZ: Objection.
25 A Yes.                                                        25        THE COURT: Mr. McMahon, he was sentenced by a
                 MARSHA DIAMOND, CSR, RPR                                         MARSHA DIAMOND, CSR, RPR
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             Miragni - cross/ McMahon              1671                     Miragni - cross/ McMahon             1673
 1 Q And you said no?                                          1 judge. Objection is sustained.
 2 A I said no.                                                2 Q But you didn't cooperate?
 3 Q And they believed you?                                    3 A No.
 4 A I guess they did, or they didn't. I don't know.           4 Q So you get arrested in January 20th, 2011; is that
 5 Q Did they -- did they go to your bank?                     5 correct, sir?
 6       MR. LIFSHITZ: Objection, Your Honor.                  6 A Yes.
 7 Q If he knows?                                              7 Q And when did you decide that you were going to cooperate?
 8       THE COURT: Sustained.                                 8 A In March.
 9 Q Did you tell them where you bank?                         9 Q Of 2011?
10 A They know where I bank.                                  10 A Yes.
11 Q That wasn't the question I asked.                        11 Q So you did not make a decision to cooperate from
12       Did you tell them where you bank?                    12 January 20th until March; is that correct, sir?
13 A Yes, I did.                                              13 A Yes.
14 Q Had they executed search warrants on any of your banks or14 Q Would you tell the jury why it is that you agreed to meet
15 bank accounts in connection with your crimes?              15 privately with the agents and prosecutors on February 1st and
16       MR. LIFSHITZ: Objection.                             16 were debriefed by them?
17       THE COURT: Sustained.                                17        MR. LIFSHITZ: Objection. We would ask for a
18 Q Did the federal government seize any money from your bank18 side-bar.
19 accounts?                                                  19        THE COURT: Yes.
20       MR. LIFSHITZ: Objection.                             20        (Continued on next page)
21       THE COURT: You can answer that so Mr. McMahon can 21
22 move on.                                                   22
23 A No.                                                      23
24 Q They didn't seize any money?                             24
25 A No.                                                      25
               MARSHA DIAMOND, CSR, RPR                                        MARSHA DIAMOND, CSR, RPR
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                                                                                        Miragni - cross/ McMahon           1676
                                                                            1 Q Yes.
                                                                            2 A I sat down and I discussed with the government -- I
                                                                            3 believe we proffered and we went over what would be expected
                                                                            4 of me, and what I will expect in return.
                                                                            5 Q Okay. Now, I think the jury has heard about these proffer
                                                                            6 sessions, but why don't you tell them again what is a proffer
                                                                            7 session.
                                                                            8 A A proffer session is basically a debriefing.
                                                                            9 Q Is it correct, sir, that's a preliminary step to get a
                                                                           10 cooperation agreement?
                                                                           11 A It's one of the long step, yes.
                                                                           12 Q Government wants to know what you have to offer and then
                                                                           13 you tell them what you have to offer at these proffer
                                                                           14 sessions; is that correct, sir?
                                                                           15 A Yes.
                                                                           16 Q And the same agents that were at the proffer sessions on
                                                                           17 February 1st had been agents that you had previously had
                                                                           18 private conversations with before; is that correct, sir?
                                                                           19 A Yes.
                                                                           20 Q Now, you were at this time trying to get bail on your
                                                                           21 arrest from January 20th; is that correct, sir?
                                                                           22 A Yes.
                                                                           23 Q So this first meeting, this first proffer session, is
                                                                           24 nine days after your arrest, sir?
                                                                           25        Actually, my math is terrible.
                 MARSHA DIAMOND, CSR, RPR                                                  MARSHA DIAMOND, CSR, RPR
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              Miragni - cross/ McMahon               1675                                 Miragni - cross/ McMahon               1677
 1        (The following took place in open court).                         1        It's eleven or 12 days after, you're arrested on
 2 BY MR. McMAHON:                                                          2 January 20th, and this is February 1, just about 11 or
 3 Q Please tell the jury how it is that you ended up having a              3 12 days?
 4 debriefing session with the agents on February 1st, 2011?                4 A I'm not sure. I'm not sure at all.
 5 A I believe it was a meeting with the agents to see how I                5 Q But you had a bail hearing on February 4th, did you not?
 6 was going to proceed.                                                    6 A Yes, I did.
 7 Q Okay. And this was what you would call a private                       7 Q So you figured if you're going to get out on bail you're
 8 meeting?                                                                 8 not going to cooperate; is that correct, sir?
 9 A Yes.                                                                   9 A I don't recall having a proffer session February 1st.
10 Q And a private meeting on February 1st to meet with the                10 Q Well, you called it a proffer. You called it just a few
11 agents to see how you were going to proceed means that Reynold          11 minutes ago.
12 certainly had in his mind cooperating; is that correct?                 12 A I don't even remember meeting with the agents
13 A It was an option, yes.                                                13 February 1st or meeting with the government on February 1st.
14 Q It was an option on February 1st, 2011 -- not the first               14 Q Are you now taking back your testimony --
15 time it occurred was not March but actually February; is that           15 A I am trying to think. I know I had a bail hearing on the
16 correct, sir?                                                           16 4th. I was granted bail.
17 A That's correct.                                                       17 Q Right. Then it was taken away?
18 Q So you misspoke a few moments ago?                                    18 A Well, it was appealed. It was taken away at a later
19 A Yes, I miscalculated. I'm sorry.                                      19 date.
20 Q And you also miscalculated on your direct testimony; is               20 Q And when was it taken away?
21 that correct?                                                           21 A It was taken away when I went in front of Judge
22 A I don't recall.                                                       22 Matsumoto.
23 Q Now, so you had the meeting on February 1st and then you              23 Q And that was on March 4th?
24 had -- how did that meeting go, sir?                                    24 A I believe so.
25 A How did it go?                                                        25 Q So I want to just go back for a moment. We just had five
                 MARSHA DIAMOND, CSR, RPR                                                    MARSHA DIAMOND, CSR, RPR
                 OFFICIAL COURT REPORTER                                                     OFFICIAL COURT REPORTER

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             Miragni - cross/ McMahon               1678                     Miragni - cross/ McMahon             1680
 1 minutes of questioning about your session on February 1. You 1 you bail?
 2 described it as a proffer. You described the agents that you  2 A Yes, I do.
 3 had previously spoken to. Now, you're saying that you don't   3 Q And do you remember that approximately three weeks later
 4 remember such a session occurred on February 1.               4 the government writes a letter to Judge Matsumoto asking her
 5 A That is correct, sir. I don't remember, it no.              5 to release you on bail; is that correct, sir?
 6       MR. McMAHON: Can I have 3500-RM-26.                     6 A I don't know when they wrote the letter.
 7       May I approach the witness, Your Honor?                 7 Q Was it about three weeks later?
 8       THE COURT: Yes, you may. What's the --                  8 A I'm not sure when they wrote the letter.
 9       MR. McMAHON: 3500-RN-26 eight pages.                    9        MR. McMAHON: May I approach the witness,
10       THE COURT: Thank you.                                  10 Your Honor?
11 Q Take a look through those notes there and see if that      11        THE COURT: Yes, you may.
12 refreshes your recollection, both as to the date of that     12        MR. McMAHON: Handing him Government
13 meeting and as to the contents of your decisions with the    13 Exhibit 3500-RM-4B.
14 agents that day (handing to the witness).                    14 Q Take a look at that document, sir, see if that refreshes
15       Does that refresh your recollection, sir?              15 your recollection.
16 A No, it doesn't.                                            16 A Yes.
17 Q So as you sit here today you don't remember meeting with 17 Q And that was on March 25th, I believe?
18 the agents on February 1st, 2011?                            18 A That's when it's dated, yes.
19 A No I don't (perusing).                                     19        MR. McMAHON: Judge, I would offer that in evidence.
20 Q Do you recognize the handwriting on those notes?           20        MR. LIFSHITZ: L.
21 A No, I don't (perusing).                                    21        THE COURT: L?
22 Q Do you know whether or not the government refers to you 22           MR. McMAHON: L.
23 as RM?                                                       23        THE COURT: 3500-RM-4B.
24 A I'm sure they do.                                          24        MR. LIFSHITZ: No. We will object. We don't see
25 Q Do you remember meeting with the government before your25 where under the rule it is admissible.
                MARSHA DIAMOND, CSR, RPR                                        MARSHA DIAMOND, CSR, RPR
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              Miragni - cross/ McMahon              1679                                Miragni - cross/ McMahon                1681
 1 bail hearing on February 4th?                                           1        THE COURT: Yes. Sustained.
 2 A No.                                                                   2 Q By March 25th, sir, you had come to an agreement, a
 3 Q So you don't remember being taken out of MDC for a                    3 temporary or tentative agreement with the government that you
 4 private meeting?                                                        4 were going to be a cooperator; is that correct, sir?
 5 A I remember being taken out of the MDC for a private                   5 A Yes.
 6 meeting, I just don't know what date it was.                            6 Q And you understood that the government assured Judge
 7 Q So on March 4th -- take that back.                                    7 Matsumoto that you will be closely monitored if you were
 8        On February 4th the Magistrate Judge says you should             8 released on bail; is that correct, sir?
 9 get bail, and the government appeals; is that correct, sir?             9 A Yes.
10 A Yes.                                                                 10 Q And even with the government's assurances the Judge
11 Q And on March 4th the District Court, Judge Matsumoto,                11 denied the request and wanted even more assurances; is that
12 comes down with a decision and says no bail for Mr. Miragni;           12 correct, sir?
13 is that correct, sir?                                                  13 A Yes.
14 A Yes.                                                                 14 Q And as a result of that, the government had to submit a
15 Q And as a result of Judge Matsumoto's decision did you                15 follow-up letter and that would be four days later, actually
16 intensify efforts to cooperate, sir?                                   16 on April 1st they resubmitted a bail request; is that correct,
17 A I didn't intensify because it was already in motion.                 17 sir?
18 Q Well, you weren't sure that you had this previous meeting            18 A I don't know.
19 on February 1st, how could it be in motion?                            19 Q But a few days later they resubmitted a bail request
20 A I believe I met with the government before the March --              20 citing and indicating additional restrictions on your activity
21 the March 4th date, but I'm not clear of the date at all. I            21 while you had been out on bail; is that correct?
22 don't remember February 1st meeting. I don't remember it.              22 A Yes.
23 Q You don't remember the day?                                          23 Q Because the, government when you were arrested in
24 A I don't remember the day I had the meeting, no.                      24 January, had argued you should be detained because you were a
25 Q So you remember being in court and Judge Matsumoto denies            25 danger to the community; is that correct, sir?
                 MARSHA DIAMOND, CSR, RPR                                                  MARSHA DIAMOND, CSR, RPR
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             Miragni - cross/ McMahon             1682                           Maragni - cross - McMahon            1684
 1 A Yes.                                                         1 EXAMINATION CONTINUES
 2 Q And Judge Matsumoto wanted to know why were they now 2 BY MR. McMAHON:
 3 saying you're not a danger to the community and they could put 3 Q And when you hid things it was about loanshark
 4 you back on the street.                                        4 collections, is that correct?
 5         MR. LIFSHITZ: Objection.                               5 A It was about my money, yes.
 6         THE COURT: Sustained.                                  6 Q Your money?
 7 Q So it took two tries before Judge Matsumoto agreed to        7 A Yes.
 8 release you on bail; is that correct?                          8 Q Your loanshark money?
 9 A Yes, twice, yes.                                             9 A Yes, my money.
10 Q And the government promised that you would be closely
                                                                 10 Q Your money.
11 monitored and supervised; is that correct, sir?
                                                                 11        And they didn't want you out there collecting your
12 A Yes.
                                                                 12 loanshark money, did they, privately?
13 Q And as it turns out, the very first thing or one of the
                                                                 13 A Well, they knew that there was money being collected.
14 first things you did was you went out and committed crimes
                                                                 14 Q Yes. But some money that was being collected was being
15 while on bail?
                                                                 15 turned in.
16 A Yes.
17 Q Numerous crimes?                                            16        That was under their supervision, is that correct?
18 A I committed crimes that were made aware to the FBI.         17 A    That's correct.
19 Q Long after the fact when you were committing the crimes     18 Q    But  what they didn't know was the private side dealings
20 you were hiding it from these people who were closely         19 that you  were  doing by like handing people notes so it didn't
21 supervising you, weren't you?                                 20 turn up  on the  recorder?
22 A I don't think so.                                           21 A    That's correct.
23 Q You don't think so?                                         22        That was the notes I was giving to my partner, yes.
24 A No.                                                         23 Q That would be your partner in the loanshark business?
25 Q Are you telling this jury that the FBI knew you were        24 A Yes.
                 MARSHA DIAMOND, CSR, RPR                        25 Q So you are wearing a wire for the FBI. You are meeting
                 OFFICIAL COURT REPORTER                                      GR OCR CM CRR CSR
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              Miragni - cross/ McMahon             1683                              Maragni - cross - McMahon           1685
 1 committing crimes when you were committing crimes on bail?        1 them in the morning. You are meeting them at night. You are
 2 A When I was out on bail I was talking to people and making       2 debriefing.
 3 recordings.                                                       3        And you are cheating the FBI by writing notes to
 4 Q Is that responsive to any question that I asked?                4 your loanshark partner, don't say this and this because I'm
 5 A Well, whatever crimes that I was committing the FBI were        5 wearing a wire, is that correct, sir?
 6 aware of.                                                         6 A He didn't know. He was unaware I was wearing a wire.
 7 Q Were they aware then when you were committing them?             7 Q But you wrote notes not to say this or not to say that,
 8 A I am sure.                                                      8 is that correct, sir?
 9        THE COURT: Crimes? What crimes are we talking              9 A That's correct.
10 about?
                                                                    10 Q You wrote notes so that the FBI agents who were closely
11        MR. McMAHON: We are talking about the loan shark
                                                                    11 supervising you wouldn't know what you were doing, is that
12 collections that he made privately without the agents knowing.
                                                                    12 correct, sir?
13 Q Remember testifying on direct Thursday that you hid
                                                                    13 A That's correct.
14 things from the FBI?
                                                                    14 Q Because if you had spoken it would have been on the
15 A Yes, I did.
                                                                    15 recorder, is that correct, sir?
16
17                                                                  16 A That's correct.
18                                                                  17 Q So you cheated the FBI, is that correct?
19                                                                  18 A I guess I did.
20                                                                  19 Q And you cheated the prosecutors that worked with the FBI,
21                                                                  20 that were supervising you, is that correct, sir?
22                                                                  21 A That's correct.
23                                                                  22 Q They still made a deal with you?
24                                                                  23 A They made an arrangement with me.
25                                                                  24 Q Now, in addition to leaving things off the recording by
                 MARSHA DIAMOND, CSR, RPR                           25 virtue of passing notes, you also at certain select times
                 OFFICIAL COURT REPORTER                                         GR OCR CM CRR CSR

06 25 2012 GUERRERA                                                                                                 Pages 37 - 40
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                                                            Page 41
                 Maragni - cross - McMahon           1686
 1 turned off the recorder or didn't wear the recorder, is that
 2 correct, sir?
 3 A There was times between appointments that I would turn
 4 the recorder off, yes.
 5 Q Did you ever deliberately turn the recorder off so that
 6 it wouldn't pick up certain things?
 7 A No.
 8        (Continued on next page.)
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                                                            Page 42                                                             Page 44
              Maragni - cross - McMahon              1687                              Maragni - cross - McMahon           1689
 1 Q   Now, this recording device, was in a watch?                     1       (In open court.)
 2      MS. ARGENTIERI: Objection.                                     2 EXAMINATION CONTINUES
 3      MR. LIFSHITZ objection.                                        3 BY MR. McMAHON:
 4      THE COURT: I'm sorry? Yes. Come up, please.                    4 Q Was the recording device easily removable?
 5      (Side bar.)                                                    5 A Yes.
 6                                                                     6 Q Now, I think you testified that after each recording that
                                                                       7 you would talk to the agents, either telephonically or in
                                                                       8 person, is that correct, sir?
                                                                       9 A Yes.
                                                                      10 Q You wore a wire or recording device from April of 2011 to
                                                                      11 December of 2011?
                                                                      12 A Correct.
                                                                      13 Q And when you were debriefed by the agents that you
                                                                      14 sometimes left out conversation with your partner, is that
                                                                      15 correct, sir?
                                                                      16 A Yes.
                                                                      17 Q And you also left out telling them about the notes to the
                                                                      18 partner, which you have described previously, is that correct,
                                                                      19 sir?
                                                                      20 A Yes.
                                                                      21 Q Now, the notes that you would pass to your partner -- by
                                                                      22 the way, who was your partner?
                                                                      23 A My partner Dennis.
                                                                      24 Q Dennis Cinn --
                                                                      25 A Dennis Cinnante.
                                                                                   GR OCR CM CRR CSR

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                                                                   Page 45                                                           Page 47
               Maragni - cross - McMahon            1690                                      Maragni - cross - McMahon            1692
 1 Q Cinnante.                                                                1 them on May 17th about your obligations on the recording
 2       At least one of the notes to the partner was don't                   2 device?
 3 use names, is that correct, sir?                                           3 A I remember a conversation. I don't remember the date.
 4 A Yes.                                                                     4 Q Did they tell you that they thought that you were turning
 5 Q By the way, do you have copies of those notes?                           5 the recording device on and off?
 6 A No, I don't.                                                             6 A No.
 7 Q Did the government arrest Dennis?                                        7 Q You had previously discussed the ability by a cooperator
 8 A I don't know.                                                            8 to turn the recording device on and off, is that correct?
 9 Q Another note was, leave out your wife and brother?                       9 A Yes.
10 A Yes.                                                                    10 Q You and Tommy McLaughlin talked about that, is that
11 Q Because they were involved in your loanshark business                   11 correct?
12 also?                                                                     12 A No.
13 A No; but I didn't want him to implicate them in anything.                13 Q Or you talked about that in connection with Tommy
14 Q You mean, falsely implicate them?                                       14 McLaughlin, is that right, sir?
15 A I didn't want any conversation with their names in it.                  15 A I don't know what you're talking about. I didn't talk to
16 Q In connection with your loanshark business?                             16 Tommy McLaughlin about anything.
17 A In connection with anything.                                            17 Q Who did you talk to about the ability of cooperators to
18 Q Okay. And you also -- one of your notes was, don't                      18 turn the recording device on and off?
19 mention shylock money?                                                    19 A Who did I talk to? About cooperators ability to turn the
20 A Yes.                                                                    20 recording on and off? I don't believe I talked to anybody
21 Q I think that on direct examination you said that you                    21 about it.
22 wanted to protect your family and your money and that's why               22 Q You did not talk to anybody about Tommy McLaughlin's
23 you did that, is that correct, sir?                                       23 ability to turn that recording device on and off?
24 A That's correct.                                                         24         You never discussed that subject with anybody?
25 Q Even though you were actually lying to the government                   25 A I don't think I did.
            GR OCR CM CRR CSR                                                              GR OCR CM CRR CSR
                                                                   Page 46                                                           Page 48
                 Maragni - cross - McMahon              1691                                  Maragni - cross - McMahon            1693
 1 agents and prosecutors while you are doing it, you, Reynold                1 Q Okay. We will come back to that.
 2 Maragni, chose to protect your money and your family over your             2        Are you aware, sir, that -- did you have the ability
 3 obligations to the government, is that correct, sir?                       3 to turn it on and off?
 4 A    That's correct.                                                       4 A Yes.
 5 Q    And the jury should believe that you would forego those               5 Q And you had the ability to take it off and put it in the
 6 obligations to tell the truth for that same government, is                 6 trunk?
 7 that correct, sir?                                                         7 A Yes.
 8 A    I can't tell the jury what to believe or not to believe.              8 Q Which you did on numerous occasions?
 9 Q    True enough.                                                          9 A I put the recording device -- I took the recording device
10        Now, there came a point in time early on in your                   10 off and put it in the trunk when I didn't have any more
11 recording career here that there were some problems with the              11 appointments.
12 recordings, is that correct, sir?                                         12 Q I know. But I didn't ask you that question.
13 A    Yes.                                                                 13        The question I asked you, sir, was, did you on
14 Q    And basically, the government -- you handed over to the              14 numerous occasions take the recording device off your person
15 agent at the end of the day the recording device and there was            15 and put it in the trunk of your car?
16 nothing on it, is that correct, sir?                                      16 A Yes, I did.
17 A    There was a time, yes, there was an instant, yes.                    17 Q What kind of car were you driving, by the way?
18 Q    They checked that device and they said there was nothing             18 A A BMW.
19 wrong with the device. What are you doing, Reynold?                       19 Q What series?
20 A    They didn't say that.                                                20 A Three.
21 Q    Was it something like that?                                          21 Q Was that a government provided car?
22 A    No.                                                                  22 A No.
23 Q    It wasn't like that?                                                 23 Q It is your own car?
24 A    No.                                                                  24 A Yes.
25 Q    You don't remember having a couple of conversations with             25 Q Still have it?
               GR   OCR        CM   CRR      CSR                                           GR OCR CM CRR CSR

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               Maragni - cross - McMahon           1694                                      Maragni - cross - McMahon               1696
 1 A   No.                                                                    1 A    She put a signature on there. It wasn't her house, no.
 2 Q   Did you sell it?                                                       2 Q    Then she withdrew her signature?
 3 A   No.                                                                    3 A    Yes.
 4       It was a leased car.                                                 4 Q    Now, you have acknowledged, sir, that you lied to the
 5 Q   Okay. Do you own any cars?                                             5 agents and prosecutors and that you committed crimes while you
 6 A   No.                                                                    6 were on bail release.
 7 Q   Does your family own any cars?                                         7        Is it not true, sir, that nobody from the government
 8 A   Yes.                                                                   8 ever told Judge Matsumoto that you did that?
 9 Q   Your wife?                                                             9 A    I don't know. I wouldn't know that.
10 A   Yes.                                                                  10 Q    As we sit here today, in June 25th of 2012, you have not
11 Q   Or your girlfriend or both?                                           11 been brought before Judge Matsumoto to account for the fact
12 A   My wife has a car.                                                    12 that you committed crimes while on bail that she ordered, is
13 Q   Your wife Kelly?                                                      13 that correct, sir?
14 A   Yes.                                                                  14 A    I haven't been back in front of Judge Matsumoto, no.
15 Q   Kim put up bail for you when you were arrested?                       15 Q    Now, do you have a recollection, sir, on how many proffer
16 A   Yes.                                                                  16 sessions you have had?
17 Q   Now, I think the prosecutor asked you on direct                       17 A    No, I don't.
18 examination on Thursday about the cooperation agreement and I             18 Q    Do you have a recollection, sir, on how many times you
19 think he asked you whether or not lying to the government is a            19 have met with government agents?
20 breach of the agreement and you said yes.                                 20 A    No.
21       Is that correct, sir?                                               21        It's been many times. I don't know. I don't have a
22 A   Yes.                                                                  22 recollection of how many, no.
23 Q   You had previously lied to the government, is that right?             23 Q    Okay. Let me read some dates to you, sir, and see if
24 A   Correct.                                                              24 this refreshes your recollection on the dates of proffer
25 Q   So that was okay. But what did they say, do over, any                 25 sessions, which is to say, sessions where you actually signed
              GR    OCR     CM       CRR   CSR                                              GR      OCR   CM     CRR      CSR

                                                                   Page 50                                                                        Page 52
                 Maragni - cross - McMahon          1695                                     Maragni - cross - McMahon               1697
 1 new lies is a breach of the agreement?                                     1 a proffer agreement.
 2 A When I signed the cooperation agreement, it was in the                   2 A    Okay.
 3 agreement that I wouldn't lie to the government. That was in               3 Q    March 29, 2011, April 8, 2011, April 18, 2011,
 4 February of 2012.                                                          4 April 28, 2011, May 10, 2011, June 30, 2011,
 5 Q You knew that you weren't supposed to lie to them before                 5 September 6, 2011, September 13, 2011, November 2, 2011,
 6 that, didn't you know that?                                                6 November 21, 2011, December 2, 2011, January 11, 2012,
 7 A But I did.                                                               7 February 1, 2012.
 8 Q I know.                                                                  8        Does that refresh your recollection, sir, that you
 9         But you knew that you shouldn't have?                              9 actually had 13 proffer sessions at which you signed proffer
10 A Yes.                                                                    10 agreements with the government before you were able to get
11 Q The earlier lies to the government were okay and the new                11 them to give you a cooperation agreement?
12 lies after you signed the agreement that is supposed to have              12 A    I remember meeting with the government, yes, and signing.
13 some meaning for you?                                                     13 Q    And the proffer sessions were 13 in number.
14 A I don't know what new lies you are talking about.                       14        You don't dispute that number, do you, sir?
15 Q By the way, the monies that you were trying to collect                  15 A    No, I don't.
16 were monies that were owed to Kim?                                        16 Q    Those dates seem to correspond with your recollection, is
17 A Yes.                                                                    17 that correct, sir?
18         THE COURT: What was the last thing you said?                      18 A    Yes.
19         MR. McMAHON: Kim, monies that were owed to Kim.                   19 Q    All right. In addition to those -- all those proffer
20         THE COURT: All right.                                             20 sessions, do you remember meaning with the government
21 Q That's your girlfriend?                                                 21 on -- which is to say, agents, on the following dates:
22 A Yes.                                                                    22        April 22, 2011 -- these are dates other than proffer
23 Q She put up the house for you for bail?                                  23 sessions -- May 3, 2011, May 4, 2011, May 5, 2011,
24 A No.                                                                     24 May 11, 2011, May 13, 2011, May 15, 2011, May 17, 2011,
25 Q She wasn't the surety on your bail?                                     25 May 18, 2011, May 19, 2011, May 20, 2011, May 24, 2011,
             GR OCR CM CRR CSR                                                              GR      OCR   CM     CRR      CSR

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                  Maragni - cross - McMahon          1698                                      Maragni - cross - McMahon             1700
 1 May 26, 2011, May 30, 2011, May 31, 2011, June 2, 2011,                    1 A      Yes; but not each and every meeting was -- was an aim to
 2 June 3, 2011, June 8, 2011, June 9, 2011, June 14, 2011,                   2 gain a cooperation agreement.
 3 June 16, 2011, June 17, 2011, June 28, 2011, June 29, 2011,                3 Q      Well, you were out there being proactive on the street
 4 July 8, 2011, July 12, 2011, July 14, 2011, July 15, July 19,              4 means that you were gathering evidence to show what a good
 5 July 22, July 29.                                                          5 government agent you'd be, is that correct, sir?
 6        Do you remember all of those meetings, sir?                         6 A      I was out there gathering evidence as part of my
 7 A    Yes, I do.                                                            7 agreement.
 8        Those were meetings made with the agents after the                  8 Q      As part of what agreement?
 9 day of working proactively, making recordings. I was                       9 A      As part of the agreement I made with the government to
10 debriefed on those days.                                                  10 record various members of organized crime.
11 Q    So you had maybe, without boring the jury with continuing            11 Q      And that's what got you out on bail, is that correct,
12 to read dates, you had maybe 50 meetings with the government              12 sir?
13 agents before you were able to persuade them to give you a                13 A      That's correct.
14 cooperation agreement, is that correct, sir?                              14 Q      Now, do you remember that you had -- that you were
15 A    I don't know how many meetings there were.                           15 claiming a recorder malfunction on April 28th, sir?
16        MR. McMAHON: May I have this deemed marked                         16 A      I don't remember the date.
17 Defendant's Exhibit L for identification?                                 17          MR. McMAHON: May I approach the witness?
18        I have a sticker, Mr. Mari.                                        18          THE COURT: Yes.
19 Q    Just thumb through these dates, sir, and see if that                 19          MR. McMAHON: And show him 3500 RM 25 B, pages one
20 refreshes your recollection that the number of meetings is                20 through three.
21 close to 50.                                                              21 Q      Take a look at that document, particularly pages two and
22        MR. LIFSHITZ: Your Honor, objection, to refreshing.                22 three, and see if that refreshes your recollection about a
23 The witness answered previously.                                          23 recorder malfunction on April 28th.
24        THE COURT: The witness said I don't remember.                      24          (Pause.)
25        MR. LIFSHITZ: He answered yes to the list of dates                 25 A      Yes.
             GR      OCR    CM     CRR     CSR                                                GR    OCR    CM     CRR      CSR

                                                                   Page 54                                                                        Page 56
                 Maragni - cross - McMahon           1699                          Maragni - cross - McMahon         1701
 1 that were read.                                                1 Q Was that one of those days where you deliberately turned
 2        MR. McMAHON: I stopped reading. I was getting           2 it off or put it elsewhere?
 3 tired. He can look at the list rather than me saying it. He    3 A No.
 4 can sort of make --                                            4 Q All right. Do you remember a similar malfunction -- by
 5        THE COURT: What is your question?                       5 the way, did the agents check the recorder at the end of the
 6        MR. McMAHON: My question is, is it close to 50          6 day and find there was nothing wrong with it?
 7 meetings before he got his cooperation agreement. He could     7 A I don't know if they did or didn't.
 8 thumb through the list.                                        8 Q Take a look at the document. See if that refreshes your
 9        THE COURT: Yes. He said he didn't remember. So he 9 recollection, third page, sir.
10 certainly can refresh his recollection.                       10         MR. LIFSHITZ: Objection, as to personal knowledge.
11        (Pause.)                                               11         THE COURT: Yes.
12 A I am not sure. It looks to be correct. I am not sure,       12         MR. McMAHON: He was asked, Judge about --
13 though.                                                       13         THE COURT: No. He didn't say I don't remember. He
14 Q Now, during each and every one of these meetings, you       14 said, I don't know whether they did.
15 were trying your best to get a cooperation agreement, is that 15         MR. McMAHON: This is to refresh his recollection as
16 correct, sir?                                                 16 to whether the agents tested the machine in front of him and
17 A During each and every one of these meetings, I was          17 said there is nothing --
18 debriefed on the day's activity.                              18         THE COURT: You haven't asked that question.
19 Q All right. But I didn't ask you that question.              19         MR. McMAHON: That was prefatory to asking.
20        The question I asked you, during these 50 meetings     20         THE COURT: You have to ask the question before you
21 or so, were you trying to get a cooperation agreement?        21 can ask him to look for.
22 A No.                                                         22         MR. McMAHON: Very well.
23        I was -- the whole conclusion of the work, the work    23 Q Do you remember handing the agents the recorder?
24 of being proactive, would result in a cooperation agreement.  24 A Yes, I do.
25 Q And that was your goal?                                     25 Q It was working fine when they tested it?
             GR OCR CM CRR CSR                                                 GR OCR CM CRR CSR

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                Maragni - cross - McMahon               1702
 1 A    No, I don't remember that.
 2 Q    That you don't remember?
 3 A    No.
 4 Q    All right. Do you remember that -- and the agents didn't
 5 tell you, sir, that the recorder was working fine?
 6 A    No, I don't remember them saying that either. It says
 7 over here, inspection of the device is ongoing.
 8 Q    Okay. And then on May 13th, the same thing happened, is
 9 that correct, sir?
10 A    I am not sure of the date.
11        MR. McMAHON: 3500 RM 25-A, pages 60 through 61.
12        MS. ARGENTIERI: Judge, can we just have a side bar
13 about this topic, please?
14        THE COURT: Yes.
15        (Continued on next page.)
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              GR    OCR     CM       CRR   CSR

                                                                   Page 58
                Maragni - cross - McMahon               1703
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                                                                  Page 61                                                                         Page 63
                                                                                               Maragni - cross - McMahon             1708
                                                                             1 Exhibit for identification M.
                                                                             2          THE COURT: M?
                                                                             3          MR. McMAHON: Yes, Your Honor.
                                                                             4          THE COURT: All right.
                                                                             5          MR. McMAHON: For identification. This is a summary
                                                                             6 based on 3500 RM 51.
                                                                             7 Q      Take a look at the document, specifically, the
                                                                             8 highlighted portion, sir, and see if that refreshes your
                                                                             9 recollection about when you had the conversation with the
                                                                            10 agent about the recorder being on and off?
                                                                            11          (Pause.)
                                                                            12 A    Yes.
                                                                            13 Q      It was May 17th, sir?
                                                                            14 A    Yes, it was.
                                                                            15 Q      That was four days after the second supposed malfunction,
                                                                            16 is that correct, sir?
                                                                            17 A    Yes.
                                                                            18 Q      Now, you are telling this jury under oath, sir, that you
                                                                            19 weren't deliberately turning it off?
                                                                            20 A    That's correct.
                                                                            21 Q      You did not, however, get any cooperation agreement in
                                                                            22 May 2011, did you?
                                                                            23 A    No.
                                                                            24 Q      And in fact, three days later, on May 20, 2011, you were
                                                                            25 told, sir, that the government is not happy with you, is that
                                                                                           GR      OCR     CM    CRR      CSR

                                                                  Page 62                                                                         Page 64
                 Maragni - cross - McMahon            1707                                     Maragni - cross - McMahon             1709
 1          (In open court.)                                                 1 correct, sir?
 2          MR. McMAHON: May I approach the witness to get my                2 A    I don't recall that.
 3 document?                                                                 3          MR. McMAHON: May I approach and show the witness a
 4          THE COURT: Yes.                                                  4 document, which would be marked as Defendant's Exhibit N for
 5 EXAMINATION CONTINUES                                                     5 identification?
 6 BY MR. McMAHON:                                                           6          THE COURT: Yes.
 7 Q    Have you reviewed the document, sir?                                 7          MR. McMAHON: Based on 3500 RM 55.
 8 A   Yes.                                                                  8          Approaching the witness, Your Honor, and handing him
 9 Q    Do you recall there was a second malfunction on May 13th?            9 a one-page document, 35 -- Defendant's Exhibit N for
10 A   Yes.                                                                 10 identification.
11 Q    Did the agents test the device in front of you and tell             11 Q      Does that refresh your recollection, sir, about the
12 you there was no malfunction?                                            12 question I just asked you?
13 A   I don't recall.                                                      13          (Pause.)
14 Q    Do you remember specifically having a telephone                     14 A    I remember having this conversation with my attorney,
15 conversation that day, rather, four days later, on May 17th,             15 yes.
16 with an agent, about the recorder when it should be on and               16 Q      That the government was unhappy with you?
17 should be off?                                                           17 A    That's what he said they said.
18          Do you remember having a conversation four days                 18 Q      Right.
19 later?                                                                   19          At this point they didn't even know about the notes,
20 A   I remember a conversation. I don't remember if it was                20 is that correct, sir?
21 four days later.                                                         21 A    They didn't know about the notes at that point, no, sir.
22          MR. McMAHON: May I approach and show this document              22 Q      They didn't know that, for sure, that you were
23 to the witness?                                                          23 deliberately turning it on and off, the recorder?
24          THE COURT: What document is that?                               24          They suspected that, is that correct, sir?
25          MR. McMAHON: We will mark this as Defendant's                   25          MR. LIFSHITZ: Objection as to knowledge, what the
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                                                        Page 65                                                           Page 67
                 Maragni - cross - McMahon          1710                        Maragni - cross - McMahon            1712
 1 government knew.                                              1 was the maximum.
 2 Q When you had that conversation with --                      2 Q Seventy-eight to 97?
 3         THE COURT: Just a moment. I haven't ruled yet.        3 A Yes.
 4         Could you read that question back to me, please.      4 Q But the crime that you were pleading guilty to carried a
 5         (Record read.)                                        5 statutory maximum of 20 years?
 6         THE COURT: Well, if you are asking if that's what     6 A Yes.
 7 somebody told him, I will allow it.                           7 Q But the guidelines were 78 to 97?
 8         MR. McMAHON: Or if he believed that to be the case.   8 A Yes.
 9         MR. LIFSHITZ: Also, misstates the testimony to the    9 Q As of August -- do you remember the date of that plea
10 extent that asks about deliberately turning something on and 10 agreement?
11 off.                                                         11 A I believe it was August 4th.
12         MR. McMAHON: The question is, did he believe, the    12 Q If I told you August 1st, would that refresh your
13 witness, that the government agents suspected he was turning 13 recollection?
14 it off.                                                      14 A It could be.
15         THE COURT: I will allow him to answer that           15 Q All right. You pled guilty before Judge Matsumoto, is
16 question.                                                    16 that correct, sir?
17 A I don't believe so.                                        17 A Yes.
18 Q Oh, so when your attorney tells you the government is      18 Q That was in an open courtroom?
19 unhappy with you, it was related to what, your diet?         19 A Yes.
20 A I don't know what they were unhappy with.                  20 Q No cooperation mentioned?
21 Q Just a few days before this conversation, you had the      21 A No.
22 May 13th second malfunction, is that correct, sir?           22 Q And the fact that you had been doing all this work from
23 A Yes.                                                       23 April to August did, of course, not come up in the courtroom,
24 Q And then you had the April 18th malfunction, is that       24 is that correct?
25 correct, sir?                                                25 A Correct.
             GR OCR CM CRR CSR                                               GR OCR CM CRR CSR
                                                        Page 66                                                           Page 68
               Maragni - cross - McMahon             1711                         Maragni - cross - McMahon          1713
 1 A That's correct.                                              1 Q All the work that you had done from April to August did
 2 Q And then you have a conversation with an agent about the 2 not result in you getting a cooperation agreement, is that
 3 recorder, when it should be on and off, is that correct, sir?  3 correct, sir?
 4 A Yes.                                                         4 A Correct.
 5 Q And then a few days later your attorney says the             5 Q Now, at a certain point in time, this -- your partner in
 6 government is unhappy with you, is that correct, sir?          6 loansharking, Dennis Cinnante, gave you $48,500, is that
 7 A That's what the conversation --                              7 correct, sir?
 8 Q You didn't know what it was about?                           8 A Yes.
 9 A I didn't know what it was about.                             9 Q What was that for?
10       MR. McMAHON: Your Honor, would this be the time for 10 A That was principal return.
11 a mid-morning recess?                                         11 Q So one of your loanshark debtors returned the principal?
12       THE COURT: No.                                          12 A One or more.
13       MR. McMAHON: Very well.                                 13 Q One or more.
14       THE COURT: 11:30.                                       14         And you were getting your money off the street?
15 Q Now, instead of getting a cooperation agreement, you got 15 A I wanted to get my money off the street, yes.
16 a plea agreement, is that correct, sir?                       16 Q You knew at some point in time you -- hopefully, you were
17 A Yes.                                                        17 going to have a cooperation agreement, you'd be in jail for a
18 Q And that was a straight plea agreement?                     18 little while and you wanted to get your money off the street,
19 A Yes, it was.                                                19 is that correct, sir?
20 Q No cooperation, no 5K letter, no nothing, is that right,    20 A That's correct.
21 sir?                                                          21 Q Because you knew that when it became clear you were a
22 A Correct.                                                    22 cooperating witness, there is nobody out there going to be
23 Q And you pled guilty to a crime that carried a maximum       23 paying Reynold Maragni any loanshark money, is that correct,
24 term of imprisonment of 20 years, is that correct, sir?       24 sir?
25 A I believe per the agreement, the guidelines of 97 months    25 A I am not sure about that.
            GR OCR CM CRR CSR                                                  GR OCR CM CRR CSR

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                                                                    Page 69                                                                        Page 71
                   Maragni - cross - McMahon          1714                                       Maragni - cross - McMahon            1716
 1 Q    You would what, go hit them with a baseball bat?                       1 48,500.
 2 A    No.                                                                    2 Q    That's all you got off the street?
 3        I didn't hit anybody with a baseball bat over a                      3 A    That's what I got off.
 4 loanshark money.                                                            4 Q    So there is one hundred out there?
 5 Q    That was a straight out assault because you didn't like                5 A    I don't know what's out there.
 6 the guy?                                                                    6 Q    And between August 1st when you took a plea, what was the
 7 A    That was an assault because he robbed somebody's house                 7 next time that you know that you went to court?
 8 that was close to me.                                                       8 A    I believe the next time I went to court was in February
 9 Q    Okay. So you were sort of the Sheriff of Nottingham?                   9 2012.
10 A    No. I sort of retrieved what he stole and I got it back.              10 Q    Well, was there a modification of your bail in December
11 Q    Okay. You wanted to get your money off the street, is                 11 of 2011?
12 that correct, sir?                                                         12         Didn't the government go to Judge Matsumoto and say
13 A    That's correct.                                                       13 that they wanted to relocate you in December of 2011?
14 Q    The 48,500 vig that you are collecting every week, you                14 A    Yes, but I don't -- I don't believe I was in court.
15 felt would dry up. Did you think that would dry up?                        15 Q    But you are aware that the government wrote to the judge
16 A    Sure.                                                                 16 and asked to relocate you?
17 Q    If you could get a little nest egg before you go into the             17 A    I know I was being relocated. I don't know the
18 Wit Sec that wouldn't be too bad, would it?                                18 procedures that they did.
19 A    I wanted to get my money off the street because I wanted              19 Q    So you are -- if -- how much in contact with your lawyer
20 my money.                                                                  20 were you?
21 Q    Yes. It is your money even though it is criminal                      21 A    I was in contact with my lawyer constantly.
22 proceeds. You viewed it as hey, it's my money, is that                     22 Q    So if the government was sending letters to the Court
23 correct, sir?                                                              23 with copies to him, he would tell you what's going on, is that
24 A    For whatever the reason, it was my money.                             24 correct, sir?
25 Q    It was your money. The government takes a view that                   25 A    Not all the time, no.
              GR      OCR    CM    CRR      CSR                                             GR      OCR       CM   CRR     CSR

                                                                    Page 70                                                                        Page 72
                Maragni - cross - McMahon           1715                                         Maragni - cross - McMahon            1717
 1 that's proceeds of crime, is that correct?                                  1 Q    So did your lawyer deliberately keep you out of the loop
 2         THE COURT: Mr. McMahon --                                           2 or no?
 3         MR. McMAHON: I am just curious as to why he thinks                  3         MR. LIFSHITZ: Objection, Your Honor.
 4 it is his money.                                                            4         THE COURT: Sustained.
 5         THE COURT: No. You are talking about the                            5         MR. McMAHON: May I approach the witness and show
 6 government takes the view. Ask your questions without --                    6 him 3500 RM 4 K, to see whether or not it refreshes his
 7         MR. McMAHON: Referring to the government?                           7 recollection about his lawyer discussing it with him?
 8         THE COURT: Or anyone, what anyone else thinks.                      8         THE COURT: Yes.
 9         MR. McMAHON: Okay.                                                  9         MS. ARGENTIERI: Judge, he didn't say he didn't
10 Q Now, you gave the government the 48,000.                                 10 recall. The Court just sustained the objection to the
11         How much did Dennis really give you?                               11 question as to what this would refresh his recollection to.
12 A He gave me $48,500.                                                      12         MR. McMAHON: Judge --
13 Q He didn't give you one hundred forty-eight, which would                  13         THE COURT: Come up.
14 be the principal you had out on the street?                                14         (Side bar.)
15 A No, he didn't.                                                           15
16 Q You didn't give them forty-eight and put one hundred in
17 your pocket?
18 A No, I didn't.
19 Q Do you still have one hundred on the street?
20 A I am not sure what's on the street. I have no control
21 over anything. I don't know what's going on.
22 Q I didn't ask you what you have control over.
23         Do you have one hundred on the street or did you
24 take all your money off the street?
25 A I didn't take all my money off the street. I got back
              GR OCR CM CRR CSR

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                                                           GR     OCR     CM    CRR     CSR
                                                                                                        Page 76
                                                                Maragni - cross - McMahon            1721
                                                 1 EXAMINATION CONTINUES
                                                 2 BY MR. McMAHON:
                                                 3 Q Mr. Maragni, you testified on Thursday about your
                                                 4 military service, is that correct, sir?
                                                 5 A Yes.
                                                 6 Q And you said that you enlisted, is that correct?
                                                 7 A I boosted my draft, yes.
                                                 8        THE COURT: You did what?
                                                 9        THE WITNESS: I boosted up my draft. I went three
                                                10 months earlier.
                                                11        THE COURT: All right.
                                                12        THE WITNESS: Than I was scheduled.
                                                13 Q There is -- well, did you enlist, which would require a
                                                14 three or four-year commitment, or did you accelerate the
                                                15 draft, which required a two-year commitment?
                                                16 A I accelerated the draft. It is called boosting the
                                                17 draft.
                                                18        (Continued on next page.)
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                                                             GR OCR CM CRR CSR

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                                                         Page 77                                                         Page 79
                                       1722                                                              1724
 1 BY MR. McMAHON: (Continued)                                      1 Q Okay. Why was your tour different from all the other
 2 Q Okay. So, you only had a two-year commitment; is that          2 thousands of draftees?
 3 correct?                                                         3 A It wasn't.
 4 A That's correct.                                                4 Q Oh, I see. So, you did nine-and-a-half months when you
 5 Q And you went in, in November of 1970?                          5 went for a week R & R and never went back?
 6 A Yes.                                                           6 A That's correct. It was 14-day R & R.
 7 Q And you went through basic and AIT?                            7 Q Oh, you got a two-week R & R?
 8 A Yes.                                                           8 A Yes.
 9 Q Where did you do that?                                         9 Q But it wasn't a two-and-a-half-month R & R; was it?
10 A Fort Dix basic and Fort Gordon Georgia.                       10 A No.
11 Q Okay. And then you went to 'Nam?                              11 Q You didn't commit any crimes over there; did you?
12 A Yes.                                                          12 A No, I didn't.
13 Q What was your MOS?                                            13 Q You didn't get kicked out of country?
14 A I was, I went to MP school and when I went to Vietnam I       14 A No, I didn't.
15 was attached to a liaison unit on Hai Van Pass.                 15 Q What was your rank when you left there, sir?
16        THE COURT: On what.                                      16 A I was a PFC.
17        THE WITNESS: In a place called Hai Van Pass. I           17 Q Okay. Now, they didn't do R & R in the United States;
18 lived on the top of a mountain with four other Americans and    18 did they?
19 we were the only GIs between Da Nang and Phu Bai.               19 A Yes, they did.
20        THE COURT: All right, thank you.                         20 Q Are you sure?
21 Q You know where Quang Tri is?                                  21 A Yes, I am.
22 A Yes, I do.                                                    22 Q And did you come to the brig when you came back to the
23 Q How is it that you happened to get an MP MOS?                 23 United States?
24 A That's what they gave me.                                     24 A Pardon me?
25 Q Now, the tour of duty in Vietnam at that time was             25 Q Did you go to the brig?
                  MARSHA DIAMOND, CSR                                              MARSHA DIAMOND, CSR
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                                                         Page 78                                                         Page 80
                                       1723                                                             1725
 1 365 days; is that correct, sir?                                  1 A What break?
 2 A Twelve months, yes.                                            2 Q Brig. Jail. Army jail.
 3 Q And you told the jury you did nine-and-a-half months?          3 A No.
 4 A Approximately, yes.                                            4 Q All right, you went AWOL?
 5 Q What did you do to have them short-circuit your tour of        5 A Yes.
 6 duty?                                                            6 Q Twice?
 7 A They didn't short-circuit. I came back on an R & R.            7 A Yes.
 8 Q Mr. Maragni.                                                   8 Q During the times that you went AWOL, did they ever put
 9 A Yes.                                                           9 you in jail?
10 Q It was a 365-day tour in Vietnam?                             10 A No. I was detained the first time that I went AWOL but I
11 A Yes.                                                          11 wasn't in the brig.
12 Q And you don't come back. R and R was one week; is that        12 Q Okay. And then you got a discharge?
13 correct, sir?                                                   13 A Yes.
14 A Why.                                                          14 Q A general discharge under less than honorable conditions;
15 Q And explain to the jury what it is that you did that got      15 is that correct, sir?
16 you kicked out of country?                                      16 A Yes.
17 A That got me kicked out of country?                            17 Q That's just short of a dishonorable discharge?
18 Q Yes. How is it that you served a nine-and-a-half year         18 A No, that's not. It's just less than honorable
19 [sic] tour when all the rest of us served a year, sir?          19 conditions.
20         MR. LIFSHITZ: Objection.                                20 Q Well, there's only three discharges; aren't there, sir?
21         THE COURT: Yes, sustained.                              21 A I'm not sure how many discharges there are.
22 Q You said the tour was a year; is that correct, sir?           22 Q Well there's honorable, there's dishonorable, and in
23 A Yes, it is.                                                   23 between is a general discharge under less than honorable
24 Q 365 days. Not nine-and-a-half months, 12 months?              24 conditions; isn't that correct, sir?
25 A That's correct.                                               25 A Yes. And then there's general for honorable conditions.
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                                                        Page 81                                               Page 83
                                        1726                                 Side-Bar               1728
 1 And then there's general for conscientious objecting. There's 1   THE COURT: What was the last name?
 2 many discharges.                                              2   MR. McMAHON: Michael "Mikey Scars" DiLeonardo.
 3 Q Are you making this up as you go along, sir?                3   THE COURT: Thank you.
 4 A No, I don't think so.                                       4   MR. LIFSHITZ: Objection, Your Honor.
 5 Q And you're telling the jury that there's a general          5   THE COURT: What is your objection?
 6 discharge under honorable conditions?                         6   MR. LIFSHITZ: Sentencings.
 7 A Yes, there is.                                              7   THE COURT: Come up.
 8 Q And that there's a general discharge for conscientious
 9 objectors?
10 A Yes, there is.
11 Q And this is from your vast knowledge of military law?
12         MR. LIFSHITZ: Objection.
13         THE COURT: Sustained.
14 Q But anyway, so, you went AWOL a couple times and you go
15 this general discharge under less than honorable conditions;
16 isn't that correct, sir?
17 A Yes.
18 Q Less than honorable to you?
19 A Yes.
20 Q And you did nine-and-a-half months in Vietnam?
21 A Yes.
22 Q Now, you have had discussions with a lot of people about
23 cooperation and cooperating witnesses; is that correct, sir?
24 A I'm not sure of the question. I'm not sure what you
25 mean.
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                                          1727
 1 Q Well, you know what cooperation in the context of a
 2 Federal cooperating witness is; do you not?
 3 A Yes.
 4 Q And you know what cooperating witnesses are?
 5 A Yes, I do.
 6 Q You are a cooperating witness?
 7 A Yes, I am.
 8 Q And the subject of cooperating witnesses is something
 9 that is frequently discussed amongst organized crime people
10 who are in The Life; is that correct, sir?
11 A Yes.
12 Q And you, as a matter of course, would routinely follow
13 the cooperation efforts of famous cooperators such as
14 "Mikey Scars" DiLeonardo; is that correct, sir?
15 A I'm not following anybody.
16 Q Well, did you have discussions in person with Tommy
17 McLaughlin on September 19th -- actually, with individuals,
18 Mr. Truscello and Mr. Scarpati?
19        THE COURT: Could you spell those names for the
20 reporter.
21        MR. McMAHON: Yes.
22        Frank Scarpati -- S-C-A-R-P-A-T-I, and Dominick
23 Truscello -- T-R-U-S-C-E-L-L-O.
24        In which you discussed with those gentlemen, the
25 recent sentencing of Michael "Mikey Scars" DiLeonardo.
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                                                          Page 85                                                            Page 87
            R. Maragni - Cross / McMahon           1730                        R. Maragni - Cross / McMahon           1732
                                                                     1 A No.
                                                                     2 Q Were you threatened to relocate to Florida?
 3                                                                   3 A No.
 4        (In open court.)                                           4 Q I think you said that you've met Frank Guerra maybe six
 5 Q Without mentioning any names, Mr. Maragni --                    5 times?
 6        THE COURT: Mr. McMahon, ask your question.                 6 A I met Frank Guerra much more than six times.
 7        MR. McMAHON: Okay.                                         7 Q So, when you said six times the other day, what were you
 8 Q Do you expect to get a sentence of time served for your         8 referring to?
 9 cooperation?                                                      9 A I met Frank Guerra in the '90s, about six times. And
10 A I'm not sure what sentence I'm going to get, that's up to      10 then I met him between 2008 to 2011, about seven times. Six,
11 Judge Matsumoto.                                                 11 seven times.
12 Q But you do follow in the newspapers and in Gangland --         12 Q Oh, so, maybe it's a total of 12?
13        THE COURT: Mr. McMahon.                                   13 A Yes.
14        MR. McMAHON: Judge, I can't even ask if he follows        14 Q And you didn't say on Thursday -- you were asked how many
15 it?                                                              15 times you have met Mr. Guerra and you said about six times?
16        THE COURT: No, I told you. We talked about this up        16 A That is correct.
17 here.                                                            17 Q You did not say that on Thursday?
18        (Pause in the proceedings.)                               18 A I did say that, but they asked me how many times I met
19 Q All right. Now I think that you said you met "Allie Boy"       19 him in the '90s and then again how many times I met him before
20 Persico in 1972?                                                 20 my arrest.
21 A No, I met "Allie Boy" Persico in 1969.                         21 Q Okay. Now, in the -- I think you said on a couple of
22 Q Okay. And did you say that you discussed with him a            22 occasions you met him in the '90s or '70s, was it?
23 situation involving your cousin?                                 23 A '90s.
24 A That was --                                                    24 Q '90s, okay. And that was with Alphonse Persico?
25 Q His cousin, rather, Carmine and your cousin Ricky?             25 A I met him once with Alphonse Persico in Key West and then
                  MARSHA DIAMOND, CSR                                                 MARSHA DIAMOND, CSR
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                                                          Page 86                                                            Page 88
             R. Maragni - Cross / McMahon              1731                  R. Maragni - Cross / McMahon                   1733
 1 A That was 1972.                                               1 I saw him in the neighborhood the rest of the times.
 2 Q Okay. And I assume that you were out of the Army at that 2 Q And you, the ones you saw him in Key West, was he on
 3 time?                                                          3 Alphonse Persico's boat?
 4 A Yes. Well, I was still attached to the Army. I wasn't        4 A I believe the boat was down there and they were down
 5 discharged until 1976, I believe it was.                       5 there to get their SCUBA-diving certification.
 6 Q Even though theoretically --                                 6 Q Okay. Now, are you counting amongst the 12 times that
 7 A I was AWOL at the time.                                      7 you say now you've seen him, the two times that the Government
 8 Q Oh, I see. So, they were looking for you, but you were       8 sent you in wearing a wire?
 9 out talking to Allie Boy Persico.                              9 A No.
10 A Yes, in my own neighborhood, yeah.                          10 Q You're not counting those two, okay.
11 Q Now, there came a point in time, sir, that you relocated    11        And is it correct, sir, that Allie Boy Persico, in
12 from Florida to -- from New York to Florida; is that correct? 12 your experience, was somebody that was quite secretive?
13 A Yes.                                                        13 A Somewhat.
14 Q And this was when you got separated from your wife?         14 Q So, he was not somebody that would be telling his private
15 A Yes.                                                        15 business to everybody that he ran into; is that correct, sir?
16 Q And were you -- what was her name, sir?                     16 A Yes.
17 A Barbara.                                                    17 Q Now, I think you said that you were inducted in March of
18 Q Barbara what?                                               18 2008 into the Colombo family?
19 A Barbara Maragni.                                            19 A Yes.
20 Q What was her maiden name?                                   20 Q And when did you become a capo?
21 A DeCicco.                                                    21 A In August of the same year.
22 Q And did she have relatives that were organized crime?       22 Q So, there was a three- or four-month difference between
23 A Yes.                                                        23 becoming a soldier and a capo?
24 Q And were you directed to relocate to Florida based on how 24 A It was for me.
25 you treated her?                                              25 Q Why? Are you a special person?
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                                                        Page 89                                                         Page 91
            R. Maragni - Cross / McMahon               1734                          Side-Bar                1736
 1 A I don't know, maybe I am. I don't know.                       1 Q Now you also; did you not, sir, when you came back to
 2 Q Now, you said that at one time Frank Guerra drove you to      2 New York in 2008, 2009, 2010, and 2011, you discussed with
 3 the airport?                                                    3 various people what Frank Guerra was doing; is that correct,
 4 A Yes, that was in the '90s.                                    4 sir?
 5 Q In the 90s.                                                   5 A I discussed with various people? I don't know what
 6        Can you give me a better handle on when that was?        6 you're talking about.
 7 A It could have been '97.                                       7 Q Well, in July of 2011, you know Carmine Baudanza?
 8 Q All right. And where did he pick you up from, if he did       8 A Carmine Baudanza? I never met him.
 9 pick you up?                                                    9 Q All right. How about Carmine Persico?
10 A I was at Romantique Limousine.                               10 A I know Carmine Persico.
11 Q Okay. And did he drive his car, or a limousine, or how       11 Q Okay. And did you have a conversation on July 15th,
12 did he take you to the airport?                                12 2011, with Carmine Persico in which he told you that Frank
13 A He drove his car.                                            13 Guerra hasn't been doing anything, he's just working?
14 Q What kind of car did he have?                                14 A I don't recall having a conversation with Carmine Persico
15 A It was a Corvette.                                           15 about Frank Guerra.
16 Q Is there some reason why somebody at Romantique              16       MR. McMAHON: May I approach, show the witness,
17 Limousine -- it's a limousine service?                         17 Your Honor?
18 A Yes.                                                         18       THE COURT: Yes.
19 Q Is there some reason they didn't take you?                   19       MR. McMAHON: Disk number 36507, Section 2, at 5640.
20 A I don't know. I requested that one of the guys take me       20       (Pause in the proceedings.)
21 and not to bother Frank.                                       21       MR. LIFSHITZ: Your Honor, can we have a brief
22 Q Okay. Now, you said, testified earlier today on              22 side-bar about this?
23 continued direct, that when you had the, you had a
24 conversation with Frank about his proposal for induction in
25 2010. I think you said that he could be with his friends; is
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              R. Maragni - Cross / McMahon              1735
 1 that correct?
 2 A Yes.
 3 Q But then you referred to a number of different people
 4 that are supposedly friends of his and they're all in jail; is
 5 that correct?
 6 A I believe now they are. I don't know if they're all in
 7 jail, but some of them are.
 8 Q So, are you suggesting that he maybe could be friends
 9 with them in jail?
10 A No.
11 Q Now, you have had -- during the course of your organized
12 crime affiliation, you have come to learn, have you not, sir,
13 that a lot of times people in The Life say things that aren't
14 necessarily true; is that correct?
15 A Yes.
16 Q A lot of times there's a lot of bragging going on?
17 A Yes.
18 Q And they make, they say I did X, Y, and Z making
19 themselves looking like big bad criminals when they may not
20 actually have done; is that correct?
21 A That happens.
22 Q And you, in fact, had discussed that very subject with
23 Tommy McLaughlin saying that Anthony Russo was telling storie
24 that make himself look like an important and powerful person?
25 A I might have.
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                                                         Page 93                                                             Page 95
                                                                                 R. Maragni - Cross / McMahon            1740
                                                                     1        Now, one of the conversations in which the
                                                                     2 Government introduced -- there were two conversations, I think
                                                                     3 they introduced through you, through your testimony. They are
                                                                     4 4001 and 4000. The transcripts are in evidence as an aid to
                                                                     5 the jury and recollection.
                                                                     6 Q Is that true, sir?
                                                                     7 A Yes.
                                                                     8 Q Now, the conversation, I think it was played on Thursday,
                                                                     9 is a conversation with Mr. Guerra?
                                                                    10 A Yes.
                                                                    11 Q You went in to see Mr. Guerra on two occasions?
                                                                    12 A Yes.
                                                                    13 Q On April 15th, and May 10?
                                                                    14 A Sounds correct.
                                                                    15 Q And did the Government give you instructions on what you
                                                                    16 should try to get from him?
                                                                    17 A They told me to have a conversation with him.
                                                                    18 Q Did they steer you as to subject --
                                                                    19 A They didn't get specific, no.
                                                                    20 Q They didn't get specific.
                                                                    21        And how long was your meeting session before you
                                                                    22 spoke to him on both occasions?
                                                                    23 A How long was my meeting session with who?
                                                                    24 Q With the agents, if you had any?
                                                                    25 A It was briefly. It was over the telephone.
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                                                                                    OFFICIAL COURT REPORTER
                                                         Page 94                                                             Page 96
             R. Maragni - Cross / McMahon            1739                              Side-Bar                   1741
 1        (In open court.)                                           1 Q All right. But you were there, basically, for the
 2 BY MR. McMAHON: (Continued)                                       2 purpose of trying to get incriminating information?
 3 Q Mr. Maragni, is it correct, based on your familiarity           3 A Yes.
 4 with Anthony Russo, that he was basically hanging around all      4 Q And on the two occasions that you interviewed Mr. Guerra
 5 the time with Tommy McLaughlin and Peter Tagliava?                5 that you were recorded, do you recall how long the interviews
 6 A Yes.                                                            6 were?
 7 Q And you described then as three peas in a pod?                  7 A They were brief.
 8 A Yes.                                                            8 Q If I told you that the first interview on April 18th was
 9 Q Do you remember -- do you know Artie Tarzia?                    9 one hour and 19 minutes, would you call that brief?
10 A Yes.                                                           10        MR. LIFSHITZ: Objection, Your Honor.
11        THE COURT: Can one of you spell that name.                11        THE COURT: I don't know what you're talking about,
12        MR. McMAHON: T-A-R-Z-I-A, I believe it is.                12 you have to come up.
13        THE COURT: Thank you.                                     13        (Side-bar conference held on the record out of the
14 Q Did you discuss with Artie Tarzia, on August 26th of           14 hearing of the jury.)
15 2011, the benefits that the Government would get from flipping   15
16 "BF?"                                                            16        (Side-bar.)
17 A I'm not sure. I'm not sure of the date.
18 Q But you remember the conversation?
19 A Yeah, I think something -- I recall something like that.
20 Q Now, did you ever -- do you snort cocaine, sir?
21 A No.
22 Q Did you ever snort cocaine around the time that you were
23 making recordings?
24 A I never snorted cocaine in my life.
25        MR. McMAHON: Okay. All right.
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                                                       Page 105                                                         Page 107
                                                                             R. Maragni - Cross / McMahon           1752
                                                               1 A Yes.
                                                               2 Q So, there was detailed conversation of the allegations;
                                                               3 is that correct, sir?
                                                               4 A Yes.
                                                               5 Q And the detailed coverage also included excerpts of some
                                                               6 conversations. Tapes were excerpted in the newspapers; is
                                                               7 that correct, sir?
                                                               8 A I'm not sure if they were or not.
                                                               9 Q Well, didn't you make reference to the Tommy McLaughlin
10 CROSS-EXAMINATION                                          10 tapes the things that he was saying when he was recording
11 BY MR. McMAHON: (Continued)                                11 Anthony Russo?
12 Q Mr. Maragni, I stand corrected, the first conversation   12 A I might --
13 with Mr. Guerra was 25 minutes in length.                  13 Q Don't you recall discussing that with other people?
14        Does that sound right to you, sir?                  14 A I might have.
15 A More or less.                                            15 Q And so, when Mr. Guerra asked you on April 18th: Did he
16 Q And that was on April 18th. And the second conversation, 16 get hit with that guy Gene, he's asking you about particular
17 on May 10th, was about 40 minutes, sir?                    17 charges being put on particular people; is that correct?
18 A Sound right.                                             18 A Yes.
19 Q Now, and this Exhibit that's here that's been introduced 19 Q Nothing unusual about that?
20 into evidence, it's from the April 18th, 25-minute         20 A No.
21 conversation; is that correct, sir?                        21 Q Okay. And when he asked you -- and you had said
22 A Yes.                                                     22 Lombardo.
23 Q Okay. And it's one page of transcript; is that correct,  23        And he said yes.
24 sir?                                                       24        And you said they brought that, I think they brought
25 A Yes.                                                     25 something like that.
                 MARSHA DIAMOND, CSR                                            MARSHA DIAMOND, CSR
                OFFICIAL COURT REPORTER                                        OFFICIAL COURT REPORTER
                                                       Page 106                                                         Page 108
             R. Maragni - Cross / McMahon               1751                   R. Maragni - Cross / McMahon            1753
 1        MR. McMAHON: All right. Now, if the jurors could        1        That was what you said to Mr. Guerra; is that
 2 take a look at that, I'll put it up on the ELMO.               2 correct?
 3        (The above-referred to Exhibit was published to the     3 A Yes.
 4 jury.)                                                         4 Q Now, Anthony Russo was actually a co-defendant of yours;
 5        MR. McMAHON: Now, this is a conversation on             5 is that right?
 6 April 18th, which is three months, just about three months     6 A Yes, he was.
 7 after the indictment on Mafia take-down day.                   7 Q So, on that 39-defendant Colombo case in which Frank
 8 Q Is that correct, sir?                                        8 Guerra was not listed, Maragni and Anthony Russo were; is that
 9 A Yes.                                                         9 correct?
10 Q And the charges against all of the 39 Colombo and the       10 A Yes.
11 other 90 people were the subject of great publicity in the    11 Q So, you were familiar with the charges not only against
12 newspapers; is that correct?                                  12 Maragni, but also against Anthony Russo; is that correct?
13 A Yes.                                                        13 A Yes?
14 Q And also, the subject of great discussion amongst people 14 Q And since you knew Tommy McLaughlin well, you had an
15 who are in the organized crime life; is that correct, sir?    15 interest not only on his recordings with Reynold Maragni, but
16 A Yes.                                                        16 also his recordings with Anthony Russo; is that correct, sir?
17 Q And the indictments in the various cases were actually in 17 A Yes. And many others.
18 the newspapers. I think you made reference to The Daily News;18 Q Right. And during this process between January and
19 is that correct?                                              19 April, you were getting tape recordings and discovery.
20 A Yes, there were.                                            20        You were getting stuff from the Government; is that
21 Q And you had asked Frank Guerra during these                 21 right?
22 conversations, didn't he read the things that were said about 22 A I, until today, I haven't gotten the recordings.
23 him in the Daily News and stuff; is that correct, sir?        23 Q All right, but you got discovery?
24 A Who was "he?"                                               24 A Yes, I did.
25 Q "He" being Frank Guerra.                                    25 Q And your attorney got discovery?
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                                                      Page 109                                                          Page 111
             R. Maragni - Cross / McMahon                1754                  R. Maragni - Cross / McMahon               1756
 1 A Yes, he did.                                                  1 the onset, it probably will be there by the time Anthony
 2 Q He did. And as a cooperating witness, you're not              2 Russo's done cooperating because Anthony could have made a
 3 entitled to discovery; are you?                                 3 statement and said that, and told the story about Benji.
 4 A I'm not sure about that. I think I am.                        4 Q Well, in terms of whether that's what you meant, did you
 5        THE COURT: Yes, he is.                                   5 ever have conversations with other people -- in fact, I think
 6        MR. McMAHON: Well, Judge.                                6 I just asked you a few minutes ago -- that Anthony Russo made
 7        THE COURT: He's entitled to discovery.                   7 up things, made up stories?
 8        MR. McMAHON: Okay. That's not what the agreement         8 A Yes, he did.
 9 says, Your Honor.                                               9 Q All right.
10 Q Going back to the transcript, you told Mr. Guerra: I         10 A From time to time.
11 don't know if that's one of the charges, the extortion with    11 Q And so, when you said it might very well be by the time
12 Benji, but it very well might be by the time Anthony's done.   12 Anthony's done, you could very well be referring to him
13        Now, were you referring to, sir, the fact that          13 telling them truthful information? Or referring to him
14 Anthony makes up things in his tape recordings?                14 telling the Government stories?
15 A No.                                                          15         MR. LIFSHITZ: Objection; asked and answered.
16 Q Were you referring to the fact that what -- well.            16         THE COURT: No, overruled.
17        You said that you don't know if it's one of the         17         You're to answer.
18 charges, but it might well be by the time Anthony's done.      18 A Whether Anthony would be telling the truth or a lie, I
19        What did you mean by that?                              19 would have no way of knowing what he was telling the
20 A At the time I was having the conversation with Frankie       20 Government.
21 Guerra, Anthony Russo was already a cooperating witness.       21         But what I was getting across was if that extortion
22 Q So, you knew?                                                22 wasn't one of the charges, it very well will be by the time
23 A Yes, I did know.                                             23 Anthony was done. That's what I meant.
24 Q Okay. So, by -- in fact, his cooperation became, there       24 Q Well, you don't know if the extortion was one of the
25 was a column in Gangland in early April?                       25 charges; was it?
                   MARSHA DIAMOND, CSR                                               MARSHA DIAMOND, CSR
                  OFFICIAL COURT REPORTER                                          OFFICIAL COURT REPORTER
                                                      Page 110                                                          Page 112
             R. Maragni - Cross / McMahon              1755                    R. Maragni - Cross / McMahon              1757
 1 A His cooperation became apparent before I ever made bail. 1 A I don't know if it was one of the charges on Benji, I
 2 Q Okay. And that was in early February?                         2 didn't know.
 3 A Yes.                                                          3 Q Okay. Or on Anthony?
 4 Q That his cooperation was publicized?                          4 A Or on Anthony. I didn't know at that time.
 5 A Yes.                                                          5 Q Okay. And in this conversation in connection with the
 6 Q Which made it all the more urgent for you to get in           6 extortion, Mr. Guerra told you that they're going to fucking
 7 there; is that correct, sir?                                    7 lie, pardon my French?
 8 A That had nothing to do with me.                               8 A Yes.
 9 Q Okay. Well, is it -- when you made that -- assuming you       9 Q And that you then asked him what he meant was that you
10 made that debriefing session on February 1st, did you happen 10 went there and extorted this guy.
11 to see Anthony Russo in the next room?                         11        And he said we didn't?
12 A I saw Anthony Russo in the next room when I was meeting 12 A Yes.
13 with an attorney. I was meeting with my attorney and Anthony 13 Q And he said it was a personal thing?
14 Russo was coming out of an attorney room.                      14 A Yes.
15 Q Do you know, sir, whether or not he met with agents on       15 Q Now, the guy that supposedly gave a slap to Gene Lombardo
16 the same day that you did?                                     16 was Frankie Notch; is that correct?
17 A No, I don't.                                                 17 A That's correct.
18 Q Okay. So, you were -- when you said during this              18 Q And Frankie Notch reported to you?
19 conversation that it may very well be by the time Anthony's    19 A Yes, he does.
20 done, what you're telling Mr. Guerra is that, given that       20 Q And Frankie Notch told you that he never got a penny from
21 Anthony's a cooperating witness, he is likely to make up all   21 the extortion; is that correct?
22 sorts of stories and the extortion charge could very well come 22 A That's correct.
23 as a result.                                                   23 Q Okay. And Mr. Guerra is here denying to you that there
24        Is that what you meant to say, sir?                     24 was ever any extortion. That it was basically a personal
25 A What I meant to say is that if the charge wasn't there on    25 beef?
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                 OFFICIAL COURT REPORTER                                          OFFICIAL COURT REPORTER

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                                                        Page 113
            R. Maragni - Cross / McMahon            1758
 1 A Yes.
 2 Q Now, he makes reference in the next line to: It's not on
 3 tape.
 4        You were aware, sir, that he had a recording of Gene
 5 Lombardo in which he denied he was extorted by Guerra; is that
 6 correct, sir?
 7        MR. LIFSHITZ: Objection, Your Honor.
 8        THE COURT: Yes. Sustained.
 9 Q Well, when you referred to a tape, are you referring to
10 the tape of Gene Lombardo?
11        THE COURT: Did he refer to a tape?
12        MR. McMAHON: Yes. This is in a transcript that's
13 in evidence from the Government.
14        THE COURT: Yes, I know.
15        MR. McMAHON: And Guerra says it's not on tape.
16        And you were asked to provide an explanation for
17 what Guerra meant.
18        And I'm asking him if there's a different
19 explanations that is more correct.
20 Q Wasn't Guerra talking about the tape that a private eye
21 made of Eugene Lombardo?
22 A I have no idea a private eye made a tape of Gene
23 Lombardo. Until right now.
24 Q You didn't hear about it being played at the bail hearing
25 for Frank Guerra?
                  MARSHA DIAMOND, CSR
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                                                        Page 114
                  Side-Bar                 1759
 1 A No.
 2       THE COURT: Look, come up here.
 3       (Side-bar conference held on the record out of the
 4 hearing of the jury.)
 5
 6




                                                                                 113 - 116
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                                                     Page 117                                                      Page 119
             R. Maragni - Cross / McMahon             1762                      Proceedings               1764
 1        (In open court.)                                      1       You don't have to answer.
 2 BY MR. McMAHON: (Continued)                                  2       MR. McMAHON: Judge, I'm not --
 3 Q Now, after Mr. Guerra says on this transcript it's not on  3       THE COURT: Objection sustained.
 4 the tape, you say: So, you have everything covered, is that  4       Go on. Mr. McMahon, I have sustained the objection.
 5 correct? Leave it alone?                                     5       MR. McMAHON: I can't even ask what he said?
 6 A Yes.                                                       6       THE COURT: No.
 7 Q So, you are responding to his claim as if he told you      7       (Pause in the proceedings.)
 8 that he has a defense to that claim.                         8       MR. McMAHON: Your Honor, this Exhibit is marked as
 9 A Yes.                                                       9 Defendant's Exhibit O.
10 Q And that claim being the extortion of the Gene Lombardo; 10        THE COURT: I'm going to allow the jury to go to
11 is that correct, sir?                                       11 lunch. We'll come back at 2:00 o'clock.
12 A Yes.
13 Q And it was your understanding that --
14        MR. McMAHON: And then, if we could turn to the next
15 tape which they offer, the Government offered.
16        THE COURT: The next transcript.
17        MR. McMAHON: Transcript, excuse me 4001-T in the
18 books. And it's on the ELMO.
19        (The above-referred to Exhibit was published to the
20 jury.)
21 Q You're asking this guy that reports to you, this guy that
22 unquestionably slapped Gene Lombardo, whether he, the slappe
23 got any money as a result of this alleged incident; is that
24 correct, sir?
25 A Yes.
                  MARSHA DIAMOND, CSR
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              R. Maragni - Cross / McMahon              1763
 1 Q And he told you that he did not?
 2 A That's correct.
 3 Q So, and you did not have any reason to disbelieve him,
 4 did you, sir?
 5 A No, I didn't.
 6 Q So, if Anthony Russo got any money out of Gene Lombardo,
 7 it certainly didn't go to Frankie Notch?
 8 A That's what I was made to understand.
 9 Q And if Anthony Russo got any money out of Gene Lombardo,
10 Frank Guerra told you that he didn't get any of it; is that
11 correct, sir?
12 A I didn't speak to Frank Guerra about any money.
13 Q Well, when Frank Guerra said to you on the previous tape
14 that he had a complete defense to this, did you not get the
15 impression that he didn't get any money, sir?
16         THE COURT: No, you don't have to answer this.
17         We don't discuss impressions here. Facts.
18 Q Now, did you, during that conversation on April 18th, did
19 you say -- not Mr. Guerra, did you say -- that Anthony Russo
20 was telling stories that he was in the back seat at Scopo, in
21 the car?
22         MR. LIFSHITZ: Objection, Your Honor.
23 Q Did you say that?
24         MR. LIFSHITZ: Objection, Your Honor.
25         THE COURT: Objection sustained.
                   MARSHA DIAMOND, CSR
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                       1774




                                                19 CROSS-EXAMINATION CONTINUED
                                                20 BY MR. McMAHON:
                                                21 Q Mr. Miragni, one of the individuals that you assaulted,
                                                22 did you tell him that -- did you threaten that you were going
                                                23 to come back and cripple him and roll him out like a fucking
                                                24 paraplegic?
                                                25 A One of the people that I assaulted?
                                                                 MARSHA DIAMOND, C.S.R.
                                                                 Official Court Reporter
                                                                                                          Page 132
                                                                Miragni - cross/ McMahon               1777
                                                 1 Q Yes. Remember reading this transcript in the government's
                                                 2 bail -- initial bail application to keep you detained?
                                                 3 A Yes.
                                                 4 Q And did you actually use those words, did you actually
                                                 5 say that you would come back and cripple -- you are going to
                                                 6 roll him out like a fucking paraplegic, did you use those
                                                 7 words, sir?
                                                 8 A Yes, but he was never assaulted.
                                                 9 Q That is what you just threatened?
                                                10 A Yeah.
                                                11 Q And with respect to another individual, did you tell
                                                12 Mr. McLaughlin that you wanted to take him off the street, you
                                                13 want him stabbed, you want to fucking horrify him, did you
                                                14 tell Mr. McLaughlin to convey those messages to one of your
                                                15 loanshark debtors?
                                                16 A No. He wasn't a loanshark debtor. It was take him off
                                                17 his feet; not take him off the street. Not stab; scare.
                                                18 Q Again, in the transcript that the government provided to
                                                19 Judge Matsumoto to deny you bail, that's what the government
                                                20 said that you said?
                                                21 A That was in the transcript but that wasn't correct.
                                                22 Q Now, did you -- before you started cooperating with the
                                                23 government, you had one of the agent's phone numbers; is that
                                                24 correct, sir?
                                                25 A Yes.
                                                                   MARSHA DIAMOND, C.S.R.
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                                                             Page 133                                                             Page 135
               Miragni - cross/ McMahon               1778                   Miragni - cross/ McMahon              1780
 1 Q And it would be fair to say that your level of interest     1 2011 in Florida.
 2 in trying to be a cooperator was pretty high?                 2        THE COURT: Thank you.
 3 A What time are you talking about, what period?               3 A Yes, he give me a check for $7,000.
 4 Q Right around the time of your arrest?                       4 Q And that was some of your laundered shylock money?
 5 A No, that wasn't true. The reason I got the agent's number   5 A Yes.
 6 is because he knocked on my door, along with many other doors 6 Q And did he give you any cash?
 7 that he knocked on, and he asked me if I would be interested  7 A No.
 8 in cooperating.                                               8 Q Now, you gave the $7,000 check to the FBI; is that
 9 Q That was before your arrest?                                9 correct?
10 A Before my arrest.                                          10 A Yes.
11 Q And you kept the card and you kept the number?             11 Q But that turned out to be another one of those days when
12 A I kept the card, yes. Any agent that gives me a number,    12 the recorder didn't work?
13 I would keep the card so I would have it for my own future   13 A No, I don't believe that's the case.
14 reference.                                                   14 Q All right. Take a look at this document which is
15 Q So after you got arrested you, in fact, called that        15 3500-RM-25 -- 3500 -- pages 178 and 179 (handing to
16 number?                                                      16 Ms. Argentieri).
17 A Yes, yes. I did at some point, yes, I did.                 17        THE COURT: RM?
18 Q And did you testify at a previous proceeding in this       18        MR. McMAHON: 25-A.
19 courthouse that your level of interest in trying to be a     19        MR. LIFSHITZ: We object to the extent it is to
20 cooperator was pretty high?                                  20 refresh.
21 A At a certain point, yeah.                                  21        MR. McMAHON: He says he doesn't think it happened
22 Q When was that point?                                       22 that day.
23 A I don't recall exactly when.                               23        THE COURT: Do you recall?
24 Q But it wasn't long after your arrest?                      24        THE WITNESS: I don't recall the recorder not
25 A Within a few months, yeah.                                 25 working that day. That was the last day that I was working
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                 Official Court Reporter                                        Official Court Reporter
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             Miragni - cross/ McMahon              1779                                Miragni - cross/ McMahon            1781
 1 Q Few Mondays or a weeks?                                               1 proactive.
 2 A Few weeks, few months. I don't remember exactly when.                 2 Q Take a look at these two pages (handing). See whether
 3 Q How about a few days?                                                 3 that refreshes your recollection on the day of December 13th.
 4 A How about a few minutes. It was a couple of weeks.                    4 A It says device wasn't working (perusing).
 5 Q You don't like to be in jail?                                         5 Q That's at least the third time that we know that the
 6        THE COURT: Wait. First of all, you are talking                   6 recorder malfunctioned?
 7 over each other and I don't need the smart remarks.                     7 A Yes.
 8        MR. McMAHON: Judge, is that from me or him?                      8 Q For no apparent reason?
 9        THE COURT: It is from both of you.                               9 A I don't know what the reason was, but yes.
10        MR. McMAHON: Okay.                                              10 Q And that also happens to be the day just before you are
11 Q Now, you remember there came a time in December of 2011              11 coming off the street; is that correct, sir?
12 that you met with an individual by the name of Pat Truglia?            12 A That was the day.
13 A Yes.                                                                 13 Q And you were scooping up all your loansharking money?
14 Q And who is Pat Truglia?                                              14 A I was what?
15 A Pat Truglia is an associate of the Colombo Family.                   15 Q You were scooping all your loanshark money?
16 Q And he was under you?                                                16 A Not at this point.
17 A Yes.                                                                 17 Q Well, the 7,000 was what?
18 Q You were in Florida?                                                 18 A The $7,000 was given to me by FBI. It was confiscated
19 A Yes.                                                                 19 money that they gave me, and I used that money, and gave it to
20 Q And he gave you a check for $7,000?                                  20 Pat Truglia to launder $7,000 for me.
21 A Yes.                                                                 21 Q And then to return a check to you?
22 Q And did he give you anything else that day?                          22 A Yes.
23 A That day, no.                                                        23 Q And in addition to returning the check to you, did he
24        THE COURT: What day? I'm sorry. What day?                       24 hand you an envelope with some cash in it?
25        MR. McMAHON: Around December. Around December 13th,             25 A No.
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                                                       Page 137                                                        Page 139
              Miragni - cross/ McMahon               1782                       Maragni - cross - McMahon              1784
 1 Q You didn't get a little nest egg to go off the street         1 EXAMINATION CONTINUES
 2 with?                                                           2 BY MR. McMAHON:
 3 A No, I didn't.                                                 3 Q And that testimony was true, sir?
 4 Q And did you turn off the recorder before that meeting         4 A Yes.
 5 with Mr. Pat Truglia?                                           5 Q Among the people that you collected money from and didn't
 6 A No, I didn't.                                                 6 tell the FBI about was Dennis Cinnante?
 7 Q Do you know why it malfunctioned?                             7 A Yes.
 8 A I have no idea. It could have turned off. Sometimes           8 Q A fellow named DeSantis?
 9 movement would turn it off, but I wouldn't know.                9 A Yes.
10 Q Before you were saying that or -- withdrawn.                 10 Q Now, you testified about having a conversation or
11        Did you say before that you didn't collect money        11 conversations with Mr. Guerra about a supposed induction, is
12 when the recorder was off, did you say that?                   12 that correct, sir?
13 A Did I say I didn't collect money when the recorder was       13 A Yes.
14 off?                                                           14 Q And how many conversations did you have with Mr. Guerra
15 Q Right.                                                       15 on that subject?
16 A I didn't collect money the day that he was saying about      16 A Two.
17 the $48,000 the recorder was off, no.                          17 Q When were those conversations?
18 Q All right. Do you remember testifying under oath at a        18 A One was shortly after an induction ceremony in
19 previous proceeding at page 113 at lines nine through 18       19 February 2009, and another one was in September of 2011.
20 (reading):                                                     20 Q In September of 2011?
21        Question: Did you always tell the agents everything     21 A I'm sorry. September of 2010.
22 that happened during the meetings that you recorded?           22 Q So it wouldn't have been recorded?
23        Answer: No.                                             23 A No, it wouldn't have been.
24        Question: What did you leave out?                       24 Q Okay. Now, the first conversation, you had been told I
25        Answer: I left out some stuff from time to time.        25 think by Benji that with regard to the 2009 class, shall we
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                Official Court Reporter                                            Official Court Reporter
                                                       Page 138                                                        Page 140
             Miragni - cross/ McMahon              1783                         Maragni - cross - McMahon               1785
 1       Question: Like what?                                      1 say, that Mr. Guerra passed, he didn't want it?
 2       Answer: I left out when I collected money.                2 A Yes.
 3       Question: When you say, "collected money," what did       3 Q And that's the one where Anthony Russo was inducted?
 4 you mean?                                                       4 A Yes.
 5       Answer: I collected shylock money that was due me.        5 Q And you understood, did you not, sir, that Anthony Russo
 6       Question: You didn't tell the FBI about that?             6 was the one who kept pushing, pushing, pushing, to have Frank
 7       Answer: No, I didn't.                                     7 Guerra proposed?
 8       Do you remember giving those answers to those             8 A I wasn't aware of who was pushing to have him proposed.
 9 questions under oath here in this courthouse two months ago?    9 Q How many conversations have you had with Anthony Russo?
10 A Yes.                                                         10 A I've had many.
11       (Continued on next page)                                 11 Q Okay. That subject didn't come up in your conversations
12                                                                12 with Anthony Russo?
13                                                                13 A No.
14                                                                14 Q All right. In the second conversation about Mr. Guerra
15                                                                15 being inducted, is that the one where you testified here this
16                                                                16 morning that he smiled or something like that?
17                                                                17 A Yes.
18                                                                18 Q And you -- by the way, did you discuss that testimony
19                                                                19 over the weekend with the agents or prosecutors?
20                                                                20 A No.
21                                                                21 Q Is there some reason why you didn't say it last Thursday
22                                                                22 but you said it this morning?
23                                                                23 A No.
24                                                                24        I don't know if I was asked it last Thursday.
25                                                                25 Q I think you said last Thursday actually that you said
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               Official Court Reporter                                             Official Court Reporter

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               Maragni - cross - McMahon             1786                        Maragni - cross - McMahon                 1788
 1 when you had this conversation with him about, you know, you 1 Q I think you said on Thursday on direct examination that
 2 don't want to leave your friends and go on vacation, something 2 Anthony Russo was nearby but he was not part of that
 3 like that, didn't you?                                          3 conversation, is that correct, sir?
 4 A I made an analogy, yes.                                       4 A That's correct.
 5 Q Analogy, yes.                                                 5 Q Well, was that to suggest to the jury that this Lombardo
 6        All right. And then you said that his response last      6 extortion was Guerra's idea as opposed to Russo's idea?
 7 Thursday, you said his response was a little strange. Those     7 A No.
 8 were your words.                                                8 Q You didn't deliberately try and put Anthony Russo
 9        Do you remember using those words?                       9 somewhere else, did you, sir?
10 A No.                                                          10 A Anthony Russo was about five feet away from us.
11 Q You don't remember that?                                     11 Q Okay. But he was not part of this initial conversation?
12 A No.                                                          12 A I was talking to Frankie, not Anthony.
13        What do you mean, a little strange?                     13 Q Okay. Do you remember, sir, why it is that you told the
14 Q That's -- that's a good question, good question.             14 agents that the conversation was involving Mr. Russo and
15        Today you came in and said, a little strange became     15 Mr. Guerra, not just Mr. Guerra?
16 he smiled.                                                     16 A Because at one point before the conversation was over
17 A He smiled. That was his facial expression. He smiled         17 Anthony Russo walked over, when they were about -- when they
18 and he nodded his head up and down. That's what he did.        18 were about to get in the van and take a ride.
19 Q You didn't say that last Thursday. You said it today.        19 Q I see.
20 A I don't remember exactly what I said last Thursday.          20        Isn't it fact, sir, that what you told the agents in
21 Q But you remember what he did?                                21 terms of describing this incident was that Russo and Guerra
22 A Yes.                                                         22 were present, describing the incident to you, at the whole
23 Q Did he smile like a painful smile, like that's Anthony       23 time, not -- no mention whatsoever of Russo being five feet
24 again trying to get me inducted and I don't want it, one of    24 away?
25 those smiles?                                                  25 A Anthony Russo was close enough to hear every word of the
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              Maragni - cross - McMahon              1787                       Maragni - cross - McMahon               1789
 1 A He smiled. I don't know how many different smiles             1 conversation. But he was no part of the conversation.
 2 Frankie has.                                                    2 Q Are you fudging a little bit?
 3 Q Okay. But did you use the word, sir, it was a little          3 A I am not fudging anything.
 4 strange facial response?                                        4 Q Was he five feet away or was he part of --
 5 A I don't remember saying a little strange facial response,     5       THE COURT: Stop, Mr. McMahon.
 6 no.                                                             6       MR. McMAHON: Yes, Judge.
 7 Q Okay. Did he look like he was jumping for joy at the          7       THE COURT: Stop.
 8 prospect of being inducted into the Colombo Crime Family, sir? 8        MR. McMAHON: All right.
 9 A He showed very little emotion.                                9       THE COURT: I have a court reporter here. When the
10 Q Now, is it correct, sir, that for somebody who on            10 two of you are speaking at one time, he cannot take it. I
11 multiple occasions declines to accept somebody's invitation to 11 have to have a record of these proceedings.
12 be a soldier, they could get killed?                           12       MR. McMAHON: Okay.
13 A That's not true.                                             13 Q Was he five feet away?
14 Q You don't think so?                                          14 A Yes.
15 A No.                                                          15 Q Did he have his ear in the conversation?
16 Q Now, you had described this pizza extortion, the Lombardo 16 A He probably did. I don't know.
17 extortion, alleged extortion. You said that they came -- they  17 Q Okay. But he was not standing next to Mr. Guerra part of
18 came -- I think you said Mr. Russo and Mr. Guerra came to the 18 the conversation?
19 club, your club?                                               19 A No, he wasn't.
20 A Yes.                                                         20 Q Take a look at 3500 RM 25-A, pages 16 and 17.
21 Q And it was -- where was the club located?                    21       I direct your attention to highlighted portion on
22 A Staten Island.                                               22 the second page. See if that refreshes your recollection
23 Q All right. I think you have said that you had a              23 whether Russo was standing five feet away.
24 conversation with Mr. Guerra outside the club?                 24       (Pause.)
25 A Yes.                                                         25 A This is referring to after the incident.
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                                                       Page 145                                                           Page 147
               Maragni - cross - McMahon               1790                    Maragni - cross - McMahon                1792
 1 Q Oh. After -- it doesn't -- doesn't it describe               1 Q Who decides if you are being truthful?
 2 there -- didn't you tell the agents there about how Russo and  2 A I guess the government decides if I am being truthful.
 3 Guerra told you about Lombardo when he was stealing the pizza 3 Q Who decides if you provided substantial assistance?
 4 recipe and that they were going -- you know, that he was       4 A The government.
 5 angry?                                                         5 Q Okay. If they decide that you haven't provided
 6        Isn't that what you told the agents, the two of them    6 substantial assistance, you don't get a 5K letter, is that
 7 together told you that?                                        7 correct, sir?
 8 A No, that's not in here.                                      8 A That's correct.
 9 Q That's not in there?                                         9 Q If you don't get a 5K letter you are going to do a whole
10 A No.                                                         10 lot more jail time, is that correct, sir?
11 Q May I have the document back?                               11 A I wouldn't know how much jail time.
12        Page one, did you look at the first page in the        12 Q I didn't say how much. But a whole lot more?
13 highlighted portion?                                          13 A I would say I'd go to jail, yes.
14        (Pause.)                                               14 Q A whole lot more?
15 A I still don't remember Russo standing and having a          15 A A whole lot more meaning what? A whole lot more is not
16 conversation with me.                                         16 telling me anything.
17 Q Even though you told the agents that?                       17 Q I am just thinking about Reynold Maragni's state of mind.
18 A Even though I told the agents that. I don't remember        18         Do you think you'd get less time if you get a 5K
19 Russo being present.                                          19 letter?
20 Q You sure you weren't just trying to help out the            20 A It's possible.
21 government a little bit, putting it on Guerra, not on Russo   21 Q Possible?
22 who already is a rat?                                         22 A Yes.
23 A No. That's not what I was doing.                            23 Q Just possible?
24 Q You know what substantial assistance of course is?          24 A Yes.
25 A Yes, I do.                                                  25         There is no guarantees here.
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                  Official Court Reporter                                          Official Court Reporter
                                                       Page 146                                                           Page 148
                Maragni - cross - McMahon                1791                   Maragni - cross - McMahon               1793
 1 Q Okay. And you -- by trying to put that conversation all       1 Q Now, isn't there a mandatory minimum attached to your
 2 on Guerra, you weren't trying to give them a little extra       2 plea?
 3 substantial assistance, were you?                               3 A Yes, there is.
 4 A I wasn't trying to put the whole thing on Guerra.             4 Q If you don't get a 5K letter, you can't get less than the
 5 Q Okay. Now, you did enter into a cooperation agreement,        5 mandatory minimum; is that correct?
 6 sir?                                                            6 A That's correct.
 7 A Yes, I did.                                                   7 Q So we know if you get a 5K letter you don't even have to
 8 Q You read it?                                                  8 get the mandatory minimum, is that correct, sir?
 9 A Yes, I did.                                                   9 A That's not true. That's up to a judge.
10 Q You understand that you have to provide information and      10 Q I understand that.
11 they decide if it is truthful or not, they being the           11        But you are not obligated to get the mandatory
12 government?                                                    12 minimum if you get a 5K letter?
13 A I have to provide information. What they determine is        13 A I guess you are correct saying that.
14 out of my hands.                                               14 Q Right.
15 Q Right.                                                       15        This -- this wouldn't come as news to you?
16         But I am talking in terms if you want to get a 5K1     16        Do you have trouble saying it to the jury?
17 letter, is that correct, sir?                                  17 A I have no trouble saying anything.
18 A If I want to get a 5K1 letter I have to provide              18 Q So you could get time served, you could get probation,
19 information. Whether the information is deemed -- is up to     19 you could walk out the door when you get sentenced, if you get
20 the government, not me.                                        20 the 5K letter?
21 Q Right.                                                       21 A Correct.
22         It is not up to the jury. It is not up to the          22        I could also get 40 years with the 5K letter.
23 judge.                                                         23 Q Sure.
24 A My cooperation agreement is with the government, not the     24        But you could get the time that Scars got and
25 judge or the jury.                                             25 Gravano got, right?
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                                                      Page 149                                                                  Page 151
              Maragni - cross - McMahon            1794                        Maragni - cross - McMahon                1796
 1 A I can get whatever the judge wants to give me.               1 Q Wasn't it Sally Fusco or somebody that said it?
 2        MR. LIFSHITZ: Objection.                                2 A No.
 3        THE COURT: Sustained.                                   3 Q Did you tell the -- how long did it take for you to think
 4        You don't have to answer that.                          4 up this incident or this sentence?
 5 Q 5K --                                                        5        MR. LIFSHITZ: Objection.
 6        THE COURT: The question and answer are stricken         6 Q How many -- how many meetings with the government did you
 7 from the record.                                               7 have before you suddenly remembered Frank Guerra, the
 8 Q You understand, sir, that some 5K letters are better than    8 wheelman?
 9 others?                                                        9        THE COURT: Just forget the "suddenly." Do you know
10 A I have no idea.                                             10 how long before you told the government?
11 Q Well, do you know what pro forma means?                     11 A How long before I told the government what?
12 A No.                                                         12 Q How many meetings did you have with the government before
13 Q Do you know what gushing means?                             13 you told them about Frank, the wheelman?
14 A What gushing means?                                         14 A I told the government that Allie called Frank a good
15 Q Yes.                                                        15 wheelman when I was questioned about did I ever hear anything
16 A Spewing --                                                  16 about Frank Guerra.
17 Q If the government wrote a letter to the sentencing judge,   17 Q Right.
18 which would be Judge Matsumoto, and said that you were the    18        And do you recall, sir, that it was actually 51
19 greatest cooperator since sliced bread, would you consider    19 meetings with the agents and/or prosecutors before you came up
20 that to be gushing praise of your efforts?                    20 with the recollection about Frank, the wheelman?
21 A If that was what --                                         21        Do you recall that, sir?
22        MR. LIFSHITZ: Objection, Your Honor.                   22 A Well, it was 51 meetings, you might be right. But it
23        THE COURT: Yes.                                        23 wasn't until I was asked that I answered that question.
24        Sustained.                                             24 Q Well, that -- that, sir, can hardly be true, because your
25 Q Whereas if they wrote a letter to the judge and said, he    25 statement about the wheelman was in September 6th of 2011, and
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                                                      Page 150                                                                Page 152
             Maragni - cross - McMahon            1795                         Maragni - cross - McMahon            1797
 1 was okay, he did a little bit --                               1 you were wearing a wire on this guy twice before that.
 2        MR. LIFSHITZ: Judge --                                  2 A So what did it have to do with --
 3        THE COURT: Do you have an objection?                    3 Q So that means that the subject of Frank Guerra was
 4        MR. LIFSHITZ: The same objection.                       4 obviously in the minds of the agents and prosecutors long
 5        THE COURT: Sustained.                                   5 before you came up with this Frank, the wheelman?
 6        You can look at the agreement and question from         6       MR. LIFSHITZ: Objection.
 7 that.                                                          7       THE COURT: Sustained.
 8        MR. McMAHON: Yes, Judge.                                8       It is stricken.
 9 Q Now, you also were able to recall at some point in time      9 Q You just said it didn't come up before.
10 this conversation about Frank being a wheelman?               10       In other words, Frank Guerra's name didn't come up
11 A Yes.                                                        11 even when you were wearing a wire on him?
12 Q Do you remember that?                                       12       MR. LIFSHITZ: Objection; misstates the testimony.
13 A Yes.                                                        13       THE COURT: Yes.
14 Q And tells about that conversation. Tell us when that        14       MR. McMAHON: I don't think it misstates his
15 occurred?                                                     15 testimony, Judge.
16 A That occurred the day that Frankie was driving me to the    16       THE COURT: Yes, it does.
17 airport.                                                      17 Q Did you just say, sir, that you answered the question
18 Q And who said that?                                          18 Frank, the wheelman when you were asked about Frank Guerra,
19 A Allie Boy.                                                  19 yes or no?
20 Q This was 1997?                                              20       Did you just say that?
21 A 1997. I believe it was '97.                                 21 A Yes, I did.
22 Q I thought -- wasn't Allie in jail?                          22 Q Okay. So did you mean to suggest that you weren't asked
23 A No.                                                         23 about Frank before?
24 Q 1997, Allie said this, is that correct?                     24 A I wasn't asked about Frank before.
25 A Yes.                                                        25 Q Okay. Despite the fact that you wore a wire on him
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                                                        Page 153                                                           Page 155
            Maragni - redirect - Lifshitz       1798                        Maragni - redirect - Lifshitz      1800
 1 twice?                                                       1 RECROSS-EXAMINATION
 2 A Exactly.                                                   2 BY MR. McMAHON:
 3 Q You didn't discuss Frank and you are wearing a wire on     3 Q I thought that conversation was the second one? 2010?
 4 the guy?                                                     4        MR. McMAHON: Can I see the page you are referring
 5 A I didn't discuss Frank in his capacity as to what anybody  5 to, by the way?
 6 ever told me about him.                                      6 Q Did you say this -- this a few minutes ago, that the
 7 Q Fifty-one meetings it took you to come up with the         7 conversation where he supposedly smiled was the second
 8 substantial assistance, is that correct, sir?                8 conversation about induction?
 9 A You're absolutely right. If it would have been 151         9 A He smiled the second time too.
10 meetings, it would be the same answer.                      10 Q Why didn't he just read you about the first time?
11        MR. McMAHON: Nothing further, Judge.                 11        MR. LIFSHITZ: Objection.
12        THE COURT: Any redirect?                             12 A I have no idea.
13        MR. LIFSHITZ: Brief moment, Your Honor, to confer?   13        THE COURT: Objection sustained.
14        (Pause.)                                             14        You don't have to answer that.
15        Very briefly, if I may, Your Honor.                  15        Mr. McMahon --
16        THE COURT: Yes.                                      16        MR. McMAHON: Judge, I have to get my glasses to see
17 REDIRECT EXAMINATION                                        17 what was said here.
18 BY MR. LIFSHITZ:                                            18        THE COURT: You don't ask him why a question was
19 Q Mr. Maragni, do you recall being shown reports by agents 19 asked of him by an attorney.
20 during cross-examination here today?                        20        MR. McMAHON: No. But it was redirect, Your Honor.
21 A No.                                                       21        THE COURT: No. I am not going to allow that.
22 Q Were you shown documents to refresh your recollection? 22           MR. McMAHON: Very well, judge.
23 A Yes.                                                      23 Q So you didn't tell us before that he smiled both times
24 Q During your cross-examination?                            24 but now you are saying he smiled both times?
25 A Yes.                                                      25        MR. LIFSHITZ: Objection; misstating the record.
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                                                        Page 154                                                           Page 156
             Maragni - redirect - Lifshitz          1799                       Maragni - redirect - Lifshitz      1801
 1 Q Had you ever seen those documents before?                       1 Q Did you just say he smiled both times?
 2 A No.                                                             2       THE COURT: Overruled.
 3 Q Had you ever been asked by anyone to review them for            3 A Yes.
 4 accuracy?                                                         4       MR. McMAHON: This is laborious, Your Honor.
 5 A No.                                                             5 Q He smiled both times. Which one was the bit of a strange
 6 Q Do you recall testifying on Thursday?                           6 smile?
 7 A Yes, I do.                                                      7 A I don't think he has a strange smile.
 8 Q On direct -- do you recall testifying on direct                 8 Q When you said he gave me that little smile that he does,
 9 examination about a conversation you had with the defendant       9 what does that mean?
10 after you learned that he had turned down being inducted into    10       Does that mean like a grimace?
11 the Colombo Family?                                              11 A No. Frankie smiles.
12 A Yes.                                                           12 Q It's a little smile?
13 Q Do you recall being asked the following question and           13 A It's a little smile.
14 giving the following answer?                                     14       There are people that sometimes they smile and then
15         Question: What did you observe and what if anything      15 somebody has a broad smile. He smiled a little smile is what
16 did the defendant say to you?                                    16 he did.
17         Answer: I told Frank, I says, you're feeling funny,      17 Q Okay. Sometimes people smile when they are in pain?
18 that all your friends got straightened out. You feel like        18 A Yeah.
19 you've been sort of left behind. He shook his head yeah, gave    19       Sometimes they smile when they are happy too.
20 me that little smile that he does. I said, well, next time       20       MR. McMAHON: Okay. Judge, could we approach for
21 this thing comes around and you're on there, don't pass on it.   21 one second?
22         Do you recall that?                                      22       THE COURT: Yes.
23 A Yes.                                                           23       (Continued on next page.)
24         MR. LIFSHITZ: Nothing further.                           24
25                                                                  25
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19      (Open court.)
20      MR. McMAHON: Nothing further, Judge.
21      THE COURT: You may be excused.
22      Thank you.
23      (Witness excused.)




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